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                   EXHIBIT A
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 Ex. No.                                            Description                                              Beginning Bates             End Bates
PX-001     FILING - USA v. Fields, Guilty Plea Form (Federal)                                        318cr1100000312           318cr1100000312
PX-002     PHOTO - Photo of James Fields' bedroom                                                    318cr1100000331           318cr1100000331
PX-003     PHOTO - Photo of James Fields' bedroom                                                    318cr1100000353           318cr1100000353
PX-004     FILING - USA v. Fields, Statement of Offense (Federal)                                    318cr1100000375           318cr1100000378
PX-005     DOC - FBI document                                                                        318cr1100000409           318cr1100000411
PX-006     TWITTER – Tweets by Fields                                                                318cr1100000451           318cr1100000456   
PX-007     FILING - USA v. Fields, Transcript of May 9, 2018 Hearing                                 318cr1100000457           318cr1100000461
PX-008     DOC - Federal Indictment Against James Alex Fields                                        318cr1100000536           318cr1100000545
PX-009     FILING - USA v. Fields, Sentencing Memorandum of the United States                        318cr1100000607           318cr100000656
PX-010     FILING - USA v. Fields, Transcript of June 28, 2019 Sentencing Hearing                    318cr1100000665           318cr1100000850
PX-011     FILING - USA v. Fields, Exhibit and Witness List                                          318cr1100000897           318cr1100001037
PX-012     VID - Video recording of car attack                                                       318cr1100001039           318cr1100001039
PX-013     VID - Video recording of Fields standing with VA in the park                              318cr1100001042           318cr1100001042
PX-014     VID - Video recording of Redpump Video                                                    318cr1100001043           318cr1100001043
PX-015     PHOTO - Photo of events after car attack                                                  ALVARADO00000016          ALVARADO00000016
PX-016     EMAIL - Email from Fairfax Oral & Maxillofacial Surgery to Chelsea Alvarado               ALVARADO00000233-C        ALVARADO00000233-C
PX-017     EMAIL - Email from Fairfax Oral & Maxillofacial Surgery billing to Chelsea Alvarado       ALVARADO00000234-C        ALVARADO00000234-C
PX-018     SMS - Chelsea Alvarado to Mami                                                            ALVARADO00000249-C        ALVARADO00000249-C
PX-019     SMS - Chelsea Alvarado to Jessica                                                         ALVARADO00000255-C        ALVARADO00000255-C
PX-020     SMS - Chelsea Alvarado to Dr. P.                                                          ALVARADO00000258-C        ALVARADO00000258-C
PX-021     SMS - Chelsea Alvarado to Dr. P.                                                          ALVARADO00000259-C        ALVARADO00000259-C
PX-022     SMS - Chelsea Alvarado to Aubreisha H.                                                    ALVARADO00000269-C        ALVARADO00000269-C
PX-023     EMAIL - Email from Chelsea Alvarado to Joseph T.                                          ALVARADO00000270-C        ALVARADO00000278-C
           MEDICAL - Billing record for Chelsea X. Alvarado from Memorial Regional Medical Center    ALVARADO00000279-C        ALVARADO00000279-C
PX-024
PX-025     MEDICAL - Receipt for Chelsea X. Alvarado from Neurology Clinic at SFMC                   ALVARADO00000280-C        ALVARADO00000280-C
           MEDICAL - Receipt for Chelsea X. Alvarado from Commonwealth Family Practice Neurology     ALVARADO00000281-C        ALVARADO00000281-C
PX-026     Clinic
PX-027     MEDICAL - Billing record for Chelsea X. Alvarado from Commonwealth Radiology, PC          ALVARADO00000282-C        ALVARADO00000282-C
PX-028     MEDICAL - Receipt for Chelsea X. Alvarado from Neurology Clinic at SFMC                   ALVARADO00000283-C        ALVARADO00000283-C
PX-029     MEDICAL - Billing record for Chelsea X. Alvarado from Patient First                       ALVARADO00000284-C        ALVARADO00000284-C
PX-030     MEDICAL - Receipt for Chelsea X. Alvarado from Bon Secours Health System                  ALVARADO00000285-C        ALVARADO00000285-C
PX-031     MEDICAL - Health record for Chelsea X. Alvarado from Tucker Psychiatric Clinic            ALVARADO00000315-C        ALVARADO00000328-C
PX-032     MEDICAL - Health record for Chelsea X. Alvarado's from Norma M., Ph.D                     ALVARADO00000329-C        ALVARADO00000356-C
           MEDICAL - Health record for Chelsea X. Alvarado from Privia Medical Group -               ALVARADO00000357-C        ALVARADO00000365-C
PX-033     Commonwealth Medical Practice
PX-034     MEDICAL - Health record for Chelsea X. Alvarado from Patient First                        ALVARADO00000389-C        ALVARADO00000394-C
PX-035     FINANCIAL - Howard Hughes Medical Institute                                               ALVARADO00000411-C        ALVARADO00000412-C
           FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for Chelsea Alvarado from A         ALVARADO00000413-C        ALVARADO00000414-C
PX-036     Village Youth & Family Services
PX-037     MEDICAL - Health record for Chelsea X. Alvarado from CIOX Health                          ALVARADO00000417-C        ALVARADO00000417-C
PX-038     MEDICAL - Health record for Chelsea X. Alvarado from CIOX Health                          ALVARADO00000464-C        ALVARADO00000470-C
PX-039     MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours                          ALVARADO00000471-C        ALVARADO00000472-C
           MEDICAL - Communications regarding request for Chelsea X. Alvarado’s medical records      ALVARADO00000473-C        ALVARADO00000476-C
PX-040     from Patient First Corp – VA
PX-041     MEDICAL - Health record for Chelsea X. Alvarado from MCA Network                          ALVARADO00000477-C        ALVARADO00000485-C
PX-042     MEDICAL - Insurance records record for Chelsea Alvarado from Patient First                ALVARADO00000486-C        ALVARADO00000486-C
           MEDICAL - Health record for Chelsea X. Alvarado from Privia Medical Group -               ALVARADO00000487-C        ALVARADO00000508-C
PX-043     Commonwealth Family Practice
           MEDICAL - Health record for Chelsea X. Alvarado from Virginia Endocrinology Consultants   ALVARADO00000509-C        ALVARADO00000528-C
PX-044
PX-045     MEDICAL - Insurance record for Chelsea X. Alvarado from Aetna                             ALVARADO00000529-C        ALVARADO00000566-C
           MEDICAL - Summary of claims by Medical and Counseling Assc Inc. to Chelsea X. Alvarado    ALVARADO00000567-C        ALVARADO00000699-C
PX-046
           MEDICAL - Insurance record for Chelsea X. Alvarado from UnitedHealthcare Insurance        ALVARADO00000700-C        ALVARADO00000920-C
PX-047     Company
PX-048     MEDICAL - Insurance record for Chelsea X. Alvarado from Aetna                             ALVARADO00000935-C        ALVARADO00000969-C
PX-049     MEDICAL - Health record for Chelsea X. Alvarado from Bon Secours                          ALVARADO00000970-C        ALVARADO00001013-C
PX-050     TWITTER – Tweets by Chelsea Alvarado                                                      ALVARADO00001173          ALVARADO00001173
PX-051     FB - Facebook post by Chelsea Alvarado                                                    ALVARADO00001174          ALVARADO00001174
PX-052     FB: Direct message from Chelsea Alvarado to Brea                                          ALVARADO00001178-C        ALVARADO00001178-C
PX-053     FB: Direct message from Chelsea Alvarado to Luis                                          ALVARADO00001179-C        ALVARADO00001179-C
PX-054     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001201-C        ALVARADO00001201-C
PX-055     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001203-C        ALVARADO00001203-C
PX-056     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001204-C        ALVARADO00001204-C
PX-057     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001209-C        ALVARADO00001209-C
PX-058     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001210          ALVARADO00001210
PX-059     FB - Facebook message from Chelsea Alvarado to John G.                                    ALVARADO00001362          ALVARADO00001362
PX-060     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001366-C        ALVARADO00001366-C
PX-061     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001367          ALVARADO00001367
PX-062     PHOTO - Photo of Chelsea Alvarado's injuries                                              ALVARADO00001367          ALVARADO00001367
PX-063     MEDICAL - Health record for Chelsea Alvarado                                              ALVARADO00001436          ALVARADO00001448
PX-064     MEDICAL - Receipt for Chelsea Alvarado from Bon Secours St. Francis Medical Center        ALVARADO00001449          ALVARADO00001449
PX-065     DOC - Letter from Commonwealth Family Practice to Chelsea Alvarado                        ALVARADO00001450          ALVARADO00001450
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Ex. No.                                              Description                                                     Beginning Bates            End Bates
          PR - AT&T - Phone Records for Matthew Heimbach (Subscriber Information, Historical                  ATT_00000001             ATT_00000009
          Precision Location Information, Wireline Information, Response Cover Sheet & Certification,
PX-066    Records Key, and International Information)
PX-067    PR - AT&T - Wireline Information for Michael Hill                                                   ATT_00000010             ATT_00000010
PX-068    PR - AT&T - Wireless Subscriber Information for League of the South                                 ATT_00000011             ATT_00000011
PX-069    PR - AT&T - Historical Precision Location Information for Robert Ray                                ATT_00000012             ATT_00000012
          PR - AT&T - Phone Records for Nathan Damigo, Michael Hill, Elliott Kline, Robert Ray                ATT_00000013             ATT_00000015
PX-070    (Wireless Subscriber Information, International Information, and Records Key)
PX-071    PR - AT&T - Mobility (with cell location) Information for Michael Hill                              ATT_00000016             ATT_00000016
          PR - AT&T - Phone Records for Elliott Kline (Wireline Information, Records Key, Wireless            ATT_00000017             ATT_00000021
          Subscriber Information, Mobility (with cell location), Historical Precision Location Information)
PX-072
          PR - AT&T - Phone Records for Matthew Parrott (Historical Precision Location Information,           ATT_00000022             ATT_00000029
          International Information, Response Cover Sheet & Certification, Wireless Subscriber
PX-073    Information, Records Key, Wireline Informaiton, Subpoena to AT&T)
          PR - AT&T - Phone Records for Michael C. (Response Cover Sheet & Certification,                     ATT_00000030             ATT_00000035
          International Informaiton, Wireless Subscriber Information, Records Key, and Historical
PX-074    Precision Location Information)
PX-075    PR - AT&T - Historical Precision Location Information for Christopher Cantwell                      ATT_00000036             ATT_00000036
          PR - AT&T - Phone Records for Richard Spencer (Wireless Subscriber Information,                     ATT_00000037             ATT_00000039
PX-076    International Information)
PX-077    PR - AT&T - International Information for Matthew Parrott                                           ATT_00000040             ATT_00000040
PX-078    PR - AT&T - Wireless Subscriber Information for Richard Spencer                                     ATT_00000041             ATT_00000041
PX-079    PR - AT&T - Wireless Subscriber Information for Christopher Cantwell                                ATT_00000042             ATT_00000042
PX-080    PR - AT&T - Response Cover Sheet and Certification for Richard Spencer                              ATT_00000043             ATT_00000043
PX-081    PR - AT&T - AT&T Records Key for Matthew Parrott                                                    ATT_00000044             ATT_00000044
          PR - AT&T - AT&T Records Key & Response Cover Sheet & Certification for Christopher                 ATT_00000045             ATT_00000046
PX-082    Cantwell
PX-083    PR - AT&T - AT&T Records Key for Richard Spencer                                                    ATT_00000047             ATT_00000047
PX-084    PR - AT&T - Wireline Information for Christopher Cantwell                                           ATT_00000048             ATT_00000048
PX-085    PR - AT&T - Wireline Information for Matthew Parrott                                                ATT_00000049             ATT_00000049
PX-086    PR - AT&T - AT&T Records Key for Richard Spencer                                                    ATT_00000050             ATT_00000050
          PR - AT&T - Phone Records for Christopher Cantwell (Mobility (with cell location) Information       ATT_00000051             ATT_00000051
PX-087
PX-088    PR - AT&T - Response Cover Sheet and Certification for Matthew Parrott                              ATT_00000053             ATT_00000053
          PR - AT&T - Phone Records for Richard Spencer (Wireline Information, Subpoena to AT&T,              ATT_00000054             ATT_00000058
PX-089    Historical Precision Location Information, Response Cover Sheet & Certification)
PX-090    PR - AT&T - Mobility (with cell location) Information for Matthew Parrott                           ATT_00000059             ATT_00000059
PX-091    PR - AT&T Phone Records for Richard Spencer (Mobility (with cell location) Information)             ATT_00000060             ATT_00000061
PX-092    VID - Video recording of Vanguard America on August 12, 2017                                        BACHOM00000126           BACHOM00000126
PX-093    VID - Video recording of chants on August 12, 2017                                                  BACHOM00000159           BACHOM00000159
PX-094    SMS - Text Message from Thomas Baker to Phil B.                                                     BAKER00000171-C          BAKER00000171-C
PX-095    SMS - Text Message from Thomas Baker to Chris P.                                                    BAKER00000195-C          BAKER00000195-C
PX-096    SMS - Text Message from Thomas Baker to Lenny L.                                                    BAKER00000224-C          BAKER00000224-C
PX-097    SMS - Text Message from Thomas Baker to Jessey H.                                                   BAKER00000380-C          BAKER00000380-C
PX-098    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000416-C          BAKER00000417-C
PX-099    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000422-C          BAKER00000423-C
PX-100    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000424-C          BAKER00000425-C
PX-101    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000426-C          BAKER00000427-C
PX-102    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000430-C          BAKER00000431-C
PX-103    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000434-C          BAKER00000435-C
          MEDICAL - Health record for Thomas Baker from Sentara Martha Jefferson Martha Jefferson             BAKER00000436-C          BAKER00000438-C
PX-104    Family Medicine
PX-105    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000439-C          BAKER00000440-C
PX-106    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000441-C          BAKER00000442-C
PX-107    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000443-C          BAKER00000443-C
PX-108    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000455-C          BAKER00000457-C
PX-109    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000458-C          BAKER00000461-C
PX-110    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000462-C          BAKER00000463-C
PX-111    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000464-C          BAKER00000469-C
PX-112    MEDICAL - Billing record for Thomas Baker from Charlottesville Radiology                            BAKER00000483-C          BAKER00000488-C
PX-113    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000494-C          BAKER00000501-C
PX-114    MEDICAL - Itemized Statement for Thomas Baker from UVA Health                                       BAKER00000556-C          BAKER00000558-C
PX-115    MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy                                BAKER00000559-C          BAKER00000559-C
PX-116    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000560-C          BAKER00000560-C
PX-117    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000561-C          BAKER00000561-C
PX-118    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000562-C          BAKER00000562-C
PX-119    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000563-C          BAKER00000563-C
PX-120    MEDICAL - Letter requesting medical records for Thomas Baker                                        BAKER00000564-C          BAKER00000636-C
PX-121    MEDICAL - Billing record for Thomas Baker from Sentara Martha Jefferson                             BAKER00000637-C          BAKER00000637-C
PX-122    MEDICAL - Itemized Statement for Thomas Baker from UVA Health                                       BAKER00000641-C          BAKER00000653-C
PX-123    MEDICAL - Health record for Thomas Baker from UVA Health                                            BAKER00000675-C          BAKER00000676-C
PX-124    MEDICAL - Health record for Thomas Baker from Common Ground Healing Arts                            BAKER00001036-C          BAKER00001036-C
PX-125    MEDICAL - Receipt for Thomas Baker from Cavalier Medical Systems                                    BAKER00001080-C          BAKER00001081-C
PX-126    MEDICAL - Billing record for Thomas Baker from UVA Health                                           BAKER00001190-C          BAKER00001192-C
PX-127    MEDICAL - Billing record for Thomas Baker from UVA Health                                           BAKER00001193-C          BAKER00001196-C
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 Ex. No.                                          Description                                                  Beginning Bates           End Bates
PX-128     MEDICAL - Billing record for Thomas Baker from UVA Health                                     BAKER00001197-C         BAKER00001200-C
PX-129     MEDICAL - Billing record for Thomas Baker from UVA Health                                     BAKER00001205-C         BAKER00001208-C
PX-130     MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy                          BAKER00001218-C         BAKER00001245-C
PX-131     MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy                          BAKER00001246-C         BAKER00001266-C
PX-132     MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy                          BAKER00001268-C         BAKER00001298-C
PX-133     MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy                          BAKER00001327-C         BAKER00001354-C
PX-134     MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy                          BAKER00001376-C         BAKER00001406-C
PX-135     MEDICAL - Health record for Thomas Baker from Pivot Physical Therapy                          BAKER00001435-C         BAKER00001552-C
           FINANCIAL - Form W-2, Wage and Tax Statement for 2017 for Thomas Baker from Ivy               BAKER00001553           BAKER00001553
PX-136     Nursery
           MEDICAL - Receipt for Thomas Baker for Move Massage - Move Medical Massage & Sports           BAKER00001554           BAKER00001554
PX-137     Therapy
PX-138     MEDICAL - Billing record for Thomas Baker from UVA Health                                     BAKER00001557           BAKER00001560
           MEDICAL - Receipt for Thomas Baker for Move Massage - Move Medical Massage & Sports           BAKER00001561           BAKER00001561
PX-139     Therapy
           MEDICAL - Health record for Thomas Baker from Sentara Martha Jefferson Martha Jefferson       BAKER00001601           BAKER00001601
PX-140     Family Medicine
PX-141     DOC - Marcus Martin Letter regarding Return to Work                                           BLAIR00000093-C         BLAIR00000093-C
PX-142     MEDICAL - Health record for Marcus Martin from Virginia Victims Fund                          BLAIR00000624-C         BLAIR00000624-C
PX-143     MEDICAL - Health record for Melissa Blair from Central Virginia Family Physician              BLAIR00000737-C         BLAIR00000749-C
PX-144     MEDICAL - Health record for Marissa Blair from MedExpress Urgent / Oneyije Ozurumba           BLAIR00000769-C         BLAIR00000771-C
PX-145     MEDICAL - Health record for Marissa Blair from Counseling Alliance of Virginia                BLAIR00000842-C         BLAIR00000850-C
PX-146     MEDICAL - Billing record for Marissa Blair from UVA Health                                    BLAIR00000851-C         BLAIR00000853-C
           MEDICAL - Health record for Marissa Blair from Women's Health Services of Central Virginia    BLAIR00000854-C         BLAIR00000889-C
PX-147
PX-148     MEDICAL - Marissa Blair Statement of Certification for UHV Health                             BLAIR00000890-C         BLAIR00000893-C
PX-149     MEDICAL - Health record for Marissa Blair from UVA Health                                     BLAIR00000894-C         BLAIR00000905-C
PX-150     VID - Video recording of Marissa Blair showing Field attack                                   BLAIR00000930           BLAIR00000930
PX-151     MEDICAL - Billing record for Marissa Blair from UnitedHealthcare                              BLAIR00000954-C         BLAIR00001003-C
PX-152     MEDICAL - Blair Insurance Claims - Priva Medical Group                                        BLAIR00001004-C         BLAIR00001017
PX-153     PHOTO - Photo of Marissa Blair's injuries                                                     BLAIR00001863-C         BLAIR00001863-C
PX-154     PHOTO - Photo of Marissa Blair's injuries                                                     BLAIR00001868-C         BLAIR00001868-C
PX-155     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00001884-C         BLAIR00001884-C
PX-156     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00001906-C         BLAIR00001906-C
PX-157     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00001907-C         BLAIR00001907-C
PX-158     PHOTO - Photo of Marcus Martin in hospital                                                    BLAIR00001908-C         BLAIR00001908-C
PX-159     PHOTO - Photo of Marcus Martin in hospital                                                    BLAIR00001911-C         BLAIR00001911-C
PX-160     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00001917-C         BLAIR00001917-C
PX-161     PHOTO - Photo of Marcus Martin and Marissa Blair on August 12, 2017                           BLAIR00001922-C         BLAIR00001922-C
PX-162     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00001927-C         BLAIR00001927-C
PX-163     PHOTO - Photo of Marcus Martin on August 12, 2017                                             BLAIR00001941-C         BLAIR00001941-C
PX-164     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00001943-C         BLAIR00001943-C
PX-165     PHOTO - Photo of Marcus Martin and Marissa Blair on August 12, 2017                           BLAIR00001955-C         BLAIR00001955-C
PX-166     PHOTO - Photo of Marcus Martin in hospital                                                    BLAIR00001975-C         BLAIR00001975-C
PX-167     PHOTO - Photo of Marcus Martin on August 12, 2017                                             BLAIR00002022-C         BLAIR00002022-C
PX-168     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00002038-C         BLAIR00002038-C
PX-169     PHOTO - Photo of Marcus Martin's injuries                                                     BLAIR00002056-C         BLAIR00002056-C
           AUD - Audio recording of Salting the Earth podcast with Richard Spencer, Elliott Kline, and   BRATHOVD0071            BRATHOVD0071
PX-170     Robert Azzmador
PX-171     SMS - Text message from Cesar A. to Matt Parrott                                              CAAS_00000003           CAAS_00000003
PX-172     SMS - Text message from Cesar A. to Matt Parrott                                              CAAS_00000006           CAAS_00000006
PX-173     SMS - Text message from Cesar A. to M. Heimbach                                               CAAS_00000011           CAAS_00000011
PX-174     SMS - Text message from Cesar A. to M. Heimbach                                               CAAS_00000018           CAAS_00000018
PX-175     SMS - Text message from Cesar A. to M. Heimbach                                               CAAS_00000020           CAAS_00000020
PX-176     SMS - Text message from Cesar A. to M. Heimbach                                               CAAS_00000032           CAAS_00000032
PX-177     SMS - Text message from Cesar A. to M. Heimbach                                               CAAS_00000040           CAAS_00000040
PX-178     SMS - Text message from Cesar A. to M. Heimbach                                               CAAS_00000057           CAAS_00000057
PX-179     EMAIL - Email from Christopher Cantwell to Vasillios S.                                       CC00033138              CC00033138
PX-180     EMAIL - Email from Tony H. to Christopher Cantwell                                            CC00049821              CC00049821
PX-181     EMAIL - Email from Tony H. to Christopher Cantwell                                            CC00053223              CC00053223
PX-182     EMAIL - Email from Enterprise to Christopher Cantwell                                         CC00057152              CC00057156
PX-183     EMAIL - Email from Walmart to Christopher Cantwell                                            CC00058313              CC00058318
PX-184     EMAIL - Email from Boggs V. to Christopher Cantwell                                           CC00077886              CC00077887
PX-185     EMAIL - Email from Augustus Sol Invictus to Christopher Cantwell                              CC00080041              CC00080041
PX-186     EMAIL - Email from Christopher Cantwell to PJ P.                                              CC00083152              CC00083153
PX-187     EMAIL - Email from Augustus Sol Invictus to Christopher Cantwell                              CC00088318              CC00088318
PX-188     EMAIL - Email from Christopher Cantwell to Jason Kessler                                      CC00191304              CC00191304
PX-189     EMAIL - Email from Christopher Cantwell to Jorge C.                                           CC00192117              CC00192118
PX-190     EMAIL - Email from Christopher Cantwell to Jason Kessler                                      CC00192143              CC00192143
PX-191     EMAIL - Email from Christopher Cantwell to Krypto Kroenen                                     CC00192157              CC00192158
PX-192     FILING - Commonwealth v. Cantwell, Plea of Guilty to Misdemeanors, 17-cr-784, 845             CC00206365              CC00206367
PX-193     VID - Video recording of Leanne C. video                                                      CHIA0000001             CHIA0000001
PX-194     DOC - Document regarding League of the South                                                  City_00000028           City_00000028
PX-195     FB - Facebook post by Tennessee League of the South                                           City_00000125           City_00000125
PX-196     FB - Facebook post by League of the South                                                     City_00000155           City_00000155
PX-197     FB - Facebook post by Viriginia League of the South                                           City_00000460           City_00000460
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 Ex. No.                                            Description                                   Beginning Bates             End Bates
PX-198     DOC - Flyer for Unite the Right                                               City_00000557              City_00000557
PX-199     PHOTO - Photo taken during police investigation of crash                      City_00010549              City_00010549
PX-200     PHOTO - Photo taken during police investigation of crash                      City_00010550              City_00010550
PX-201     PHOTO - Photo taken during police investigation of crash                      City_00010562              City_00010562
PX-202     AUD - Audio recording of James Fields' voicemails and phone call in prison    City_00010946              City_00010946
PX-203     AUD - Audio recording of James Fields' phone call in prison                   City_00010969              City_00010969
PX-204     AUD - Audio recording of James Fields' phone call in prison                   City_00011061              City_00011061
PX-205     AUD - Audio recording of James Fields' phone call in prison                   City_00011068              City_00011068
PX-206     AUD - Audio recording of James Fields' phone call in prison                   City_00011115              City_00011115
PX-207     AUD - Audio recording of James Fields' phone call in prison                   City_00011171              City_00011171
PX-208     AUD - Audio recording of James Fields' voicemail in prison                    City_00011174              City_00011174
PX-209     AUD - Audio recording of James Fields' phone call in prison                   City_00011544              City_00011544
PX-210     AUD - Audio recording of James Fields' phone call in prison                   City_00011613              City_00011613
PX-211     AUD - Audio recording of James Fields' phone call in prison                   City_00011614              City_00011614
PX-212     AUD - Audio recording of James Fields' phone call in prison                   City_00011616              City_00011616
PX-213     AUD - Audio recording of James Fields' voicemail in prison                    City_00011671              City_00011671
PX-214     AUD - Audio recording of James Fields' voicemail in prison                    City_00011809              City_00011809
PX-215     FB - Facebook Geolocation data for James Fields                               City_00032356              City_00032356
PX-216     IG - Post by James Fields                                                     CITY_00033056              CITY_00033056
PX-217     IG - Post by James Fields                                                     CITY_00033057              CITY_00033057
PX-218     SMS - Extraction Report SMS Messages between Fields to his mother             City_00033058              City_00033059
PX-219     AUD - Audio recording of James Fields' phone call in prison                   City_00033077              City_00033077
PX-220     PHOTO - Photo of aerial map of James Fields' movements after the car attack   City_00033079              City_00033079
PX-221     PHOTO - Photo of James Fields' driving after the car attack                   City_00033085              City_00033085
PX-222     PHOTO - Photo of James Fields' driving after the car attack                   City_00033099              City_00033099
PX-223     PHOTO - Photo of James Fields' driving after the car attack                   City_00033100              City_00033100
PX-224     PHOTO - Photo of James Fields' driving after the car attack                   City_00033102              City_00033102
PX-225     PHOTO - Photo of James Fields' driving after the car attack                   City_00033104              City_00033104
PX-226     PHOTO - Photo of James Fields' driving after the car attack                   City_00033105              City_00033105
PX-227     PHOTO - Photo of James Fields' driving after the car attack                   City_00033106              City_00033106
PX-228     PHOTO - Photo of James Fields' driving after the car attack                   City_00033107              City_00033107
PX-229     PHOTO - Photo of James Fields' driving after the car attack                   City_00033108              City_00033108
PX-230     PHOTO - Photo of James Fields' driving after the car attack                   City_00033109              City_00033109
PX-231     PHOTO - Photo of James Fields' driving into the crowd                         City_00033110              City_00033110
PX-232     PHOTO - Photo of James Fields' driving after the car attack                   City_00033112              City_00033112
PX-233     PHOTO - Photo of James Fields' driving after the car attack                   City_00033113              City_00033113
PX-234     PHOTO - Photo of James Fields' driving after the car attack                   City_00033114              City_00033114
PX-235     PHOTO - Photo of James Fields' driving after the car attack                   City_00033115              City_00033115
PX-236     PHOTO - Photo of James Fields' driving after the car attack                   City_00033116              City_00033116
PX-237     PHOTO - Photo of James Fields' driving after the car attack                   City_00033117              City_00033117
PX-238     PHOTO - Photo of James Fields' driving after the car attack                   City_00033118              City_00033118
PX-239     PHOTO - Photo of James Fields' driving after the car attack                   City_00033119              City_00033119
PX-240     PHOTO - Photo of James Fields' driving after the car attack                   City_00033120              City_00033120
PX-241     PHOTO - Photo of James Fields' driving after the car attack                   City_00033121              City_00033121
PX-242     PHOTO - Photo of James Fields' driving after the car attack                   City_00033122              City_00033122
PX-243     PHOTO - Photo of James Fields' driving after the car attack                   City_00033123              City_00033123
PX-244     PHOTO - Photo of James Fields' driving after the car attack                   City_00033124              City_00033124
PX-245     PHOTO - Photo of James Fields' driving after the car attack                   City_00033125              City_00033125
PX-246     PHOTO - Photo of James Fields' driving after the car attack                   City_00033126              City_00033126
PX-247     PHOTO - Photo of James Fields' driving after the car attack                   City_00033127              City_00033127
PX-248     PHOTO - Photo of James Fields' driving after the car attack                   City_00033128              City_00033128
PX-249     PHOTO - Photo of James Fields' driving after the car attack                   City_00033129              City_00033129
PX-250     PHOTO - Photo of James Fields' driving after the car attack                   City_00033130              City_00033130
PX-251     PHOTO - Photo of James Fields' driving after the car attack                   City_00033131              City_00033131
PX-252     PHOTO - Photo of James Fields' driving after the car attack                   City_00033132              City_00033132
PX-253     PHOTO - Photo of James Fields' driving after the car attack                   City_00033133              City_00033133
PX-254     PHOTO - Photo of James Fields' driving into the crowd                         City_00033134              City_00033134
PX-255     PHOTO - Photo of James Fields' driving into the crowd                         City_00033135              City_00033135
PX-256     PHOTO - Photo of James Fields' driving after the car attack                   City_00033136              City_00033136
PX-257     PHOTO - Photo of James Fields' driving after the car attack                   City_00033137              City_00033137
PX-258     PHOTO - Photo of James Fields' driving after the car attack                   City_00033138              City_00033138
PX-259     PHOTO - Photo of James Fields' driving into the crowd                         City_00033139              City_00033139
PX-260     PHOTO - Photo of James Fields' driving after the car attack                   City_00033140              City_00033140
PX-261     PHOTO - Photo of James Fields' driving into the crowd                         City_00033141              City_00033141
PX-262     PHOTO - Photo of James Fields' driving into the crowd                         City_00033142              City_00033142
PX-263     PHOTO - Photo of James Fields' driving after the car attack                   City_00033143              City_00033143
PX-264     PHOTO - Photo of James Fields' driving into the crowd                         City_00033144              City_00033144
PX-265     PHOTO - Photo of James Fields' driving into the crowd                         City_00033145              City_00033145
PX-266     PHOTO - Photo of James Fields' driving into the crowd                         City_00033146              City_00033146
PX-267     PHOTO - Photo of James Fields' driving into the crowd                         City_00033147              City_00033147
PX-268     PHOTO - Photo of James Fields' driving into the crowd                         City_00033148              City_00033148
PX-269     PHOTO - Photo of James Fields' driving after the car attack                   City_00033149              City_00033149
PX-270     PHOTO - Photo of James Fields' driving after the car attack                   City_00033150              City_00033150
PX-271     PHOTO - Photo of James Fields' driving into the crowd                         City_00033151              City_00033151
PX-272     PHOTO - Photo of James Fields' driving into the crowd                         City_00033152              City_00033152
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 Ex. No.                                              Description                                               Beginning Bates             End Bates
PX-273     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033153              City_00033153
PX-274     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033154              City_00033154
PX-275     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033155              City_00033155
PX-276     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033156              City_00033156
PX-277     PHOTO - Photo of James Fields' driving after the car attack                                 City_00033157              City_00033157
PX-278     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033158              City_00033158
PX-279     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033159              City_00033159
PX-280     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033160              City_00033160
PX-281     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033161              City_00033161
PX-282     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033162              City_00033162
PX-283     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033163              City_00033163
PX-284     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033164              City_00033164
PX-285     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033165              City_00033165
PX-286     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033166              City_00033166
PX-287     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033167              City_00033167
PX-288     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033168              City_00033168
PX-289     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033170              City_00033170
PX-290     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033171              City_00033171
PX-291     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033172              City_00033172
PX-292     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033173              City_00033173
PX-293     PHOTO - Photo of James Fields' driving into the crowd                                       City_00033177              City_00033177
PX-294     PHOTO - Photo of Thomas Baker in hospital                                                   City_00033192              City_00033192
PX-295     PHOTO - Photo of Thomas Baker in hospital                                                   City_00033197              City_00033197
PX-296     PHOTO - Photo of James Fields' car after car attack                                         City_00033203              City_00033203
PX-297     VID - Video recording of Marissa Blair video                                                City_00033216              City_00033216
PX-298     PHOTO - Photo of James Fields' car after car attack                                         City_00033226              City_00033226
PX-299     PHOTO - Photo of cars struck by James Fields                                                City_00033229              City_00033229
PX-300     PHOTO - Photo of James Fields' car after car attack                                         City_00033230              City_00033230
PX-301     PHOTO - Photo of cars struck by James Fields                                                City_00033238              City_00033238
PX-302     PHOTO - Photo of James Fields' car after car attack                                         City_00033244              City_00033244
PX-303     PHOTO - Photo of crime scene after car attack                                               City_00033245              City_00033245
PX-304     PHOTO - Photo of cars struck by James Fields                                                City_00033246              City_00033246
PX-305     PHOTO - Photo of cars struck by James Fields                                                City_00033251              City_00033251
PX-306     PHOTO - Photo of crime scene after car attack                                               City_00033253              City_00033253
PX-307     PHOTO - Photo of crime scene after car attack                                               City_00033259              City_00033259
PX-308     PHOTO - Photo of cars struck by James Fields                                                City_00033260              City_00033260
PX-309     PHOTO - Photo of Marcus Martin's injuries                                                   City_00033261              City_00033261
PX-310     PHOTO - Photo of crime scene after car attack                                               City_00033263              City_00033263
PX-311     VID - Video recording of inside the park prior to unlawful assembly order                   City_00033265              City_00033265
PX-312     VID - Video recording of Dean D. (UVA Police) body cam                                      City_00033267              City_00033267
PX-313     VID - Video recording of Brennan G. video                                                   City_00033270              City_00033270
PX-314     VID - Video recording of attack and Challenger reversing                                    City_00033272              City_00033272
PX-315     VID - Video recording of James Fields at UTR with VA                                        City_00033273              City_00033273
PX-316     VID - Video recording of marching and chanting “you will not replace us”                    City_00033275              City_00033275
PX-317     VID - Video recording of CPD helicopter hovering above a crowd                              City_00033276              City_00033276
PX-318     VID - Video recording of Det. Steve Y. body cam                                             City_00033277              City_00033277
PX-319     VID - Video recording of events after car attack                                            City_00033280              City_00033280
           DOC - Compilation of documents (including "Fight or die, white man. I can remember a time
PX-320     back in the early days of what has, praise God")                                            City_00037511              City_00038495
PX-321     DOC - Diane D.'s statement of events of the August 11, 2017 Torch Rally                     DIANE00001                 DIANE00004
PX-322     SMS - Screenshots of Group Me meesages                                                      DIANE00005                 DIANE00011
PX-323     VID - Video recording of Torch Rally taken by Diane D.                                      DIANE00012                 DIANE00012
PX-324     DISC - Discord Production PA001                                                             DIS00000001                DIS00000033
PX-325     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000001        DISC-IMPACT00000001
PX-326     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000002        DISC-IMPACT00000002
PX-327     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000003        DISC-IMPACT00000004
PX-328     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000005        DISC-IMPACT00000005
PX-329     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000006        DISC-IMPACT00000006
PX-330     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000007        DISC-IMPACT00000012
PX-331     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000013        DISC-IMPACT00000013
PX-332     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000014        DISC-IMPACT00000014
PX-333     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000015        DISC-IMPACT00000017
PX-334     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000018        DISC-IMPACT00000018
PX-335     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000019        DISC-IMPACT00000025
PX-336     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000026        DISC-IMPACT00000026
PX-337     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000027        DISC-IMPACT00000027
PX-338     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000028        DISC-IMPACT00000028
PX-339     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000029        DISC-IMPACT00000029
PX-340     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000030        DISC-IMPACT00000032
PX-341     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000033        DISC-IMPACT00000033
PX-342     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000034        DISC-IMPACT00000034
PX-343     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000035        DISC-IMPACT00000035
PX-344     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000036        DISC-IMPACT00000036
PX-345     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000037        DISC-IMPACT00000037
PX-346     DISC - Impact Image of Discord Post                                                         DISC-IMPACT00000038        DISC-IMPACT00000038
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-347     DISC - Impact Image of Discord Post                 DISC-IMPACT00000039      DISC-IMPACT00000039
PX-348     DISC - Impact Image of Discord Post                 DISC-IMPACT00000040      DISC-IMPACT00000041
PX-349     DISC - Impact Image of Discord Post                 DISC-IMPACT00000042      DISC-IMPACT00000042
PX-350     DISC - Impact Image of Discord Post                 DISC-IMPACT00000043      DISC-IMPACT00000043
PX-351     DISC - Impact Image of Discord Post                 DISC-IMPACT00000044      DISC-IMPACT00000044
PX-352     DISC - Impact Image of Discord Post                 DISC-IMPACT00000045      DISC-IMPACT00000045
PX-353     DISC - Impact Image of Discord Post                 DISC-IMPACT00000046      DISC-IMPACT00000046
PX-354     DISC - Impact Image of Discord Post                 DISC-IMPACT00000047      DISC-IMPACT00000047
PX-355     DISC - Impact Image of Discord Post                 DISC-IMPACT00000048      DISC-IMPACT00000048
PX-356     DISC - Impact Image of Discord Post                 DISC-IMPACT00000049      DISC-IMPACT00000051
PX-357     DISC - Impact Image of Discord Post                 DISC-IMPACT00000052      DISC-IMPACT00000052
PX-358     DISC - Impact Image of Discord Post                 DISC-IMPACT00000053      DISC-IMPACT00000053
PX-359     DISC - Impact Image of Discord Post                 DISC-IMPACT00000054      DISC-IMPACT00000055
PX-360     DISC - Impact Image of Discord Post                 DISC-IMPACT00000056      DISC-IMPACT00000056
PX-361     DISC - Impact Image of Discord Post                 DISC-IMPACT00000057      DISC-IMPACT00000057
PX-362     DISC - Impact Image of Discord Post                 DISC-IMPACT00000058      DISC-IMPACT00000058
PX-363     DISC - Impact Image of Discord Post                 DISC-IMPACT00000059      DISC-IMPACT00000059
PX-364     DISC - Impact Image of Discord Post                 DISC-IMPACT00000060      DISC-IMPACT00000061
PX-365     DISC - Impact Image of Discord Post                 DISC-IMPACT00000062      DISC-IMPACT00000062
PX-366     DISC - Impact Image of Discord Post                 DISC-IMPACT00000063      DISC-IMPACT00000063
PX-367     DISC - Impact Image of Discord Post                 DISC-IMPACT00000064      DISC-IMPACT00000065
PX-368     DISC - Impact Image of Discord Post                 DISC-IMPACT00000066      DISC-IMPACT00000066
PX-369     DISC - Impact Image of Discord Post                 DISC-IMPACT00000067      DISC-IMPACT00000068
PX-370     DISC - Impact Image of Discord Post                 DISC-IMPACT00000069      DISC-IMPACT00000069
PX-371     DISC - Impact Image of Discord Post                 DISC-IMPACT00000070      DISC-IMPACT00000070
PX-372     DISC - Impact Image of Discord Post                 DISC-IMPACT00000071      DISC-IMPACT00000071
PX-373     DISC - Impact Image of Discord Post                 DISC-IMPACT00000072      DISC-IMPACT00000072
PX-374     DISC - Impact Image of Discord Post                 DISC-IMPACT00000073      DISC-IMPACT00000074
PX-375     DISC - Impact Image of Discord Post                 DISC-IMPACT00000075      DISC-IMPACT00000075
PX-376     DISC - Impact Image of Discord Post                 DISC-IMPACT00000076      DISC-IMPACT00000076
PX-377     DISC - Impact Image of Discord Post                 DISC-IMPACT00000077      DISC-IMPACT00000079
PX-378     DISC - Impact Image of Discord Post                 DISC-IMPACT00000080      DISC-IMPACT00000081
PX-379     DISC - Impact Image of Discord Post                 DISC-IMPACT00000082      DISC-IMPACT00000083
PX-380     DISC - Impact Image of Discord Post                 DISC-IMPACT00000084      DISC-IMPACT00000084
PX-381     DISC - Impact Image of Discord Post                 DISC-IMPACT00000085      DISC-IMPACT00000086
PX-382     DISC - Impact Image of Discord Post                 DISC-IMPACT00000087      DISC-IMPACT00000087
PX-383     DISC - Impact Image of Discord Post                 DISC-IMPACT00000088      DISC-IMPACT00000089
PX-384     DISC - Impact Image of Discord Post                 DISC-IMPACT00000090      DISC-IMPACT00000090
PX-385     DISC - Impact Image of Discord Post                 DISC-IMPACT00000091      DISC-IMPACT00000091
PX-386     DISC - Impact Image of Discord Post                 DISC-IMPACT00000092      DISC-IMPACT00000092
PX-387     DISC - Impact Image of Discord Post                 DISC-IMPACT00000093      DISC-IMPACT00000093
PX-388     DISC - Impact Image of Discord Post                 DISC-IMPACT00000094      DISC-IMPACT00000096
PX-389     DISC - Impact Image of Discord Post                 DISC-IMPACT00000097      DISC-IMPACT00000097
PX-390     DISC - Impact Image of Discord Post                 DISC-IMPACT00000098      DISC-IMPACT00000098
PX-391     DISC - Impact Image of Discord Post                 DISC-IMPACT00000099      DISC-IMPACT00000099
PX-392     DISC - Impact Image of Discord Post                 DISC-IMPACT00000100      DISC-IMPACT00000100
PX-393     DISC - Impact Image of Discord Post                 DISC-IMPACT00000101      DISC-IMPACT00000101
PX-394     DISC - Impact Image of Discord Post                 DISC-IMPACT00000102      DISC-IMPACT00000102
PX-395     DISC - Impact Image of Discord Post                 DISC-IMPACT00000103      DISC-IMPACT00000104
PX-396     DISC - Impact Image of Discord Post                 DISC-IMPACT00000105      DISC-IMPACT00000105
PX-397     DISC - Impact Image of Discord Post                 DISC-IMPACT00000106      DISC-IMPACT00000106
PX-398     DISC - Impact Image of Discord Post                 DISC-IMPACT00000107      DISC-IMPACT00000107
PX-399     DISC - Impact Image of Discord Post                 DISC-IMPACT00000108      DISC-IMPACT00000108
PX-400     DISC - Impact Image of Discord Post                 DISC-IMPACT00000109      DISC-IMPACT00000109
PX-401     DISC - Impact Image of Discord Post                 DISC-IMPACT00000110      DISC-IMPACT00000113
PX-402     DISC - Impact Image of Discord Post                 DISC-IMPACT00000114      DISC-IMPACT00000115
PX-403     DISC - Impact Image of Discord Post                 DISC-IMPACT00000116      DISC-IMPACT00000116
PX-404     DISC - Impact Image of Discord Post                 DISC-IMPACT00000117      DISC-IMPACT00000118
PX-405     DISC - Impact Image of Discord Post                 DISC-IMPACT00000119      DISC-IMPACT00000119
PX-406     DISC - Impact Image of Discord Post                 DISC-IMPACT00000120      DISC-IMPACT00000120
PX-407     DISC - Impact Image of Discord Post                 DISC-IMPACT00000121      DISC-IMPACT00000121
PX-408     DISC - Impact Image of Discord Post                 DISC-IMPACT00000122      DISC-IMPACT00000122
PX-409     DISC - Impact Image of Discord Post                 DISC-IMPACT00000123      DISC-IMPACT00000123
PX-410     DISC - Impact Image of Discord Post                 DISC-IMPACT00000124      DISC-IMPACT00000124
PX-411     DISC - Impact Image of Discord Post                 DISC-IMPACT00000125      DISC-IMPACT00000126
PX-412     DISC - Impact Image of Discord Post                 DISC-IMPACT00000127      DISC-IMPACT00000127
PX-413     DISC - Impact Image of Discord Post                 DISC-IMPACT00000128      DISC-IMPACT00000128
PX-414     DISC - Impact Image of Discord Post                 DISC-IMPACT00000129      DISC-IMPACT00000131
PX-415     DISC - Impact Image of Discord Post                 DISC-IMPACT00000132      DISC-IMPACT00000134
PX-416     DISC - Impact Image of Discord Post                 DISC-IMPACT00000135      DISC-IMPACT00000135
PX-417     DISC - Impact Image of Discord Post                 DISC-IMPACT00000136      DISC-IMPACT00000136
PX-418     DISC - Impact Image of Discord Post                 DISC-IMPACT00000137      DISC-IMPACT00000137
PX-419     DISC - Impact Image of Discord Post                 DISC-IMPACT00000138      DISC-IMPACT00000139
PX-420     DISC - Impact Image of Discord Post                 DISC-IMPACT00000140      DISC-IMPACT00000140
PX-421     DISC - Impact Image of Discord Post                 DISC-IMPACT00000141      DISC-IMPACT00000141
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-422     DISC - Impact Image of Discord Post                 DISC-IMPACT00000142      DISC-IMPACT00000143
PX-423     DISC - Impact Image of Discord Post                 DISC-IMPACT00000144      DISC-IMPACT00000145
PX-424     DISC - Impact Image of Discord Post                 DISC-IMPACT00000146      DISC-IMPACT00000148
PX-425     DISC - Impact Image of Discord Post                 DISC-IMPACT00000149      DISC-IMPACT00000149
PX-426     DISC - Impact Image of Discord Post                 DISC-IMPACT00000150      DISC-IMPACT00000150
PX-427     DISC - Impact Image of Discord Post                 DISC-IMPACT00000151      DISC-IMPACT00000151
PX-428     DISC - Impact Image of Discord Post                 DISC-IMPACT00000152      DISC-IMPACT00000154
PX-429     DISC - Impact Image of Discord Post                 DISC-IMPACT00000155      DISC-IMPACT00000155
PX-430     DISC - Impact Image of Discord Post                 DISC-IMPACT00000156      DISC-IMPACT00000156
PX-431     DISC - Impact Image of Discord Post                 DISC-IMPACT00000157      DISC-IMPACT00000157
PX-432     DISC - Impact Image of Discord Post                 DISC-IMPACT00000158      DISC-IMPACT00000159
PX-433     DISC - Impact Image of Discord Post                 DISC-IMPACT00000160      DISC-IMPACT00000160
PX-434     DISC - Impact Image of Discord Post                 DISC-IMPACT00000161      DISC-IMPACT00000161
PX-435     DISC - Impact Image of Discord Post                 DISC-IMPACT00000162      DISC-IMPACT00000162
PX-436     DISC - Impact Image of Discord Post                 DISC-IMPACT00000163      DISC-IMPACT00000163
PX-437     DISC - Impact Image of Discord Post                 DISC-IMPACT00000164      DISC-IMPACT00000164
PX-438     DISC - Impact Image of Discord Post                 DISC-IMPACT00000165      DISC-IMPACT00000165
PX-439     DISC - Impact Image of Discord Post                 DISC-IMPACT00000166      DISC-IMPACT00000166
PX-440     DISC - Impact Image of Discord Post                 DISC-IMPACT00000167      DISC-IMPACT00000167
PX-441     DISC - Impact Image of Discord Post                 DISC-IMPACT00000168      DISC-IMPACT00000168
PX-442     DISC - Impact Image of Discord Post                 DISC-IMPACT00000169      DISC-IMPACT00000169
PX-443     DISC - Impact Image of Discord Post                 DISC-IMPACT00000170      DISC-IMPACT00000170
PX-444     DISC - Impact Image of Discord Post                 DISC-IMPACT00000171      DISC-IMPACT00000171
PX-445     DISC - Impact Image of Discord Post                 DISC-IMPACT00000172      DISC-IMPACT00000172
PX-446     DISC - Impact Image of Discord Post                 DISC-IMPACT00000173      DISC-IMPACT00000173
PX-447     DISC - Impact Image of Discord Post                 DISC-IMPACT00000174      DISC-IMPACT00000174
PX-448     DISC - Impact Image of Discord Post                 DISC-IMPACT00000175      DISC-IMPACT00000175
PX-449     DISC - Impact Image of Discord Post                 DISC-IMPACT00000176      DISC-IMPACT00000176
PX-450     DISC - Impact Image of Discord Post                 DISC-IMPACT00000177      DISC-IMPACT00000178
PX-451     DISC - Impact Image of Discord Post                 DISC-IMPACT00000179      DISC-IMPACT00000179
PX-452     DISC - Impact Image of Discord Post                 DISC-IMPACT00000180      DISC-IMPACT00000180
PX-453     DISC - Impact Image of Discord Post                 DISC-IMPACT00000181      DISC-IMPACT00000181
PX-454     DISC - Impact Image of Discord Post                 DISC-IMPACT00000182      DISC-IMPACT00000182
PX-455     DISC - Impact Image of Discord Post                 DISC-IMPACT00000183      DISC-IMPACT00000185
PX-456     DISC - Impact Image of Discord Post                 DISC-IMPACT00000186      DISC-IMPACT00000187
PX-457     DISC - Impact Image of Discord Post                 DISC-IMPACT00000188      DISC-IMPACT00000188
PX-458     DISC - Impact Image of Discord Post                 DISC-IMPACT00000189      DISC-IMPACT00000191
PX-459     DISC - Impact Image of Discord Post                 DISC-IMPACT00000192      DISC-IMPACT00000192
PX-460     DISC - Impact Image of Discord Post                 DISC-IMPACT00000193      DISC-IMPACT00000193
PX-461     DISC - Impact Image of Discord Post                 DISC-IMPACT00000194      DISC-IMPACT00000194
PX-462     DISC - Impact Image of Discord Post                 DISC-IMPACT00000195      DISC-IMPACT00000197
PX-463     DISC - Impact Image of Discord Post                 DISC-IMPACT00000198      DISC-IMPACT00000199
PX-464     DISC - Impact Image of Discord Post                 DISC-IMPACT00000200      DISC-IMPACT00000202
PX-465     DISC - Impact Image of Discord Post                 DISC-IMPACT00000203      DISC-IMPACT00000203
PX-466     DISC - Impact Image of Discord Post                 DISC-IMPACT00000204      DISC-IMPACT00000204
PX-467     DISC - Impact Image of Discord Post                 DISC-IMPACT00000205      DISC-IMPACT00000205
PX-468     DISC - Impact Image of Discord Post                 DISC-IMPACT00000206      DISC-IMPACT00000206
PX-469     DISC - Impact Image of Discord Post                 DISC-IMPACT00000207      DISC-IMPACT00000207
PX-470     DISC - Impact Image of Discord Post                 DISC-IMPACT00000208      DISC-IMPACT00000211
PX-471     DISC - Impact Image of Discord Post                 DISC-IMPACT00000212      DISC-IMPACT00000212
PX-472     DISC - Impact Image of Discord Post                 DISC-IMPACT00000213      DISC-IMPACT00000213
PX-473     DISC - Impact Image of Discord Post                 DISC-IMPACT00000214      DISC-IMPACT00000214
PX-474     DISC - Impact Image of Discord Post                 DISC-IMPACT00000215      DISC-IMPACT00000215
PX-475     DISC - Impact Image of Discord Post                 DISC-IMPACT00000216      DISC-IMPACT00000216
PX-476     DISC - Impact Image of Discord Post                 DISC-IMPACT00000217      DISC-IMPACT00000217
PX-477     DISC - Impact Image of Discord Post                 DISC-IMPACT00000218      DISC-IMPACT00000220
PX-478     DISC - Impact Image of Discord Post                 DISC-IMPACT00000221      DISC-IMPACT00000221
PX-479     DISC - Impact Image of Discord Post                 DISC-IMPACT00000222      DISC-IMPACT00000222
PX-480     DISC - Impact Image of Discord Post                 DISC-IMPACT00000223      DISC-IMPACT00000223
PX-481     DISC - Impact Image of Discord Post                 DISC-IMPACT00000224      DISC-IMPACT00000224
PX-482     DISC - Impact Image of Discord Post                 DISC-IMPACT00000225      DISC-IMPACT00000225
PX-483     DISC - Impact Image of Discord Post                 DISC-IMPACT00000226      DISC-IMPACT00000226
PX-484     DISC - Impact Image of Discord Post                 DISC-IMPACT00000227      DISC-IMPACT00000228
PX-485     DISC - Impact Image of Discord Post                 DISC-IMPACT00000229      DISC-IMPACT00000229
PX-486     DISC - Impact Image of Discord Post                 DISC-IMPACT00000230      DISC-IMPACT00000230
PX-487     DISC - Impact Image of Discord Post                 DISC-IMPACT00000231      DISC-IMPACT00000231
PX-488     DISC - Impact Image of Discord Post                 DISC-IMPACT00000232      DISC-IMPACT00000232
PX-489     DISC - Impact Image of Discord Post                 DISC-IMPACT00000233      DISC-IMPACT00000233
PX-490     DISC - Impact Image of Discord Post                 DISC-IMPACT00000234      DISC-IMPACT00000234
PX-491     DISC - Impact Image of Discord Post                 DISC-IMPACT00000235      DISC-IMPACT00000235
PX-492     DISC - Impact Image of Discord Post                 DISC-IMPACT00000236      DISC-IMPACT00000236
PX-493     DISC - Impact Image of Discord Post                 DISC-IMPACT00000237      DISC-IMPACT00000237
PX-494     DISC - Impact Image of Discord Post                 DISC-IMPACT00000238      DISC-IMPACT00000238
PX-495     DISC - Impact Image of Discord Post                 DISC-IMPACT00000239      DISC-IMPACT00000239
PX-496     DISC - Impact Image of Discord Post                 DISC-IMPACT00000240      DISC-IMPACT00000240
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-497     DISC - Impact Image of Discord Post                 DISC-IMPACT00000241      DISC-IMPACT00000241
PX-498     DISC - Impact Image of Discord Post                 DISC-IMPACT00000242      DISC-IMPACT00000245
PX-499     DISC - Impact Image of Discord Post                 DISC-IMPACT00000246      DISC-IMPACT00000246
PX-500     DISC - Impact Image of Discord Post                 DISC-IMPACT00000247      DISC-IMPACT00000247
PX-501     DISC - Impact Image of Discord Post                 DISC-IMPACT00000248      DISC-IMPACT00000251
PX-502     DISC - Impact Image of Discord Post                 DISC-IMPACT00000252      DISC-IMPACT00000252
PX-503     DISC - Impact Image of Discord Post                 DISC-IMPACT00000253      DISC-IMPACT00000253
PX-504     DISC - Impact Image of Discord Post                 DISC-IMPACT00000254      DISC-IMPACT00000254
PX-505     DISC - Impact Image of Discord Post                 DISC-IMPACT00000255      DISC-IMPACT00000255
PX-506     DISC - Impact Image of Discord Post                 DISC-IMPACT00000256      DISC-IMPACT00000256
PX-507     DISC - Impact Image of Discord Post                 DISC-IMPACT00000257      DISC-IMPACT00000257
PX-508     DISC - Impact Image of Discord Post                 DISC-IMPACT00000258      DISC-IMPACT00000258
PX-509     DISC - Impact Image of Discord Post                 DISC-IMPACT00000259      DISC-IMPACT00000259
PX-510     DISC - Impact Image of Discord Post                 DISC-IMPACT00000260      DISC-IMPACT00000260
PX-511     DISC - Impact Image of Discord Post                 DISC-IMPACT00000261      DISC-IMPACT00000261
PX-512     DISC - Impact Image of Discord Post                 DISC-IMPACT00000262      DISC-IMPACT00000262
PX-513     DISC - Impact Image of Discord Post                 DISC-IMPACT00000263      DISC-IMPACT00000263
PX-514     DISC - Impact Image of Discord Post                 DISC-IMPACT00000264      DISC-IMPACT00000264
PX-515     DISC - Impact Image of Discord Post                 DISC-IMPACT00000265      DISC-IMPACT00000265
PX-516     DISC - Impact Image of Discord Post                 DISC-IMPACT00000266      DISC-IMPACT00000267
PX-517     DISC - Impact Image of Discord Post                 DISC-IMPACT00000268      DISC-IMPACT00000268
PX-518     DISC - Impact Image of Discord Post                 DISC-IMPACT00000269      DISC-IMPACT00000269
PX-519     DISC - Impact Image of Discord Post                 DISC-IMPACT00000270      DISC-IMPACT00000270
PX-520     DISC - Impact Image of Discord Post                 DISC-IMPACT00000271      DISC-IMPACT00000271
PX-521     DISC - Impact Image of Discord Post                 DISC-IMPACT00000272      DISC-IMPACT00000272
PX-522     DISC - Impact Image of Discord Post                 DISC-IMPACT00000273      DISC-IMPACT00000273
PX-523     DISC - Impact Image of Discord Post                 DISC-IMPACT00000274      DISC-IMPACT00000274
PX-524     DISC - Impact Image of Discord Post                 DISC-IMPACT00000275      DISC-IMPACT00000275
PX-525     DISC - Impact Image of Discord Post                 DISC-IMPACT00000276      DISC-IMPACT00000276
PX-526     DISC - Impact Image of Discord Post                 DISC-IMPACT00000277      DISC-IMPACT00000277
PX-527     DISC - Impact Image of Discord Post                 DISC-IMPACT00000278      DISC-IMPACT00000278
PX-528     DISC - Impact Image of Discord Post                 DISC-IMPACT00000279      DISC-IMPACT00000279
PX-529     DISC - Impact Image of Discord Post                 DISC-IMPACT00000280      DISC-IMPACT00000280
PX-530     DISC - Impact Image of Discord Post                 DISC-IMPACT00000281      DISC-IMPACT00000281
PX-531     DISC - Impact Image of Discord Post                 DISC-IMPACT00000282      DISC-IMPACT00000282
PX-532     DISC - Impact Image of Discord Post                 DISC-IMPACT00000283      DISC-IMPACT00000283
PX-533     DISC - Impact Image of Discord Post                 DISC-IMPACT00000284      DISC-IMPACT00000285
PX-534     DISC - Impact Image of Discord Post                 DISC-IMPACT00000286      DISC-IMPACT00000286
PX-535     DISC - Impact Image of Discord Post                 DISC-IMPACT00000287      DISC-IMPACT00000287
PX-536     DISC - Impact Image of Discord Post                 DISC-IMPACT00000288      DISC-IMPACT00000288
PX-537     DISC - Impact Image of Discord Post                 DISC-IMPACT00000289      DISC-IMPACT00000291
PX-538     DISC - Impact Image of Discord Post                 DISC-IMPACT00000292      DISC-IMPACT00000292
PX-539     DISC - Impact Image of Discord Post                 DISC-IMPACT00000293      DISC-IMPACT00000293
PX-540     DISC - Impact Image of Discord Post                 DISC-IMPACT00000294      DISC-IMPACT00000295
PX-541     DISC - Impact Image of Discord Post                 DISC-IMPACT00000296      DISC-IMPACT00000296
PX-542     DISC - Impact Image of Discord Post                 DISC-IMPACT00000297      DISC-IMPACT00000297
PX-543     DISC - Impact Image of Discord Post                 DISC-IMPACT00000298      DISC-IMPACT00000299
PX-544     DISC - Impact Image of Discord Post                 DISC-IMPACT00000300      DISC-IMPACT00000300
PX-545     DISC - Impact Image of Discord Post                 DISC-IMPACT00000301      DISC-IMPACT00000301
PX-546     DISC - Impact Image of Discord Post                 DISC-IMPACT00000302      DISC-IMPACT00000303
PX-547     DISC - Impact Image of Discord Post                 DISC-IMPACT00000304      DISC-IMPACT00000306
PX-548     DISC - Impact Image of Discord Post                 DISC-IMPACT00000307      DISC-IMPACT00000307
PX-549     DISC - Impact Image of Discord Post                 DISC-IMPACT00000308      DISC-IMPACT00000308
PX-550     DISC - Impact Image of Discord Post                 DISC-IMPACT00000309      DISC-IMPACT00000309
PX-551     DISC - Impact Image of Discord Post                 DISC-IMPACT00000310      DISC-IMPACT00000310
PX-552     DISC - Impact Image of Discord Post                 DISC-IMPACT00000311      DISC-IMPACT00000311
PX-553     DISC - Impact Image of Discord Post                 DISC-IMPACT00000312      DISC-IMPACT00000312
PX-554     DISC - Impact Image of Discord Post                 DISC-IMPACT00000313      DISC-IMPACT00000313
PX-555     DISC - Impact Image of Discord Post                 DISC-IMPACT00000314      DISC-IMPACT00000314
PX-556     DISC - Impact Image of Discord Post                 DISC-IMPACT00000315      DISC-IMPACT00000320
PX-557     DISC - Impact Image of Discord Post                 DISC-IMPACT00000321      DISC-IMPACT00000321
PX-558     DISC - Impact Image of Discord Post                 DISC-IMPACT00000322      DISC-IMPACT00000323
PX-559     DISC - Impact Image of Discord Post                 DISC-IMPACT00000324      DISC-IMPACT00000324
PX-560     DISC - Impact Image of Discord Post                 DISC-IMPACT00000325      DISC-IMPACT00000325
PX-561     DISC - Impact Image of Discord Post                 DISC-IMPACT00000326      DISC-IMPACT00000326
PX-562     DISC - Impact Image of Discord Post                 DISC-IMPACT00000327      DISC-IMPACT00000327
PX-563     DISC - Impact Image of Discord Post                 DISC-IMPACT00000328      DISC-IMPACT00000328
PX-564     DISC - Impact Image of Discord Post                 DISC-IMPACT00000329      DISC-IMPACT00000336
PX-565     DISC - Impact Image of Discord Post                 DISC-IMPACT00000337      DISC-IMPACT00000337
PX-566     DISC - Impact Image of Discord Post                 DISC-IMPACT00000338      DISC-IMPACT00000338
PX-567     DISC - Impact Image of Discord Post                 DISC-IMPACT00000339      DISC-IMPACT00000339
PX-568     DISC - Impact Image of Discord Post                 DISC-IMPACT00000340      DISC-IMPACT00000340
PX-569     DISC - Impact Image of Discord Post                 DISC-IMPACT00000341      DISC-IMPACT00000341
PX-570     DISC - Impact Image of Discord Post                 DISC-IMPACT00000342      DISC-IMPACT00000342
PX-571     DISC - Impact Image of Discord Post                 DISC-IMPACT00000343      DISC-IMPACT00000343
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-572     DISC - Impact Image of Discord Post                 DISC-IMPACT00000344      DISC-IMPACT00000344
PX-573     DISC - Impact Image of Discord Post                 DISC-IMPACT00000345      DISC-IMPACT00000346
PX-574     DISC - Impact Image of Discord Post                 DISC-IMPACT00000347      DISC-IMPACT00000348
PX-575     DISC - Impact Image of Discord Post                 DISC-IMPACT00000349      DISC-IMPACT00000349
PX-576     DISC - Impact Image of Discord Post                 DISC-IMPACT00000350      DISC-IMPACT00000350
PX-577     DISC - Impact Image of Discord Post                 DISC-IMPACT00000351      DISC-IMPACT00000351
PX-578     DISC - Impact Image of Discord Post                 DISC-IMPACT00000352      DISC-IMPACT00000352
PX-579     DISC - Impact Image of Discord Post                 DISC-IMPACT00000353      DISC-IMPACT00000356
PX-580     DISC - Impact Image of Discord Post                 DISC-IMPACT00000357      DISC-IMPACT00000358
PX-581     DISC - Impact Image of Discord Post                 DISC-IMPACT00000359      DISC-IMPACT00000360
PX-582     DISC - Impact Image of Discord Post                 DISC-IMPACT00000361      DISC-IMPACT00000367
PX-583     DISC - Impact Image of Discord Post                 DISC-IMPACT00000368      DISC-IMPACT00000368
PX-584     DISC - Impact Image of Discord Post                 DISC-IMPACT00000369      DISC-IMPACT00000373
PX-585     DISC - Impact Image of Discord Post                 DISC-IMPACT00000374      DISC-IMPACT00000375
PX-586     DISC - Impact Image of Discord Post                 DISC-IMPACT00000376      DISC-IMPACT00000378
PX-587     DISC - Impact Image of Discord Post                 DISC-IMPACT00000379      DISC-IMPACT00000380
PX-588     DISC - Impact Image of Discord Post                 DISC-IMPACT00000381      DISC-IMPACT00000382
PX-589     DISC - Impact Image of Discord Post                 DISC-IMPACT00000383      DISC-IMPACT00000384
PX-590     DISC - Impact Image of Discord Post                 DISC-IMPACT00000385      DISC-IMPACT00000385
PX-591     DISC - Impact Image of Discord Post                 DISC-IMPACT00000386      DISC-IMPACT00000386
PX-592     DISC - Impact Image of Discord Post                 DISC-IMPACT00000387      DISC-IMPACT00000387
PX-593     DISC - Impact Image of Discord Post                 DISC-IMPACT00000388      DISC-IMPACT00000388
PX-594     DISC - Impact Image of Discord Post                 DISC-IMPACT00000389      DISC-IMPACT00000391
PX-595     DISC - Impact Image of Discord Post                 DISC-IMPACT00000392      DISC-IMPACT00000392
PX-596     DISC - Impact Image of Discord Post                 DISC-IMPACT00000393      DISC-IMPACT00000393
PX-597     DISC - Impact Image of Discord Post                 DISC-IMPACT00000394      DISC-IMPACT00000407
PX-598     DISC - Impact Image of Discord Post                 DISC-IMPACT00000408      DISC-IMPACT00000413
PX-599     DISC - Impact Image of Discord Post                 DISC-IMPACT00000414      DISC-IMPACT00000415
PX-600     DISC - Impact Image of Discord Post                 DISC-IMPACT00000416      DISC-IMPACT00000416
PX-601     DISC - Impact Image of Discord Post                 DISC-IMPACT00000417      DISC-IMPACT00000418
PX-602     DISC - Impact Image of Discord Post                 DISC-IMPACT00000419      DISC-IMPACT00000425
PX-603     DISC - Impact Image of Discord Post                 DISC-IMPACT00000426      DISC-IMPACT00000426
PX-604     DISC - Impact Image of Discord Post                 DISC-IMPACT00000427      DISC-IMPACT00000429
PX-605     DISC - Impact Image of Discord Post                 DISC-IMPACT00000430      DISC-IMPACT00000430
PX-606     DISC - Impact Image of Discord Post                 DISC-IMPACT00000431      DISC-IMPACT00000432
PX-607     DISC - Impact Image of Discord Post                 DISC-IMPACT00000433      DISC-IMPACT00000434
PX-608     DISC - Impact Image of Discord Post                 DISC-IMPACT00000435      DISC-IMPACT00000435
PX-609     DISC - Impact Image of Discord Post                 DISC-IMPACT00000436      DISC-IMPACT00000438
PX-610     DISC - Impact Image of Discord Post                 DISC-IMPACT00000439      DISC-IMPACT00000439
PX-611     DISC - Impact Image of Discord Post                 DISC-IMPACT00000440      DISC-IMPACT00000440
PX-612     DISC - Impact Image of Discord Post                 DISC-IMPACT00000441      DISC-IMPACT00000448
PX-613     DISC - Impact Image of Discord Post                 DISC-IMPACT00000449      DISC-IMPACT00000449
PX-614     DISC - Impact Image of Discord Post                 DISC-IMPACT00000450      DISC-IMPACT00000450
PX-615     DISC - Impact Image of Discord Post                 DISC-IMPACT00000451      DISC-IMPACT00000452
PX-616     DISC - Impact Image of Discord Post                 DISC-IMPACT00000453      DISC-IMPACT00000453
PX-617     DISC - Impact Image of Discord Post                 DISC-IMPACT00000454      DISC-IMPACT00000454
PX-618     DISC - Impact Image of Discord Post                 DISC-IMPACT00000455      DISC-IMPACT00000457
PX-619     DISC - Impact Image of Discord Post                 DISC-IMPACT00000458      DISC-IMPACT00000461
PX-620     DISC - Impact Image of Discord Post                 DISC-IMPACT00000462      DISC-IMPACT00000462
PX-621     DISC - Impact Image of Discord Post                 DISC-IMPACT00000463      DISC-IMPACT00000465
PX-622     DISC - Impact Image of Discord Post                 DISC-IMPACT00000466      DISC-IMPACT00000466
PX-623     DISC - Impact Image of Discord Post                 DISC-IMPACT00000467      DISC-IMPACT00000467
PX-624     DISC - Impact Image of Discord Post                 DISC-IMPACT00000468      DISC-IMPACT00000468
PX-625     DISC - Impact Image of Discord Post                 DISC-IMPACT00000469      DISC-IMPACT00000469
PX-626     DISC - Impact Image of Discord Post                 DISC-IMPACT00000470      DISC-IMPACT00000471
PX-627     DISC - Impact Image of Discord Post                 DISC-IMPACT00000472      DISC-IMPACT00000472
PX-628     DISC - Impact Image of Discord Post                 DISC-IMPACT00000473      DISC-IMPACT00000475
PX-629     DISC - Impact Image of Discord Post                 DISC-IMPACT00000476      DISC-IMPACT00000476
PX-630     DISC - Impact Image of Discord Post                 DISC-IMPACT00000477      DISC-IMPACT00000477
PX-631     DISC - Impact Image of Discord Post                 DISC-IMPACT00000478      DISC-IMPACT00000478
PX-632     DISC - Impact Image of Discord Post                 DISC-IMPACT00000479      DISC-IMPACT00000479
PX-633     DISC - Impact Image of Discord Post                 DISC-IMPACT00000480      DISC-IMPACT00000483
PX-634     DISC - Impact Image of Discord Post                 DISC-IMPACT00000484      DISC-IMPACT00000485
PX-635     DISC - Impact Image of Discord Post                 DISC-IMPACT00000486      DISC-IMPACT00000488
PX-636     DISC - Impact Image of Discord Post                 DISC-IMPACT00000489      DISC-IMPACT00000489
PX-637     DISC - Impact Image of Discord Post                 DISC-IMPACT00000490      DISC-IMPACT00000490
PX-638     DISC - Impact Image of Discord Post                 DISC-IMPACT00000491      DISC-IMPACT00000492
PX-639     DISC - Impact Image of Discord Post                 DISC-IMPACT00000493      DISC-IMPACT00000493
PX-640     DISC - Impact Image of Discord Post                 DISC-IMPACT00000494      DISC-IMPACT00000495
PX-641     DISC - Impact Image of Discord Post                 DISC-IMPACT00000496      DISC-IMPACT00000498
PX-642     DISC - Impact Image of Discord Post                 DISC-IMPACT00000499      DISC-IMPACT00000501
PX-643     DISC - Impact Image of Discord Post                 DISC-IMPACT00000502      DISC-IMPACT00000502
PX-644     DISC - Impact Image of Discord Post                 DISC-IMPACT00000503      DISC-IMPACT00000505
PX-645     DISC - Impact Image of Discord Post                 DISC-IMPACT00000506      DISC-IMPACT00000507
PX-646     DISC - Impact Image of Discord Post                 DISC-IMPACT00000508      DISC-IMPACT00000508
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-647     DISC - Impact Image of Discord Post                 DISC-IMPACT00000509      DISC-IMPACT00000509
PX-648     DISC - Impact Image of Discord Post                 DISC-IMPACT00000510      DISC-IMPACT00000511
PX-649     DISC - Impact Image of Discord Post                 DISC-IMPACT00000512      DISC-IMPACT00000513
PX-650     DISC - Impact Image of Discord Post                 DISC-IMPACT00000514      DISC-IMPACT00000514
PX-651     DISC - Impact Image of Discord Post                 DISC-IMPACT00000515      DISC-IMPACT00000516
PX-652     DISC - Impact Image of Discord Post                 DISC-IMPACT00000517      DISC-IMPACT00000518
PX-653     DISC - Impact Image of Discord Post                 DISC-IMPACT00000519      DISC-IMPACT00000520
PX-654     DISC - Impact Image of Discord Post                 DISC-IMPACT00000521      DISC-IMPACT00000523
PX-655     DISC - Impact Image of Discord Post                 DISC-IMPACT00000524      DISC-IMPACT00000525
PX-656     DISC - Impact Image of Discord Post                 DISC-IMPACT00000526      DISC-IMPACT00000528
PX-657     DISC - Impact Image of Discord Post                 DISC-IMPACT00000529      DISC-IMPACT00000529
PX-658     DISC - Impact Image of Discord Post                 DISC-IMPACT00000530      DISC-IMPACT00000531
PX-659     DISC - Impact Image of Discord Post                 DISC-IMPACT00000532      DISC-IMPACT00000533
PX-660     DISC - Impact Image of Discord Post                 DISC-IMPACT00000534      DISC-IMPACT00000534
PX-661     DISC - Impact Image of Discord Post                 DISC-IMPACT00000535      DISC-IMPACT00000535
PX-662     DISC - Impact Image of Discord Post                 DISC-IMPACT00000536      DISC-IMPACT00000536
PX-663     DISC - Impact Image of Discord Post                 DISC-IMPACT00000537      DISC-IMPACT00000537
PX-664     DISC - Impact Image of Discord Post                 DISC-IMPACT00000538      DISC-IMPACT00000538
PX-665     DISC - Impact Image of Discord Post                 DISC-IMPACT00000539      DISC-IMPACT00000539
PX-666     DISC - Impact Image of Discord Post                 DISC-IMPACT00000540      DISC-IMPACT00000540
PX-667     DISC - Impact Image of Discord Post                 DISC-IMPACT00000541      DISC-IMPACT00000541
PX-668     DISC - Impact Image of Discord Post                 DISC-IMPACT00000542      DISC-IMPACT00000542
PX-669     DISC - Impact Image of Discord Post                 DISC-IMPACT00000543      DISC-IMPACT00000543
PX-670     DISC - Impact Image of Discord Post                 DISC-IMPACT00000544      DISC-IMPACT00000546
PX-671     DISC - Impact Image of Discord Post                 DISC-IMPACT00000547      DISC-IMPACT00000548
PX-672     DISC - Impact Image of Discord Post                 DISC-IMPACT00000549      DISC-IMPACT00000553
PX-673     DISC - Impact Image of Discord Post                 DISC-IMPACT00000554      DISC-IMPACT00000554
PX-674     DISC - Impact Image of Discord Post                 DISC-IMPACT00000555      DISC-IMPACT00000555
PX-675     DISC - Impact Image of Discord Post                 DISC-IMPACT00000556      DISC-IMPACT00000556
PX-676     DISC - Impact Image of Discord Post                 DISC-IMPACT00000557      DISC-IMPACT00000557
PX-677     DISC - Impact Image of Discord Post                 DISC-IMPACT00000558      DISC-IMPACT00000558
PX-678     DISC - Impact Image of Discord Post                 DISC-IMPACT00000559      DISC-IMPACT00000559
PX-679     DISC - Impact Image of Discord Post                 DISC-IMPACT00000560      DISC-IMPACT00000561
PX-680     DISC - Impact Image of Discord Post                 DISC-IMPACT00000562      DISC-IMPACT00000568
PX-681     DISC - Impact Image of Discord Post                 DISC-IMPACT00000569      DISC-IMPACT00000572
PX-682     DISC - Impact Image of Discord Post                 DISC-IMPACT00000573      DISC-IMPACT00000573
PX-683     DISC - Impact Image of Discord Post                 DISC-IMPACT00000574      DISC-IMPACT00000575
PX-684     DISC - Impact Image of Discord Post                 DISC-IMPACT00000576      DISC-IMPACT00000577
PX-685     DISC - Impact Image of Discord Post                 DISC-IMPACT00000578      DISC-IMPACT00000596
PX-686     DISC - Impact Image of Discord Post                 DISC-IMPACT00000597      DISC-IMPACT00000597
PX-687     DISC - Impact Image of Discord Post                 DISC-IMPACT00000598      DISC-IMPACT00000598
PX-688     DISC - Impact Image of Discord Post                 DISC-IMPACT00000599      DISC-IMPACT00000599
PX-689     DISC - Impact Image of Discord Post                 DISC-IMPACT00000600      DISC-IMPACT00000600
PX-690     DISC - Impact Image of Discord Post                 DISC-IMPACT00000601      DISC-IMPACT00000601
PX-691     DISC - Impact Image of Discord Post                 DISC-IMPACT00000602      DISC-IMPACT00000602
PX-692     DISC - Impact Image of Discord Post                 DISC-IMPACT00000603      DISC-IMPACT00000603
PX-693     DISC - Impact Image of Discord Post                 DISC-IMPACT00000604      DISC-IMPACT00000604
PX-694     DISC - Impact Image of Discord Post                 DISC-IMPACT00000605      DISC-IMPACT00000605
PX-695     DISC - Impact Image of Discord Post                 DISC-IMPACT00000606      DISC-IMPACT00000606
PX-696     DISC - Impact Image of Discord Post                 DISC-IMPACT00000607      DISC-IMPACT00000607
PX-697     DISC - Impact Image of Discord Post                 DISC-IMPACT00000608      DISC-IMPACT00000608
PX-698     DISC - Impact Image of Discord Post                 DISC-IMPACT00000609      DISC-IMPACT00000609
PX-699     DISC - Impact Image of Discord Post                 DISC-IMPACT00000610      DISC-IMPACT00000610
PX-700     DISC - Impact Image of Discord Post                 DISC-IMPACT00000611      DISC-IMPACT00000611
PX-701     DISC - Impact Image of Discord Post                 DISC-IMPACT00000612      DISC-IMPACT00000612
PX-702     DISC - Impact Image of Discord Post                 DISC-IMPACT00000613      DISC-IMPACT00000613
PX-703     DISC - Impact Image of Discord Post                 DISC-IMPACT00000614      DISC-IMPACT00000614
PX-704     DISC - Impact Image of Discord Post                 DISC-IMPACT00000615      DISC-IMPACT00000616
PX-705     DISC - Impact Image of Discord Post                 DISC-IMPACT00000617      DISC-IMPACT00000617
PX-706     DISC - Impact Image of Discord Post                 DISC-IMPACT00000618      DISC-IMPACT00000618
PX-707     DISC - Impact Image of Discord Post                 DISC-IMPACT00000619      DISC-IMPACT00000621
PX-708     DISC - Impact Image of Discord Post                 DISC-IMPACT00000622      DISC-IMPACT00000623
PX-709     DISC - Impact Image of Discord Post                 DISC-IMPACT00000624      DISC-IMPACT00000625
PX-710     DISC - Impact Image of Discord Post                 DISC-IMPACT00000626      DISC-IMPACT00000626
PX-711     DISC - Impact Image of Discord Post                 DISC-IMPACT00000627      DISC-IMPACT00000627
PX-712     DISC - Impact Image of Discord Post                 DISC-IMPACT00000628      DISC-IMPACT00000628
PX-713     DISC - Impact Image of Discord Post                 DISC-IMPACT00000629      DISC-IMPACT00000629
PX-714     DISC - Impact Image of Discord Post                 DISC-IMPACT00000630      DISC-IMPACT00000631
PX-715     DISC - Impact Image of Discord Post                 DISC-IMPACT00000632      DISC-IMPACT00000633
PX-716     DISC - Impact Image of Discord Post                 DISC-IMPACT00000634      DISC-IMPACT00000634
PX-717     DISC - Impact Image of Discord Post                 DISC-IMPACT00000635      DISC-IMPACT00000635
PX-718     DISC - Impact Image of Discord Post                 DISC-IMPACT00000636      DISC-IMPACT00000636
PX-719     DISC - Impact Image of Discord Post                 DISC-IMPACT00000637      DISC-IMPACT00000637
PX-720     DISC - Impact Image of Discord Post                 DISC-IMPACT00000638      DISC-IMPACT00000639
PX-721     DISC - Impact Image of Discord Post                 DISC-IMPACT00000640      DISC-IMPACT00000640
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-722     DISC - Impact Image of Discord Post                 DISC-IMPACT00000641      DISC-IMPACT00000641
PX-723     DISC - Impact Image of Discord Post                 DISC-IMPACT00000642      DISC-IMPACT00000642
PX-724     DISC - Impact Image of Discord Post                 DISC-IMPACT00000643      DISC-IMPACT00000652
PX-725     DISC - Impact Image of Discord Post                 DISC-IMPACT00000653      DISC-IMPACT00000653
PX-726     DISC - Impact Image of Discord Post                 DISC-IMPACT00000654      DISC-IMPACT00000654
PX-727     DISC - Impact Image of Discord Post                 DISC-IMPACT00000655      DISC-IMPACT00000655
PX-728     DISC - Impact Image of Discord Post                 DISC-IMPACT00000656      DISC-IMPACT00000656
PX-729     DISC - Impact Image of Discord Post                 DISC-IMPACT00000657      DISC-IMPACT00000657
PX-730     DISC - Impact Image of Discord Post                 DISC-IMPACT00000658      DISC-IMPACT00000658
PX-731     DISC - Impact Image of Discord Post                 DISC-IMPACT00000659      DISC-IMPACT00000659
PX-732     DISC - Impact Image of Discord Post                 DISC-IMPACT00000660      DISC-IMPACT00000660
PX-733     DISC - Impact Image of Discord Post                 DISC-IMPACT00000661      DISC-IMPACT00000661
PX-734     DISC - Impact Image of Discord Post                 DISC-IMPACT00000662      DISC-IMPACT00000662
PX-735     DISC - Impact Image of Discord Post                 DISC-IMPACT00000663      DISC-IMPACT00000663
PX-736     DISC - Impact Image of Discord Post                 DISC-IMPACT00000664      DISC-IMPACT00000664
PX-737     DISC - Impact Image of Discord Post                 DISC-IMPACT00000665      DISC-IMPACT00000665
PX-738     DISC - Impact Image of Discord Post                 DISC-IMPACT00000666      DISC-IMPACT00000666
PX-739     DISC - Impact Image of Discord Post                 DISC-IMPACT00000667      DISC-IMPACT00000667
PX-740     DISC - Impact Image of Discord Post                 DISC-IMPACT00000668      DISC-IMPACT00000668
PX-741     DISC - Impact Image of Discord Post                 DISC-IMPACT00000669      DISC-IMPACT00000669
PX-742     DISC - Impact Image of Discord Post                 DISC-IMPACT00000670      DISC-IMPACT00000670
PX-743     DISC - Impact Image of Discord Post                 DISC-IMPACT00000671      DISC-IMPACT00000671
PX-744     DISC - Impact Image of Discord Post                 DISC-IMPACT00000672      DISC-IMPACT00000672
PX-745     DISC - Impact Image of Discord Post                 DISC-IMPACT00000673      DISC-IMPACT00000673
PX-746     DISC - Impact Image of Discord Post                 DISC-IMPACT00000674      DISC-IMPACT00000674
PX-747     DISC - Impact Image of Discord Post                 DISC-IMPACT00000675      DISC-IMPACT00000675
PX-748     DISC - Impact Image of Discord Post                 DISC-IMPACT00000676      DISC-IMPACT00000676
PX-749     DISC - Impact Image of Discord Post                 DISC-IMPACT00000677      DISC-IMPACT00000677
PX-750     DISC - Impact Image of Discord Post                 DISC-IMPACT00000678      DISC-IMPACT00000678
PX-751     DISC - Impact Image of Discord Post                 DISC-IMPACT00000679      DISC-IMPACT00000679
PX-752     DISC - Impact Image of Discord Post                 DISC-IMPACT00000680      DISC-IMPACT00000680
PX-753     DISC - Impact Image of Discord Post                 DISC-IMPACT00000681      DISC-IMPACT00000681
PX-754     DISC - Impact Image of Discord Post                 DISC-IMPACT00000682      DISC-IMPACT00000682
PX-755     DISC - Impact Image of Discord Post                 DISC-IMPACT00000683      DISC-IMPACT00000683
PX-756     DISC - Impact Image of Discord Post                 DISC-IMPACT00000684      DISC-IMPACT00000684
PX-757     DISC - Impact Image of Discord Post                 DISC-IMPACT00000685      DISC-IMPACT00000685
PX-758     DISC - Impact Image of Discord Post                 DISC-IMPACT00000686      DISC-IMPACT00000686
PX-759     DISC - Impact Image of Discord Post                 DISC-IMPACT00000687      DISC-IMPACT00000687
PX-760     DISC - Impact Image of Discord Post                 DISC-IMPACT00000688      DISC-IMPACT00000688
PX-761     DISC - Impact Image of Discord Post                 DISC-IMPACT00000689      DISC-IMPACT00000689
PX-762     DISC - Impact Image of Discord Post                 DISC-IMPACT00000690      DISC-IMPACT00000690
PX-763     DISC - Impact Image of Discord Post                 DISC-IMPACT00000691      DISC-IMPACT00000691
PX-764     DISC - Impact Image of Discord Post                 DISC-IMPACT00000692      DISC-IMPACT00000692
PX-765     DISC - Impact Image of Discord Post                 DISC-IMPACT00000693      DISC-IMPACT00000693
PX-766     DISC - Impact Image of Discord Post                 DISC-IMPACT00000694      DISC-IMPACT00000694
PX-767     DISC - Impact Image of Discord Post                 DISC-IMPACT00000695      DISC-IMPACT00000695
PX-768     DISC - Impact Image of Discord Post                 DISC-IMPACT00000696      DISC-IMPACT00000696
PX-769     DISC - Impact Image of Discord Post                 DISC-IMPACT00000697      DISC-IMPACT00000697
PX-770     DISC - Impact Image of Discord Post                 DISC-IMPACT00000698      DISC-IMPACT00000698
PX-771     DISC - Impact Image of Discord Post                 DISC-IMPACT00000699      DISC-IMPACT00000699
PX-772     DISC - Impact Image of Discord Post                 DISC-IMPACT00000700      DISC-IMPACT00000700
PX-773     DISC - Impact Image of Discord Post                 DISC-IMPACT00000701      DISC-IMPACT00000701
PX-774     DISC - Impact Image of Discord Post                 DISC-IMPACT00000702      DISC-IMPACT00000702
PX-775     DISC - Impact Image of Discord Post                 DISC-IMPACT00000703      DISC-IMPACT00000703
PX-776     DISC - Impact Image of Discord Post                 DISC-IMPACT00000704      DISC-IMPACT00000704
PX-777     DISC - Impact Image of Discord Post                 DISC-IMPACT00000705      DISC-IMPACT00000705
PX-778     DISC - Impact Image of Discord Post                 DISC-IMPACT00000706      DISC-IMPACT00000706
PX-779     DISC - Impact Image of Discord Post                 DISC-IMPACT00000707      DISC-IMPACT00000707
PX-780     DISC - Impact Image of Discord Post                 DISC-IMPACT00000708      DISC-IMPACT00000708
PX-781     DISC - Impact Image of Discord Post                 DISC-IMPACT00000709      DISC-IMPACT00000709
PX-782     DISC - Impact Image of Discord Post                 DISC-IMPACT00000710      DISC-IMPACT00000710
PX-783     DISC - Impact Image of Discord Post                 DISC-IMPACT00000711      DISC-IMPACT00000711
PX-784     DISC - Impact Image of Discord Post                 DISC-IMPACT00000712      DISC-IMPACT00000712
PX-785     DISC - Impact Image of Discord Post                 DISC-IMPACT00000713      DISC-IMPACT00000713
PX-786     DISC - Impact Image of Discord Post                 DISC-IMPACT00000714      DISC-IMPACT00000714
PX-787     DISC - Impact Image of Discord Post                 DISC-IMPACT00000715      DISC-IMPACT00000715
PX-788     DISC - Impact Image of Discord Post                 DISC-IMPACT00000716      DISC-IMPACT00000716
PX-789     DISC - Impact Image of Discord Post                 DISC-IMPACT00000717      DISC-IMPACT00000717
PX-790     DISC - Impact Image of Discord Post                 DISC-IMPACT00000718      DISC-IMPACT00000718
PX-791     DISC - Impact Image of Discord Post                 DISC-IMPACT00000719      DISC-IMPACT00000719
PX-792     DISC - Impact Image of Discord Post                 DISC-IMPACT00000720      DISC-IMPACT00000720
PX-793     DISC - Impact Image of Discord Post                 DISC-IMPACT00000721      DISC-IMPACT00000721
PX-794     DISC - Impact Image of Discord Post                 DISC-IMPACT00000722      DISC-IMPACT00000722
PX-795     DISC - Impact Image of Discord Post                 DISC-IMPACT00000723      DISC-IMPACT00000723
PX-796     DISC - Impact Image of Discord Post                 DISC-IMPACT00000724      DISC-IMPACT00000724
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-797     DISC - Impact Image of Discord Post                 DISC-IMPACT00000725      DISC-IMPACT00000725
PX-798     DISC - Impact Image of Discord Post                 DISC-IMPACT00000726      DISC-IMPACT00000726
PX-799     DISC - Impact Image of Discord Post                 DISC-IMPACT00000727      DISC-IMPACT00000727
PX-800     DISC - Impact Image of Discord Post                 DISC-IMPACT00000728      DISC-IMPACT00000728
PX-801     DISC - Impact Image of Discord Post                 DISC-IMPACT00000729      DISC-IMPACT00000729
PX-802     DISC - Impact Image of Discord Post                 DISC-IMPACT00000730      DISC-IMPACT00000730
PX-803     DISC - Impact Image of Discord Post                 DISC-IMPACT00000731      DISC-IMPACT00000731
PX-804     DISC - Impact Image of Discord Post                 DISC-IMPACT00000732      DISC-IMPACT00000732
PX-805     DISC - Impact Image of Discord Post                 DISC-IMPACT00000733      DISC-IMPACT00000733
PX-806     DISC - Impact Image of Discord Post                 DISC-IMPACT00000734      DISC-IMPACT00000734
PX-807     DISC - Impact Image of Discord Post                 DISC-IMPACT00000735      DISC-IMPACT00000735
PX-808     DISC - Impact Image of Discord Post                 DISC-IMPACT00000736      DISC-IMPACT00000736
PX-809     DISC - Impact Image of Discord Post                 DISC-IMPACT00000737      DISC-IMPACT00000737
PX-810     DISC - Impact Image of Discord Post                 DISC-IMPACT00000738      DISC-IMPACT00000738
PX-811     DISC - Impact Image of Discord Post                 DISC-IMPACT00000739      DISC-IMPACT00000739
PX-812     DISC - Impact Image of Discord Post                 DISC-IMPACT00000740      DISC-IMPACT00000740
PX-813     DISC - Impact Image of Discord Post                 DISC-IMPACT00000741      DISC-IMPACT00000741
PX-814     DISC - Impact Image of Discord Post                 DISC-IMPACT00000742      DISC-IMPACT00000742
PX-815     DISC - Impact Image of Discord Post                 DISC-IMPACT00000743      DISC-IMPACT00000743
PX-816     DISC - Impact Image of Discord Post                 DISC-IMPACT00000744      DISC-IMPACT00000744
PX-817     DISC - Impact Image of Discord Post                 DISC-IMPACT00000745      DISC-IMPACT00000745
PX-818     DISC - Impact Image of Discord Post                 DISC-IMPACT00000746      DISC-IMPACT00000746
PX-819     DISC - Impact Image of Discord Post                 DISC-IMPACT00000747      DISC-IMPACT00000748
PX-820     DISC - Impact Image of Discord Post                 DISC-IMPACT00000749      DISC-IMPACT00000749
PX-821     DISC - Impact Image of Discord Post                 DISC-IMPACT00000750      DISC-IMPACT00000750
PX-822     DISC - Impact Image of Discord Post                 DISC-IMPACT00000751      DISC-IMPACT00000757
PX-823     DISC - Impact Image of Discord Post                 DISC-IMPACT00000758      DISC-IMPACT00000758
PX-824     DISC - Impact Image of Discord Post                 DISC-IMPACT00000759      DISC-IMPACT00000759
PX-825     DISC - Impact Image of Discord Post                 DISC-IMPACT00000760      DISC-IMPACT00000760
PX-826     DISC - Impact Image of Discord Post                 DISC-IMPACT00000761      DISC-IMPACT00000761
PX-827     DISC - Impact Image of Discord Post                 DISC-IMPACT00000762      DISC-IMPACT00000762
PX-828     DISC - Impact Image of Discord Post                 DISC-IMPACT00000763      DISC-IMPACT00000768
PX-829     DISC - Impact Image of Discord Post                 DISC-IMPACT00000769      DISC-IMPACT00000769
PX-830     DISC - Impact Image of Discord Post                 DISC-IMPACT00000770      DISC-IMPACT00000770
PX-831     DISC - Impact Image of Discord Post                 DISC-IMPACT00000771      DISC-IMPACT00000772
PX-832     DISC - Impact Image of Discord Post                 DISC-IMPACT00000773      DISC-IMPACT00000773
PX-833     DISC - Impact Image of Discord Post                 DISC-IMPACT00000774      DISC-IMPACT00000774
PX-834     DISC - Impact Image of Discord Post                 DISC-IMPACT00000775      DISC-IMPACT00000775
PX-835     DISC - Impact Image of Discord Post                 DISC-IMPACT00000776      DISC-IMPACT00000776
PX-836     DISC - Impact Image of Discord Post                 DISC-IMPACT00000777      DISC-IMPACT00000778
PX-837     DISC - Impact Image of Discord Post                 DISC-IMPACT00000779      DISC-IMPACT00000779
PX-838     DISC - Impact Image of Discord Post                 DISC-IMPACT00000780      DISC-IMPACT00000780
PX-839     DISC - Impact Image of Discord Post                 DISC-IMPACT00000781      DISC-IMPACT00000781
PX-840     DISC - Impact Image of Discord Post                 DISC-IMPACT00000782      DISC-IMPACT00000782
PX-841     DISC - Impact Image of Discord Post                 DISC-IMPACT00000783      DISC-IMPACT00000783
PX-842     DISC - Impact Image of Discord Post                 DISC-IMPACT00000784      DISC-IMPACT00000784
PX-843     DISC - Impact Image of Discord Post                 DISC-IMPACT00000785      DISC-IMPACT00000785
PX-844     DISC - Impact Image of Discord Post                 DISC-IMPACT00000786      DISC-IMPACT00000786
PX-845     DISC - Impact Image of Discord Post                 DISC-IMPACT00000787      DISC-IMPACT00000787
PX-846     DISC - Impact Image of Discord Post                 DISC-IMPACT00000788      DISC-IMPACT00000788
PX-847     DISC - Impact Image of Discord Post                 DISC-IMPACT00000789      DISC-IMPACT00000789
PX-848     DISC - Impact Image of Discord Post                 DISC-IMPACT00000790      DISC-IMPACT00000790
PX-849     DISC - Impact Image of Discord Post                 DISC-IMPACT00000791      DISC-IMPACT00000791
PX-850     DISC - Impact Image of Discord Post                 DISC-IMPACT00000792      DISC-IMPACT00000792
PX-851     DISC - Impact Image of Discord Post                 DISC-IMPACT00000793      DISC-IMPACT00000793
PX-852     DISC - Impact Image of Discord Post                 DISC-IMPACT00000794      DISC-IMPACT00000794
PX-853     DISC - Impact Image of Discord Post                 DISC-IMPACT00000795      DISC-IMPACT00000795
PX-854     DISC - Impact Image of Discord Post                 DISC-IMPACT00000796      DISC-IMPACT00000796
PX-855     DISC - Impact Image of Discord Post                 DISC-IMPACT00000797      DISC-IMPACT00000797
PX-856     DISC - Impact Image of Discord Post                 DISC-IMPACT00000798      DISC-IMPACT00000798
PX-857     DISC - Impact Image of Discord Post                 DISC-IMPACT00000799      DISC-IMPACT00000799
PX-858     DISC - Impact Image of Discord Post                 DISC-IMPACT00000800      DISC-IMPACT00000800
PX-859     DISC - Impact Image of Discord Post                 DISC-IMPACT00000801      DISC-IMPACT00000801
PX-860     DISC - Impact Image of Discord Post                 DISC-IMPACT00000802      DISC-IMPACT00000802
PX-861     DISC - Impact Image of Discord Post                 DISC-IMPACT00000803      DISC-IMPACT00000803
PX-862     DISC - Impact Image of Discord Post                 DISC-IMPACT00000804      DISC-IMPACT00000805
PX-863     DISC - Impact Image of Discord Post                 DISC-IMPACT00000806      DISC-IMPACT00000806
PX-864     DISC - Impact Image of Discord Post                 DISC-IMPACT00000807      DISC-IMPACT00000807
PX-865     DISC - Impact Image of Discord Post                 DISC-IMPACT00000808      DISC-IMPACT00000808
PX-866     DISC - Impact Image of Discord Post                 DISC-IMPACT00000809      DISC-IMPACT00000809
PX-867     DISC - Impact Image of Discord Post                 DISC-IMPACT00000810      DISC-IMPACT00000810
PX-868     DISC - Impact Image of Discord Post                 DISC-IMPACT00000811      DISC-IMPACT00000811
PX-869     DISC - Impact Image of Discord Post                 DISC-IMPACT00000812      DISC-IMPACT00000812
PX-870     DISC - Impact Image of Discord Post                 DISC-IMPACT00000813      DISC-IMPACT00000813
PX-871     DISC - Impact Image of Discord Post                 DISC-IMPACT00000814      DISC-IMPACT00000814
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-872     DISC - Impact Image of Discord Post                 DISC-IMPACT00000815      DISC-IMPACT00000815
PX-873     DISC - Impact Image of Discord Post                 DISC-IMPACT00000816      DISC-IMPACT00000816
PX-874     DISC - Impact Image of Discord Post                 DISC-IMPACT00000817      DISC-IMPACT00000817
PX-875     DISC - Impact Image of Discord Post                 DISC-IMPACT00000818      DISC-IMPACT00000818
PX-876     DISC - Impact Image of Discord Post                 DISC-IMPACT00000819      DISC-IMPACT00000819
PX-877     DISC - Impact Image of Discord Post                 DISC-IMPACT00000820      DISC-IMPACT00000820
PX-878     DISC - Impact Image of Discord Post                 DISC-IMPACT00000821      DISC-IMPACT00000821
PX-879     DISC - Impact Image of Discord Post                 DISC-IMPACT00000822      DISC-IMPACT00000822
PX-880     DISC - Impact Image of Discord Post                 DISC-IMPACT00000823      DISC-IMPACT00000823
PX-881     DISC - Impact Image of Discord Post                 DISC-IMPACT00000824      DISC-IMPACT00000824
PX-882     DISC - Impact Image of Discord Post                 DISC-IMPACT00000825      DISC-IMPACT00000825
PX-883     DISC - Impact Image of Discord Post                 DISC-IMPACT00000826      DISC-IMPACT00000826
PX-884     DISC - Impact Image of Discord Post                 DISC-IMPACT00000827      DISC-IMPACT00000827
PX-885     DISC - Impact Image of Discord Post                 DISC-IMPACT00000828      DISC-IMPACT00000828
PX-886     DISC - Impact Image of Discord Post                 DISC-IMPACT00000829      DISC-IMPACT00000829
PX-887     DISC - Impact Image of Discord Post                 DISC-IMPACT00000830      DISC-IMPACT00000830
PX-888     DISC - Impact Image of Discord Post                 DISC-IMPACT00000831      DISC-IMPACT00000831
PX-889     DISC - Impact Image of Discord Post                 DISC-IMPACT00000832      DISC-IMPACT00000832
PX-890     DISC - Impact Image of Discord Post                 DISC-IMPACT00000833      DISC-IMPACT00000833
PX-891     DISC - Impact Image of Discord Post                 DISC-IMPACT00000834      DISC-IMPACT00000834
PX-892     DISC - Impact Image of Discord Post                 DISC-IMPACT00000835      DISC-IMPACT00000835
PX-893     DISC - Impact Image of Discord Post                 DISC-IMPACT00000836      DISC-IMPACT00000836
PX-894     DISC - Impact Image of Discord Post                 DISC-IMPACT00000837      DISC-IMPACT00000837
PX-895     DISC - Impact Image of Discord Post                 DISC-IMPACT00000838      DISC-IMPACT00000838
PX-896     DISC - Impact Image of Discord Post                 DISC-IMPACT00000839      DISC-IMPACT00000839
PX-897     DISC - Impact Image of Discord Post                 DISC-IMPACT00000840      DISC-IMPACT00000840
PX-898     DISC - Impact Image of Discord Post                 DISC-IMPACT00000841      DISC-IMPACT00000841
PX-899     DISC - Impact Image of Discord Post                 DISC-IMPACT00000842      DISC-IMPACT00000842
PX-900     DISC - Impact Image of Discord Post                 DISC-IMPACT00000843      DISC-IMPACT00000843
PX-901     DISC - Impact Image of Discord Post                 DISC-IMPACT00000844      DISC-IMPACT00000844
PX-902     DISC - Impact Image of Discord Post                 DISC-IMPACT00000845      DISC-IMPACT00000845
PX-903     DISC - Impact Image of Discord Post                 DISC-IMPACT00000846      DISC-IMPACT00000846
PX-904     DISC - Impact Image of Discord Post                 DISC-IMPACT00000847      DISC-IMPACT00000847
PX-905     DISC - Impact Image of Discord Post                 DISC-IMPACT00000848      DISC-IMPACT00000848
PX-906     DISC - Impact Image of Discord Post                 DISC-IMPACT00000849      DISC-IMPACT00000849
PX-907     DISC - Impact Image of Discord Post                 DISC-IMPACT00000850      DISC-IMPACT00000850
PX-908     DISC - Impact Image of Discord Post                 DISC-IMPACT00000851      DISC-IMPACT00000851
PX-909     DISC - Impact Image of Discord Post                 DISC-IMPACT00000852      DISC-IMPACT00000852
PX-910     DISC - Impact Image of Discord Post                 DISC-IMPACT00000853      DISC-IMPACT00000853
PX-911     DISC - Impact Image of Discord Post                 DISC-IMPACT00000854      DISC-IMPACT00000854
PX-912     DISC - Impact Image of Discord Post                 DISC-IMPACT00000855      DISC-IMPACT00000857
PX-913     DISC - Impact Image of Discord Post                 DISC-IMPACT00000858      DISC-IMPACT00000859
PX-914     DISC - Impact Image of Discord Post                 DISC-IMPACT00000860      DISC-IMPACT00000860
PX-915     DISC - Impact Image of Discord Post                 DISC-IMPACT00000861      DISC-IMPACT00000861
PX-916     DISC - Impact Image of Discord Post                 DISC-IMPACT00000862      DISC-IMPACT00000862
PX-917     DISC - Impact Image of Discord Post                 DISC-IMPACT00000863      DISC-IMPACT00000863
PX-918     DISC - Impact Image of Discord Post                 DISC-IMPACT00000864      DISC-IMPACT00000864
PX-919     DISC - Impact Image of Discord Post                 DISC-IMPACT00000865      DISC-IMPACT00000865
PX-920     DISC - Impact Image of Discord Post                 DISC-IMPACT00000866      DISC-IMPACT00000867
PX-921     DISC - Impact Image of Discord Post                 DISC-IMPACT00000868      DISC-IMPACT00000868
PX-922     DISC - Impact Image of Discord Post                 DISC-IMPACT00000869      DISC-IMPACT00000869
PX-923     DISC - Impact Image of Discord Post                 DISC-IMPACT00000870      DISC-IMPACT00000871
PX-924     DISC - Impact Image of Discord Post                 DISC-IMPACT00000872      DISC-IMPACT00000872
PX-925     DISC - Impact Image of Discord Post                 DISC-IMPACT00000873      DISC-IMPACT00000873
PX-926     DISC - Impact Image of Discord Post                 DISC-IMPACT00000874      DISC-IMPACT00000874
PX-927     DISC - Impact Image of Discord Post                 DISC-IMPACT00000875      DISC-IMPACT00000876
PX-928     DISC - Impact Image of Discord Post                 DISC-IMPACT00000877      DISC-IMPACT00000877
PX-929     DISC - Impact Image of Discord Post                 DISC-IMPACT00000878      DISC-IMPACT00000878
PX-930     DISC - Impact Image of Discord Post                 DISC-IMPACT00000879      DISC-IMPACT00000879
PX-931     DISC - Impact Image of Discord Post                 DISC-IMPACT00000880      DISC-IMPACT00000880
PX-932     DISC - Impact Image of Discord Post                 DISC-IMPACT00000881      DISC-IMPACT00000881
PX-933     DISC - Impact Image of Discord Post                 DISC-IMPACT00000882      DISC-IMPACT00000882
PX-934     DISC - Impact Image of Discord Post                 DISC-IMPACT00000883      DISC-IMPACT00000883
PX-935     DISC - Impact Image of Discord Post                 DISC-IMPACT00000884      DISC-IMPACT00000884
PX-936     DISC - Impact Image of Discord Post                 DISC-IMPACT00000885      DISC-IMPACT00000885
PX-937     DISC - Impact Image of Discord Post                 DISC-IMPACT00000886      DISC-IMPACT00000888
PX-938     DISC - Impact Image of Discord Post                 DISC-IMPACT00000889      DISC-IMPACT00000889
PX-939     DISC - Impact Image of Discord Post                 DISC-IMPACT00000890      DISC-IMPACT00000890
PX-940     DISC - Impact Image of Discord Post                 DISC-IMPACT00000891      DISC-IMPACT00000891
PX-941     DISC - Impact Image of Discord Post                 DISC-IMPACT00000892      DISC-IMPACT00000892
PX-942     DISC - Impact Image of Discord Post                 DISC-IMPACT00000893      DISC-IMPACT00000893
PX-943     DISC - Impact Image of Discord Post                 DISC-IMPACT00000894      DISC-IMPACT00000894
PX-944     DISC - Impact Image of Discord Post                 DISC-IMPACT00000895      DISC-IMPACT00000895
PX-945     DISC - Impact Image of Discord Post                 DISC-IMPACT00000896      DISC-IMPACT00000896
PX-946     DISC - Impact Image of Discord Post                 DISC-IMPACT00000897      DISC-IMPACT00000899
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-947     DISC - Impact Image of Discord Post                 DISC-IMPACT00000900      DISC-IMPACT00000900
PX-948     DISC - Impact Image of Discord Post                 DISC-IMPACT00000901      DISC-IMPACT00000901
PX-949     DISC - Impact Image of Discord Post                 DISC-IMPACT00000902      DISC-IMPACT00000906
PX-950     DISC - Impact Image of Discord Post                 DISC-IMPACT00000907      DISC-IMPACT00000907
PX-951     DISC - Impact Image of Discord Post                 DISC-IMPACT00000908      DISC-IMPACT00000908
PX-952     DISC - Impact Image of Discord Post                 DISC-IMPACT00000909      DISC-IMPACT00000915
PX-953     DISC - Impact Image of Discord Post                 DISC-IMPACT00000916      DISC-IMPACT00000917
PX-954     DISC - Impact Image of Discord Post                 DISC-IMPACT00000918      DISC-IMPACT00000918
PX-955     DISC - Impact Image of Discord Post                 DISC-IMPACT00000919      DISC-IMPACT00000919
PX-956     DISC - Impact Image of Discord Post                 DISC-IMPACT00000920      DISC-IMPACT00000920
PX-957     DISC - Impact Image of Discord Post                 DISC-IMPACT00000921      DISC-IMPACT00000921
PX-958     DISC - Impact Image of Discord Post                 DISC-IMPACT00000922      DISC-IMPACT00000922
PX-959     DISC - Impact Image of Discord Post                 DISC-IMPACT00000923      DISC-IMPACT00000923
PX-960     DISC - Impact Image of Discord Post                 DISC-IMPACT00000924      DISC-IMPACT00000924
PX-961     DISC - Impact Image of Discord Post                 DISC-IMPACT00000925      DISC-IMPACT00000926
PX-962     DISC - Impact Image of Discord Post                 DISC-IMPACT00000927      DISC-IMPACT00000931
PX-963     DISC - Impact Image of Discord Post                 DISC-IMPACT00000932      DISC-IMPACT00000932
PX-964     DISC - Impact Image of Discord Post                 DISC-IMPACT00000933      DISC-IMPACT00000933
PX-965     DISC - Impact Image of Discord Post                 DISC-IMPACT00000934      DISC-IMPACT00000934
PX-966     DISC - Impact Image of Discord Post                 DISC-IMPACT00000935      DISC-IMPACT00000937
PX-967     DISC - Impact Image of Discord Post                 DISC-IMPACT00000938      DISC-IMPACT00000939
PX-968     DISC - Impact Image of Discord Post                 DISC-IMPACT00000940      DISC-IMPACT00000940
PX-969     DISC - Impact Image of Discord Post                 DISC-IMPACT00000941      DISC-IMPACT00000942
PX-970     DISC - Impact Image of Discord Post                 DISC-IMPACT00000943      DISC-IMPACT00000943
PX-971     DISC - Impact Image of Discord Post                 DISC-IMPACT00000944      DISC-IMPACT00000944
PX-972     DISC - Impact Image of Discord Post                 DISC-IMPACT00000945      DISC-IMPACT00000945
PX-973     DISC - Impact Image of Discord Post                 DISC-IMPACT00000946      DISC-IMPACT00000946
PX-974     DISC - Impact Image of Discord Post                 DISC-IMPACT00000947      DISC-IMPACT00000951
PX-975     DISC - Impact Image of Discord Post                 DISC-IMPACT00000952      DISC-IMPACT00000954
PX-976     DISC - Impact Image of Discord Post                 DISC-IMPACT00000955      DISC-IMPACT00000955
PX-977     DISC - Impact Image of Discord Post                 DISC-IMPACT00000956      DISC-IMPACT00000956
PX-978     DISC - Impact Image of Discord Post                 DISC-IMPACT00000957      DISC-IMPACT00000958
PX-979     DISC - Impact Image of Discord Post                 DISC-IMPACT00000959      DISC-IMPACT00000959
PX-980     DISC - Impact Image of Discord Post                 DISC-IMPACT00000960      DISC-IMPACT00000961
PX-981     DISC - Impact Image of Discord Post                 DISC-IMPACT00000962      DISC-IMPACT00000963
PX-982     DISC - Impact Image of Discord Post                 DISC-IMPACT00000964      DISC-IMPACT00000968
PX-983     DISC - Impact Image of Discord Post                 DISC-IMPACT00000969      DISC-IMPACT00000969
PX-984     DISC - Impact Image of Discord Post                 DISC-IMPACT00000970      DISC-IMPACT00000970
PX-985     DISC - Impact Image of Discord Post                 DISC-IMPACT00000971      DISC-IMPACT00000971
PX-986     DISC - Impact Image of Discord Post                 DISC-IMPACT00000972      DISC-IMPACT00000972
PX-987     DISC - Impact Image of Discord Post                 DISC-IMPACT00000973      DISC-IMPACT00000973
PX-988     DISC - Impact Image of Discord Post                 DISC-IMPACT00000974      DISC-IMPACT00000974
PX-989     DISC - Impact Image of Discord Post                 DISC-IMPACT00000975      DISC-IMPACT00000975
PX-990     DISC - Impact Image of Discord Post                 DISC-IMPACT00000976      DISC-IMPACT00000976
PX-991     DISC - Impact Image of Discord Post                 DISC-IMPACT00000977      DISC-IMPACT00000978
PX-992     DISC - Impact Image of Discord Post                 DISC-IMPACT00000979      DISC-IMPACT00000980
PX-993     DISC - Impact Image of Discord Post                 DISC-IMPACT00000981      DISC-IMPACT00000981
PX-994     DISC - Impact Image of Discord Post                 DISC-IMPACT00000982      DISC-IMPACT00000982
PX-995     DISC - Impact Image of Discord Post                 DISC-IMPACT00000983      DISC-IMPACT00000983
PX-996     DISC - Impact Image of Discord Post                 DISC-IMPACT00000984      DISC-IMPACT00000984
PX-997     DISC - Impact Image of Discord Post                 DISC-IMPACT00000985      DISC-IMPACT00000987
PX-998     DISC - Impact Image of Discord Post                 DISC-IMPACT00000988      DISC-IMPACT00000988
PX-999     DISC - Impact Image of Discord Post                 DISC-IMPACT00000989      DISC-IMPACT00000999
PX-1000    DISC - Impact Image of Discord Post                 DISC-IMPACT00001000      DISC-IMPACT00001000
PX-1001    DISC - Impact Image of Discord Post                 DISC-IMPACT00001001      DISC-IMPACT00001001
PX-1002    DISC - Impact Image of Discord Post                 DISC-IMPACT00001002      DISC-IMPACT00001002
PX-1003    DISC - Impact Image of Discord Post                 DISC-IMPACT00001003      DISC-IMPACT00001010
PX-1004    DISC - Impact Image of Discord Post                 DISC-IMPACT00001011      DISC-IMPACT00001011
PX-1005    DISC - Impact Image of Discord Post                 DISC-IMPACT00001012      DISC-IMPACT00001014
PX-1006    DISC - Impact Image of Discord Post                 DISC-IMPACT00001015      DISC-IMPACT00001015
PX-1007    DISC - Impact Image of Discord Post                 DISC-IMPACT00001016      DISC-IMPACT00001018
PX-1008    DISC - Impact Image of Discord Post                 DISC-IMPACT00001019      DISC-IMPACT00001019
PX-1009    DISC - Impact Image of Discord Post                 DISC-IMPACT00001020      DISC-IMPACT00001020
PX-1010    DISC - Impact Image of Discord Post                 DISC-IMPACT00001021      DISC-IMPACT00001021
PX-1011    DISC - Impact Image of Discord Post                 DISC-IMPACT00001022      DISC-IMPACT00001022
PX-1012    DISC - Impact Image of Discord Post                 DISC-IMPACT00001023      DISC-IMPACT00001027
PX-1013    DISC - Impact Image of Discord Post                 DISC-IMPACT00001028      DISC-IMPACT00001028
PX-1014    DISC - Impact Image of Discord Post                 DISC-IMPACT00001029      DISC-IMPACT00001033
PX-1015    DISC - Impact Image of Discord Post                 DISC-IMPACT00001034      DISC-IMPACT00001034
PX-1016    DISC - Impact Image of Discord Post                 DISC-IMPACT00001035      DISC-IMPACT00001035
PX-1017    DISC - Impact Image of Discord Post                 DISC-IMPACT00001036      DISC-IMPACT00001037
PX-1018    DISC - Impact Image of Discord Post                 DISC-IMPACT00001038      DISC-IMPACT00001038
PX-1019    DISC - Impact Image of Discord Post                 DISC-IMPACT00001039      DISC-IMPACT00001039
PX-1020    DISC - Impact Image of Discord Post                 DISC-IMPACT00001040      DISC-IMPACT00001040
PX-1021    DISC - Impact Image of Discord Post                 DISC-IMPACT00001041      DISC-IMPACT00001041
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-1022    DISC - Impact Image of Discord Post                 DISC-IMPACT00001042      DISC-IMPACT00001044
PX-1023    DISC - Impact Image of Discord Post                 DISC-IMPACT00001045      DISC-IMPACT00001049
PX-1024    DISC - Impact Image of Discord Post                 DISC-IMPACT00001050      DISC-IMPACT00001052
PX-1025    DISC - Impact Image of Discord Post                 DISC-IMPACT00001053      DISC-IMPACT00001053
PX-1026    DISC - Impact Image of Discord Post                 DISC-IMPACT00001054      DISC-IMPACT00001054
PX-1027    DISC - Impact Image of Discord Post                 DISC-IMPACT00001055      DISC-IMPACT00001055
PX-1028    DISC - Impact Image of Discord Post                 DISC-IMPACT00001056      DISC-IMPACT00001056
PX-1029    DISC - Impact Image of Discord Post                 DISC-IMPACT00001057      DISC-IMPACT00001057
PX-1030    DISC - Impact Image of Discord Post                 DISC-IMPACT00001058      DISC-IMPACT00001058
PX-1031    DISC - Impact Image of Discord Post                 DISC-IMPACT00001059      DISC-IMPACT00001060
PX-1032    DISC - Impact Image of Discord Post                 DISC-IMPACT00001061      DISC-IMPACT00001061
PX-1033    DISC - Impact Image of Discord Post                 DISC-IMPACT00001062      DISC-IMPACT00001062
PX-1034    DISC - Impact Image of Discord Post                 DISC-IMPACT00001063      DISC-IMPACT00001063
PX-1035    DISC - Impact Image of Discord Post                 DISC-IMPACT00001064      DISC-IMPACT00001065
PX-1036    DISC - Impact Image of Discord Post                 DISC-IMPACT00001066      DISC-IMPACT00001066
PX-1037    DISC - Impact Image of Discord Post                 DISC-IMPACT00001067      DISC-IMPACT00001067
PX-1038    DISC - Impact Image of Discord Post                 DISC-IMPACT00001068      DISC-IMPACT00001068
PX-1039    DISC - Impact Image of Discord Post                 DISC-IMPACT00001069      DISC-IMPACT00001069
PX-1040    DISC - Impact Image of Discord Post                 DISC-IMPACT00001070      DISC-IMPACT00001070
PX-1041    DISC - Impact Image of Discord Post                 DISC-IMPACT00001071      DISC-IMPACT00001071
PX-1042    DISC - Impact Image of Discord Post                 DISC-IMPACT00001072      DISC-IMPACT00001072
PX-1043    DISC - Impact Image of Discord Post                 DISC-IMPACT00001073      DISC-IMPACT00001073
PX-1044    DISC - Impact Image of Discord Post                 DISC-IMPACT00001074      DISC-IMPACT00001074
PX-1045    DISC - Impact Image of Discord Post                 DISC-IMPACT00001075      DISC-IMPACT00001075
PX-1046    DISC - Impact Image of Discord Post                 DISC-IMPACT00001076      DISC-IMPACT00001080
PX-1047    DISC - Impact Image of Discord Post                 DISC-IMPACT00001081      DISC-IMPACT00001081
PX-1048    DISC - Impact Image of Discord Post                 DISC-IMPACT00001082      DISC-IMPACT00001082
PX-1049    DISC - Impact Image of Discord Post                 DISC-IMPACT00001083      DISC-IMPACT00001083
PX-1050    DISC - Impact Image of Discord Post                 DISC-IMPACT00001084      DISC-IMPACT00001084
PX-1051    DISC - Impact Image of Discord Post                 DISC-IMPACT00001085      DISC-IMPACT00001086
PX-1052    DISC - Impact Image of Discord Post                 DISC-IMPACT00001087      DISC-IMPACT00001087
PX-1053    DISC - Impact Image of Discord Post                 DISC-IMPACT00001088      DISC-IMPACT00001089
PX-1054    DISC - Impact Image of Discord Post                 DISC-IMPACT00001090      DISC-IMPACT00001090
PX-1055    DISC - Impact Image of Discord Post                 DISC-IMPACT00001091      DISC-IMPACT00001091
PX-1056    DISC - Impact Image of Discord Post                 DISC-IMPACT00001092      DISC-IMPACT00001092
PX-1057    DISC - Impact Image of Discord Post                 DISC-IMPACT00001093      DISC-IMPACT00001094
PX-1058    DISC - Impact Image of Discord Post                 DISC-IMPACT00001095      DISC-IMPACT00001097
PX-1059    DISC - Impact Image of Discord Post                 DISC-IMPACT00001098      DISC-IMPACT00001098
PX-1060    DISC - Impact Image of Discord Post                 DISC-IMPACT00001099      DISC-IMPACT00001102
PX-1061    DISC - Impact Image of Discord Post                 DISC-IMPACT00001103      DISC-IMPACT00001103
PX-1062    DISC - Impact Image of Discord Post                 DISC-IMPACT00001104      DISC-IMPACT00001108
PX-1063    DISC - Impact Image of Discord Post                 DISC-IMPACT00001109      DISC-IMPACT00001109
PX-1064    DISC - Impact Image of Discord Post                 DISC-IMPACT00001110      DISC-IMPACT00001110
PX-1065    DISC - Impact Image of Discord Post                 DISC-IMPACT00001111      DISC-IMPACT00001111
PX-1066    DISC - Impact Image of Discord Post                 DISC-IMPACT00001112      DISC-IMPACT00001112
PX-1067    DISC - Impact Image of Discord Post                 DISC-IMPACT00001113      DISC-IMPACT00001114
PX-1068    DISC - Impact Image of Discord Post                 DISC-IMPACT00001115      DISC-IMPACT00001115
PX-1069    DISC - Impact Image of Discord Post                 DISC-IMPACT00001116      DISC-IMPACT00001116
PX-1070    DISC - Impact Image of Discord Post                 DISC-IMPACT00001117      DISC-IMPACT00001117
PX-1071    DISC - Impact Image of Discord Post                 DISC-IMPACT00001118      DISC-IMPACT00001119
PX-1072    DISC - Impact Image of Discord Post                 DISC-IMPACT00001120      DISC-IMPACT00001121
PX-1073    DISC - Impact Image of Discord Post                 DISC-IMPACT00001122      DISC-IMPACT00001122
PX-1074    DISC - Impact Image of Discord Post                 DISC-IMPACT00001123      DISC-IMPACT00001125
PX-1075    DISC - Impact Image of Discord Post                 DISC-IMPACT00001126      DISC-IMPACT00001128
PX-1076    DISC - Impact Image of Discord Post                 DISC-IMPACT00001129      DISC-IMPACT00001133
PX-1077    DISC - Impact Image of Discord Post                 DISC-IMPACT00001134      DISC-IMPACT00001135
PX-1078    DISC - Impact Image of Discord Post                 DISC-IMPACT00001136      DISC-IMPACT00001136
PX-1079    DISC - Impact Image of Discord Post                 DISC-IMPACT00001137      DISC-IMPACT00001137
PX-1080    DISC - Impact Image of Discord Post                 DISC-IMPACT00001138      DISC-IMPACT00001138
PX-1081    DISC - Impact Image of Discord Post                 DISC-IMPACT00001139      DISC-IMPACT00001139
PX-1082    DISC - Impact Image of Discord Post                 DISC-IMPACT00001140      DISC-IMPACT00001140
PX-1083    DISC - Impact Image of Discord Post                 DISC-IMPACT00001141      DISC-IMPACT00001141
PX-1084    DISC - Impact Image of Discord Post                 DISC-IMPACT00001142      DISC-IMPACT00001142
PX-1085    DISC - Impact Image of Discord Post                 DISC-IMPACT00001143      DISC-IMPACT00001143
PX-1086    DISC - Impact Image of Discord Post                 DISC-IMPACT00001144      DISC-IMPACT00001144
PX-1087    DISC - Impact Image of Discord Post                 DISC-IMPACT00001145      DISC-IMPACT00001145
PX-1088    DISC - Impact Image of Discord Post                 DISC-IMPACT00001146      DISC-IMPACT00001146
PX-1089    DISC - Impact Image of Discord Post                 DISC-IMPACT00001147      DISC-IMPACT00001147
PX-1090    DISC - Impact Image of Discord Post                 DISC-IMPACT00001148      DISC-IMPACT00001148
PX-1091    DISC - Impact Image of Discord Post                 DISC-IMPACT00001149      DISC-IMPACT00001149
PX-1092    DISC - Impact Image of Discord Post                 DISC-IMPACT00001150      DISC-IMPACT00001150
PX-1093    DISC - Impact Image of Discord Post                 DISC-IMPACT00001151      DISC-IMPACT00001151
PX-1094    DISC - Impact Image of Discord Post                 DISC-IMPACT00001152      DISC-IMPACT00001152
PX-1095    DISC - Impact Image of Discord Post                 DISC-IMPACT00001153      DISC-IMPACT00001153
PX-1096    DISC - Impact Image of Discord Post                 DISC-IMPACT00001154      DISC-IMPACT00001154
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 Ex. No.                                         Description          Beginning Bates            End Bates
PX-1097    DISC - Impact Image of Discord Post                 DISC-IMPACT00001155      DISC-IMPACT00001156
PX-1098    DISC - Impact Image of Discord Post                 DISC-IMPACT00001157      DISC-IMPACT00001157
PX-1099    DISC - Impact Image of Discord Post                 DISC-IMPACT00001158      DISC-IMPACT00001158
PX-1100    DISC - Impact Image of Discord Post                 DISC-IMPACT00001159      DISC-IMPACT00001159
PX-1101    DISC - Impact Image of Discord Post                 DISC-IMPACT00001160      DISC-IMPACT00001160
PX-1102    DISC - Impact Image of Discord Post                 DISC-IMPACT00001161      DISC-IMPACT00001164
PX-1103    DISC - Impact Image of Discord Post                 DISC-IMPACT00001165      DISC-IMPACT00001165
PX-1104    DISC - Impact Image of Discord Post                 DISC-IMPACT00001166      DISC-IMPACT00001166
PX-1105    DISC - Impact Image of Discord Post                 DISC-IMPACT00001167      DISC-IMPACT00001167
PX-1106    DISC - Impact Image of Discord Post                 DISC-IMPACT00001168      DISC-IMPACT00001168
PX-1107    DISC - Impact Image of Discord Post                 DISC-IMPACT00001169      DISC-IMPACT00001169
PX-1108    DISC - Impact Image of Discord Post                 DISC-IMPACT00001170      DISC-IMPACT00001170
PX-1109    DISC - Impact Image of Discord Post                 DISC-IMPACT00001171      DISC-IMPACT00001171
PX-1110    DISC - Impact Image of Discord Post                 DISC-IMPACT00001172      DISC-IMPACT00001172
PX-1111    DISC - Impact Image of Discord Post                 DISC-IMPACT00001173      DISC-IMPACT00001173
PX-1112    DISC - Impact Image of Discord Post                 DISC-IMPACT00001174      DISC-IMPACT00001174
PX-1113    DISC - Impact Image of Discord Post                 DISC-IMPACT00001175      DISC-IMPACT00001175
PX-1114    DISC - Impact Image of Discord Post                 DISC-IMPACT00001176      DISC-IMPACT00001177
PX-1115    DISC - Impact Image of Discord Post                 DISC-IMPACT00001178      DISC-IMPACT00001179
PX-1116    DISC - Impact Image of Discord Post                 DISC-IMPACT00001180      DISC-IMPACT00001180
PX-1117    DISC - Impact Image of Discord Post                 DISC-IMPACT00001181      DISC-IMPACT00001182
PX-1118    DISC - Impact Image of Discord Post                 DISC-IMPACT00001183      DISC-IMPACT00001183
PX-1119    DISC - Impact Image of Discord Post                 DISC-IMPACT00001184      DISC-IMPACT00001184
PX-1120    DISC - Impact Image of Discord Post                 DISC-IMPACT00001185      DISC-IMPACT00001185
PX-1121    DISC - Impact Image of Discord Post                 DISC-IMPACT00001186      DISC-IMPACT00001186
PX-1122    DISC - Impact Image of Discord Post                 DISC-IMPACT00001187      DISC-IMPACT00001187
PX-1123    DISC - Impact Image of Discord Post                 DISC-IMPACT00001188      DISC-IMPACT00001188
PX-1124    DISC - Impact Image of Discord Post                 DISC-IMPACT00001189      DISC-IMPACT00001189
PX-1125    DISC - Impact Image of Discord Post                 DISC-IMPACT00001190      DISC-IMPACT00001190
PX-1126    DISC - Impact Image of Discord Post                 DISC-IMPACT00001191      DISC-IMPACT00001191
PX-1127    DISC - Impact Image of Discord Post                 DISC-IMPACT00001192      DISC-IMPACT00001192
PX-1128    DISC - Impact Image of Discord Post                 DISC-IMPACT00001193      DISC-IMPACT00001193
PX-1129    DISC - Impact Image of Discord Post                 DISC-IMPACT00001194      DISC-IMPACT00001194
PX-1130    DISC - Impact Image of Discord Post                 DISC-IMPACT00001195      DISC-IMPACT00001196
PX-1131    DISC - Impact Image of Discord Post                 DISC-IMPACT00001197      DISC-IMPACT00001199
PX-1132    DISC - Impact Image of Discord Post                 DISC-IMPACT00001200      DISC-IMPACT00001200
PX-1133    DISC - Impact Image of Discord Post                 DISC-IMPACT00001201      DISC-IMPACT00001201
PX-1134    DISC - Impact Image of Discord Post                 DISC-IMPACT00001202      DISC-IMPACT00001202
PX-1135    DISC - Impact Image of Discord Post                 DISC-IMPACT00001203      DISC-IMPACT00001203
PX-1136    DISC - Impact Image of Discord Post                 DISC-IMPACT00001204      DISC-IMPACT00001204
PX-1137    DISC - Impact Image of Discord Post                 DISC-IMPACT00001205      DISC-IMPACT00001205
PX-1138    DISC - Impact Image of Discord Post                 DISC-IMPACT00001206      DISC-IMPACT00001206
PX-1139    DISC - Impact Image of Discord Post                 DISC-IMPACT00001207      DISC-IMPACT00001207
PX-1140    DISC - Impact Image of Discord Post                 DISC-IMPACT00001208      DISC-IMPACT00001208
PX-1141    DISC - Impact Image of Discord Post                 DISC-IMPACT00001209      DISC-IMPACT00001209
PX-1142    DISC - Impact Image of Discord Post                 DISC-IMPACT00001210      DISC-IMPACT00001210
PX-1143    DISC - Impact Image of Discord Post                 DISC-IMPACT00001211      DISC-IMPACT00001212
PX-1144    DISC - Impact Image of Discord Post                 DISC-IMPACT00001213      DISC-IMPACT00001214
PX-1145    DISC - Impact Image of Discord Post                 DISC-IMPACT00001215      DISC-IMPACT00001215
PX-1146    DISC - Impact Image of Discord Post                 DISC-IMPACT00001216      DISC-IMPACT00001216
PX-1147    DISC - Impact Image of Discord Post                 DISC-IMPACT00001217      DISC-IMPACT00001217
PX-1148    DISC - Impact Image of Discord Post                 DISC-IMPACT00001218      DISC-IMPACT00001219
PX-1149    DISC - Impact Image of Discord Post                 DISC-IMPACT00001220      DISC-IMPACT00001221
PX-1150    DISC - Impact Image of Discord Post                 DISC-IMPACT00001222      DISC-IMPACT00001222
PX-1151    DISC - Impact Image of Discord Post                 DISC-IMPACT00001223      DISC-IMPACT00001223
PX-1152    DISC - Impact Image of Discord Post                 DISC-IMPACT00001224      DISC-IMPACT00001225
PX-1153    DISC - Impact Image of Discord Post                 DISC-IMPACT00001226      DISC-IMPACT00001226
PX-1154    DISC - Impact Image of Discord Post                 DISC-IMPACT00001227      DISC-IMPACT00001229
PX-1155    DISC - Impact Image of Discord Post                 DISC-IMPACT00001230      DISC-IMPACT00001230
PX-1156    DISC - Impact Image of Discord Post                 DISC-IMPACT00001231      DISC-IMPACT00001231
PX-1157    DISC - Impact Image of Discord Post                 DISC-IMPACT00001232      DISC-IMPACT00001234
PX-1158    DISC - Impact Image of Discord Post                 DISC-IMPACT00001235      DISC-IMPACT00001236
PX-1159    DISC - Impact Image of Discord Post                 DISC-IMPACT00001237      DISC-IMPACT00001237
PX-1160    DISC - Impact Image of Discord Post                 DISC-IMPACT00001238      DISC-IMPACT00001239
PX-1161    DISC - Impact Image of Discord Post                 DISC-IMPACT00001240      DISC-IMPACT00001240
PX-1162    DISC - Impact Image of Discord Post                 DISC-IMPACT00001241      DISC-IMPACT00001241
PX-1163    DISC - Impact Image of Discord Post                 DISC-IMPACT00001242      DISC-IMPACT00001243
PX-1164    DISC - Impact Image of Discord Post                 DISC-IMPACT00001244      DISC-IMPACT00001244
PX-1165    DISC - Impact Image of Discord Post                 DISC-IMPACT00001245      DISC-IMPACT00001245
PX-1166    DISC - Impact Image of Discord Post                 DISC-IMPACT00001246      DISC-IMPACT00001246
PX-1167    DISC - Impact Image of Discord Post                 DISC-IMPACT00001247      DISC-IMPACT00001247
PX-1168    DISC - Impact Image of Discord Post                 DISC-IMPACT00001248      DISC-IMPACT00001252
PX-1169    DISC - Impact Image of Discord Post                 DISC-IMPACT00001253      DISC-IMPACT00001253
PX-1170    DISC - Impact Image of Discord Post                 DISC-IMPACT00001254      DISC-IMPACT00001254
PX-1171    DISC - Impact Image of Discord Post                 DISC-IMPACT00001255      DISC-IMPACT00001255
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 Ex. No.                                            Description                                         Beginning Bates            End Bates
PX-1172    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001256      DISC-IMPACT00001256
PX-1173    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001257      DISC-IMPACT00001257
PX-1174    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001258      DISC-IMPACT00001259
PX-1175    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001260      DISC-IMPACT00001260
PX-1176    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001261      DISC-IMPACT00001264
PX-1177    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001265      DISC-IMPACT00001265
PX-1178    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001266      DISC-IMPACT00001266
PX-1179    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001267      DISC-IMPACT00001267
PX-1180    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001268      DISC-IMPACT00001268
PX-1181    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001269      DISC-IMPACT00001269
PX-1182    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001270      DISC-IMPACT00001270
PX-1183    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001271      DISC-IMPACT00001271
PX-1184    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001272      DISC-IMPACT00001275
PX-1185    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001276      DISC-IMPACT00001278
PX-1186    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001279      DISC-IMPACT00001289
PX-1187    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001290      DISC-IMPACT00001290
PX-1188    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001291      DISC-IMPACT00001296
PX-1189    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001297      DISC-IMPACT00001297
PX-1190    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001298      DISC-IMPACT00001298
PX-1191    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001299      DISC-IMPACT00001299
PX-1192    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001300      DISC-IMPACT00001301
PX-1193    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001302      DISC-IMPACT00001303
PX-1194    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001304      DISC-IMPACT00001304
PX-1195    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001305      DISC-IMPACT00001305
PX-1196    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001306      DISC-IMPACT00001308
PX-1197    DISC - Impact Image of Discord Post                                                   DISC-IMPACT00001309      DISC-IMPACT00001309
PX-1198    DISC - Discord Production PA004 - PA005                                               DISCORD-0002920          DISCORD-0005616
PX-1199    DISC - Discord Production PA008 - PA011                                               DISCORD-0005617          DISCORD-0008322
PX-1200    DISC - Discord Production PA007                                                       DISCORD-0008323          DISCORD-0008323
PX-1201    DISC - Discord Production PA012 - PA013                                               DISCORD-0008324          DISCORD-0011370
PX-1202    PHOTO - Photo of Hitler that James Fields sent to his mother                          DOJ00000021245           DOJ00000021245
PX-1203    PHOTO - Photo of August 11, 2017, torch march that James Fields sent to this mother   DOJ00000021246           DOJ00000021246
PX-1204    PHOTO - Photo of August 11, 2017, torch march that James Fields sent to this mother   DOJ00000021247           DOJ00000021247
PX-1205    SMS - Samsung Return - Text Message from James Fields to his Mother                   DOJ00000021248           DOJ00000021248
PX-1206    TWITTER – Images tweeted by James Fields                                              DOJ00000184              DOJ00000184
PX-1207    TWITTER – Images tweeted by James Fields                                              DOJ00000369              DOJ00000369
PX-1208    TWITTER – Images tweeted by James Fields                                              DOJ00000585              DOJ00000585
PX-1209    TWITTER – Images tweeted by James Fields                                              DOJ00000687              DOJ00000687
PX-1210    TWITTER – Images tweeted by James Fields                                              DOJ00000698              DOJ00000698
PX-1211    TWITTER – Images tweeted by James Fields                                              DOJ00000741              DOJ00000741
PX-1212    TWITTER – Images tweeted by James Fields                                              DOJ00001021              DOJ00001021
PX-1213    TWITTER – Images tweeted by James Fields                                              DOJ00001271              DOJ00001271
PX-1214    TWITTER – Images tweeted by James Fields                                              DOJ00001958              DOJ00001958
PX-1215    TWITTER – Images tweeted by James Fields                                              DOJ00002026              DOJ00002026
PX-1216    TWITTER – Images tweeted by James Fields                                              DOJ00002294              DOJ00002294
PX-1217    TWITTER – Images tweeted by James Fields                                              DOJ00002809              DOJ00002809
PX-1218    TWITTER – Images tweeted by James Fields                                              DOJ00002905              DOJ00002905
PX-1219    TWITTER – Images tweeted by James Fields                                              DOJ00002958              DOJ00002958
PX-1220    TWITTER – Images tweeted by James Fields                                              DOJ00003097              DOJ00003097
PX-1221    TWITTER – Images tweeted by James Fields                                              DOJ00003146              DOJ00003146
PX-1222    TWITTER – Images tweeted by James Fields                                              DOJ00003210              DOJ00003210
PX-1223    TWITTER – Images tweeted by James Fields                                              DOJ00003223              DOJ00003223
PX-1224    TWITTER – Images tweeted by James Fields                                              DOJ00003427              DOJ00003427
PX-1225    TWITTER – Images tweeted by James Fields                                              DOJ00003734              DOJ00003734
PX-1226    TWITTER – Images tweeted by James Fields                                              DOJ00003741              DOJ00003741
PX-1227    TWITTER – Images tweeted by James Fields                                              DOJ00003765              DOJ00003765
PX-1228    TWITTER – Images tweeted by James Fields                                              DOJ00003778              DOJ00003778
PX-1229    TWITTER – Images tweeted by James Fields                                              DOJ00004000              DOJ00004000
PX-1230    TWITTER – Images tweeted by James Fields                                              DOJ00004146              DOJ00004146
PX-1231    TWITTER – Images tweeted by James Fields                                              DOJ00004148              DOJ00004148
PX-1232    TWITTER – Images tweeted by James Fields                                              DOJ00004310              DOJ00004310
PX-1233    TWITTER – Images tweeted by James Fields                                              DOJ00004347              DOJ00004347
PX-1234    TWITTER – Images tweeted by James Fields                                              DOJ00004614              DOJ00004614
PX-1235    TWITTER – Images tweeted by James Fields                                              DOJ00004720              DOJ00004720
PX-1236    TWITTER – Images tweeted by James Fields                                              DOJ00005076              DOJ00005076
PX-1237    TWITTER – Images tweeted by James Fields                                              DOJ00005311              DOJ00005311
PX-1238    TWITTER – Images tweeted by James Fields                                              DOJ00005344              DOJ00005344
PX-1239    TWITTER – Images tweeted by James Fields                                              DOJ00005493              DOJ00005493
PX-1240    TWITTER – Images tweeted by James Fields                                              DOJ00005599              DOJ00005599
PX-1241    TWITTER – Images tweeted by James Fields                                              DOJ00005615              DOJ00005916
PX-1242    TWITTER – Images tweeted by James Fields                                              DOJ00006273              DOJ00006807
PX-1243    TWITTER – Images tweeted by James Fields                                              DOJ00006937              DOJ00006937
PX-1244    DOC - Instagram Business Record for James Fields                                      DOJ00007916              DOJ00008450
PX-1245    FB - Facebook Business Record for James Fields                                        DOJ00010957              DOJ00017007
PX-1246    DOC - Extraction Report for James Fields' phone                                       DOJ00017008              DOJ00021244
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 Ex. No.                                            Description                                     Beginning Bates            End Bates
PX-1247    TWITTER - UVA BSA Twitter with a picture of Devin Willis                          DWTW0008505              DWTW0008505
PX-1248    SMS - Text message from Elliott Kline to Bree                                     EK00000180               EK00000180
PX-1249    SMS - Text message from Elliott Kline to Bree                                     EK00000406               EK00000406
PX-1250    SMS - Text message from Elliott Kline to Patrick C.                               EK00000733               EK00000733
PX-1251    SMS - Text message conversation between Coach to Bree                             EK00000733               EK00000733
PX-1252    SMS - Text message from Elliott Kline to Antifa Cat Lady                          EK00001146               EK00001146
PX-1253    SMS - Text message from "Coach" to "Antifa Cat Lady"                              EK00001556               EK00001556
PX-1254    SMS - Text message from "Coach" to "Antifa Cat Lady"                              EK00001740               EK00001740
PX-1255    SMS - Text message from "Coach" to "Antifa Cat Lady"                              EK00001912               EK00001912
PX-1256    SMS - Text message from Antifa Cat Lady to Elliott Kline                          EK00002237               EK00002237
PX-1257    SMS - Text message from "Coach" to "Antifa Cat Lady"                              EK00003983               EK00003983
PX-1258    SMS - Text message from Elliott Kline to Antifa Cat Lady                          EK00004004               EK00004004
PX-1259    SMS - Text message from "Coach" to "Jayoh"                                        EK00004334               EK00004334
PX-1260    SMS - Text from "Coach"                                                           EK00004434               EK00004434
PX-1261    SMS - Text message from Augustus Invictus to "Coach"                              EK00004644               EK00004644
PX-1262    SMS - Text message conversation between Elliott Kline and August Invictus         EK00004647               EK00004648
PX-1263    SMS - Text message from August Invictus to Elliott Kline                          EK00004651               EK00004651
PX-1264    SMS - Text message conversation between Elliott Kline, Jason Kessler, and Erica   EK00004708               EK00004709
PX-1265    SMS - Text message from Elliott Kline to Jason Kessler and Erica                  EK00004724               EK00004724
PX-1266    SMS - Text message from Erica to Jason Kessler and "Coach"                        EK00004731               EK00004731
PX-1267    SMS - Text message from "Coach" to Jason Kessler and Erica                        EK00004737               EK00004737
PX-1268    SMS - Text message from Elliott Kline to Balabon                                  EK00004838               EK00004838
PX-1269    SMS - Text message from Mathias to Elliott Kline                                  EK00004975               EK00004975
PX-1270    SMS - Text message from Elliott Kline to Nathan Damigo                            EK00005141               EK00005142
PX-1271    SMS - Text message between Coach and Damigo                                       EK00005165               EK00005165
PX-1272    SMS - Text message from Elliott Kline to Nathan Damigo                            EK00005232               EK00005232
PX-1273    SMS - Text message conversation between Elliott Kline and Nathan Damigo           EK00005283               EK00005283
PX-1274    SMS - Text message from Nathan Damigo to Elliott Kline                            EK00005285               EK00005285
PX-1275    SMS - Text message between Nathan Damigo and Elliott Kline                        EK00005322               EK00005322
PX-1276    SMS - Text message from Nathan Damigo                                             EK00005330               EK00005330
PX-1277    SMS - Text message from Nathan Damigo                                             EK00005331               EK00005331
PX-1278    SMS - Text message from Nathan Damigo to "Coach"                                  EK00005341               EK00005342
PX-1279    SMS - Text message from Nathan Damigo to "Coach"                                  EK00005616               EK00005616
PX-1280    SMS - Text message from "Coach" to Nathan Damigo                                  EK00005680               EK00005680
PX-1281    SMS - Text message conversation between "Coach" and Nathan Damigo                 EK00005746               EK00005751
PX-1282    SMS - Text message conversation between "Coach" and Nathan Damigo                 EK00005763               EK00005768
PX-1283    SMS - Text message from Elliott Kline                                             EK00005778               EK00005778
PX-1284    SMS - Text message from Elliott Kline                                             EK00006036               EK00006036
PX-1285    SMS - Text message from Elliott Kline to Richard Spencer                          EK00006529               EK00006529
PX-1286    SMS - Text message from Elliott Kline to Richard Spencer                          EK00006531               EK00006531
PX-1287    SMS - Text message from Richard Spencer to Elliott Kline                          EK00006532               EK00006532
PX-1288    SMS - Text message from Elliott Kline to Richard Spencer                          EK00006584               EK00006584
PX-1289    SMS - Text message from Elliott Kline to Richard Spencer                          EK00006617               EK00006617
PX-1290    SMS - Text message conversation between Richard Spencer and "Coach"               EK00006993               EK00006999
PX-1291    SMS - Text message from Richard Spencer to "Coach"                                EK00007004               EK00007004
PX-1292    SMS - Text message from Richard Spencer to "Coach"                                EK00007008               EK00007008
PX-1293    TWITTER - Screenshot of Jason Kessler quote retweet                               EK00007011               EK00007011
PX-1294    SMS - Text message from "Coach" to Richard Spencer                                EK00007022               EK00007022
PX-1295    SMS - Text message from "Coach" to Richard Spencer                                EK00007033               EK00007033
PX-1296    SMS - Text message from "Coach" to Richard Spencer                                EK00007042               EK00007042
PX-1297    SMS - Text message from Richard Spencer to "Coach"                                EK00007258               EK00007258
PX-1298    SMS - Text message from Elliott Kline                                             EK00009163               EK00009163
PX-1299    SMS - Text message from Erica to Elliott Kline                                    EK00009502               EK00009502
PX-1300    SMS - Text message from Coach to Jason Kessler                                    EK00009654               EK00009654
PX-1301    SMS - Text message from Elliott Kline to Jason Kessler                            EK00009660               EK00009660
PX-1302    SMS - Text message from "Coach" to Jason Kessler                                  EK00009661               EK00009661
PX-1303    SMS - Text message from Jason Kessler to Elliott Kline                            EK00009692               EK00009692
PX-1304    SMS - Text message conversation between "Coach" and Jason Kessler                 EK00009712               EK00009714
PX-1305    SMS - Text message from Jason Kessler to Elliott Kline                            EK00009720               EK00009720
PX-1306    SMS - Text message conversation between "Coach" and Jason Kessler                 EK00009832               EK00009834
PX-1307    SMS - Text message from Elliott Kline to Jason Kessler                            EK00009854               EK00009854
PX-1308    SMS - Text message from Jason Kessler to "Coach"                                  EK00009861               EK00009861
PX-1309    SMS - Text message conversation between "Coach" and Jason Kessler                 EK00009866               EK00009867
PX-1310    SMS - Text message from "Coach" to Jason Kessler                                  EK00010045               EK00010045
PX-1311    SMS - Text message from "Coach" to Jason Kessler                                  EK00010134               EK00010134
PX-1312    SMS - Text message from "Coach" to Jason Kessler                                  EK00010219               EK00010219
PX-1313    SMS - Text message conversation between Jason Kessler and "Coach"                 EK00010238               EK00010241
PX-1314    SMS - Text message from "Coach" to Jason Kessler                                  EK00010246               EK00010246
PX-1315    SMS - Text message from Jason Kessler to "Coach"                                  EK00010259               EK00010259
PX-1316    SMS - Text message from "Coach" to Jason Kessler                                  EK00010263               EK00010263
PX-1317    SMS - Text message from "Coach" to Jason Kessler                                  EK00010273               EK00010273
PX-1318    SMS - Text message from "Coach" to Jason Kessler                                  EK00010317               EK00010317
PX-1319    SMS - Text message from "Coach" to Jason Kessler                                  EK00010325               EK00010325
PX-1320    SMS - Text message from "Coach" to Jason Kessler                                  EK00010334               EK00010334
PX-1321    SMS - Text message from Elliott Kline                                             EK00010631               EK00010631
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 Ex. No.                                           Description                                             Beginning Bates            End Bates
PX-1322 SMS - Text message conversation between "Coach" and Tom K.                                  EK00010770               EK00010771
PX-1323 SMS - Text message from Elliott Kline to Jason Kessler                                      EK00011009               EK00011009
PX-1324 SMS - Text message from "Coach"                                                             EK00011180               EK00011180
PX-1325 SMS - Text message from Elliott Kline to McGinnes                                           EK00011362               EK00011362
PX-1326 SMS - Text message from Coach to Rob S.                                                     EK00011588               EK00011588
PX-1327 SMS - Text message from Elliott Kline                                                       EK00013007               EK00013007
PX-1328 SMS - Text message from Chris Cantwell to Elliott Kline                                     EK00013304               EK00013304
PX-1329 SMS - Text message from Chris Cantwell to Elliott Kline                                     EK00013963               EK00013963
PX-1330 SMS - Text message from Matt Heimbach to Elliott Kline                                      EK00014221               EK00014221
PX-1331 SMS - Text message from Matt Heimbach to Elliott Kline                                      EK00014263               EK00014263
PX-1332 SMS - Text message from Matt Heimbach to Elliott Kline                                      EK00014271               EK00014271
PX-1333 SMS - Text message from Jason Kessler to Elliott Kline                                      EK00014323               EK00014323
PX-1334 SMS - Text message Elliott Kline                                                            EK00014485               EK00014485
PX-1335 EMAIL - Email from Identity Evropa to undisclosed-recipients and bcc'ing deplorabletruth    EK00018581               EK00018581
PX-1336 DOC - Document regarding security orders for Unite the Right                                EK00018968               EK00018981
PX-1337 DOC - Document regarding security orders for Unite the Right                                EK00018984               EK00018994
PX-1338 DOC - Document regarding operational orders for Unite the Right                             EK00019001               EK00019010
PX-1339 DOC - Document regarding nondisclosure agreement                                            EK00019582               EK00019589
PX-1340 EMAIL - Email from Eli Mosley to Tim P.                                                     EK00019694               EK00019695
PX-1341 EMAIL - Email from Robert C. to Elliott Kline                                               EK00019775               EK00019784
PX-1342 DOC - Document regarding rally in Auburn                                                    EK00020187               EK00020191
PX-1343 DOC - Document regarding Robert E. Lee statute                                              EK00021006               EK00021007
PX-1344 EMAIL - Email from Deplorable Truth to Evan M.                                              EK00021522               EK00021523
PX-1345 DOC - Document regarding general orders for Unite the Right                                 EK00021867               EK00021875
PX-1346 TWITTER - Tweet by Elliott Kline                                                            EK00024359               EK00024359
PX-1347 DOC - Document regarding initial operational order for Unite the Right                      EK00024796               EK00024803
PX-1348 EMAIL - Email from Identity Evropa to Elliott Kline                                         EK00070628               EK00070629
PX-1349 PHOTO - Photo of Red Pump video (Fed 39)                                                    FENTON00005330           FENTON00005330
PX-1350 PHOTO - Photo of Red Pump video (Fed 39)                                                    FENTON00005845           FENTON00005845
PX-1351 PHOTO - Photo of Red Pump video (Fed 39)                                                    FENTON00005939           FENTON00005939
PX-1352 PHOTO - Photo of Red Pump video (Fed 39)                                                    FENTON00006109           FENTON00006109
PX-1353 PHOTO - Photo of police helicopter video (Fed 37)                                           FENTON00011015           FENTON00011015
PX-1354 PHOTO - Photo of police helicopter video (Fed 37)                                           FENTON00011060           FENTON00011060
PX-1355 PHOTO - Photo of police helicopter video (Fed 37)                                           FENTON00011763           FENTON00011763
PX-1356 PHOTO - Photo of Challenger (Fed 41)                                                        FENTON00013428           FENTON00013428
PX-1357 PHOTO - Photo of James Fields' driving into the crowd (Fed 41)                              FENTON00013731           FENTON00013731
PX-1358 PHOTO - Photo of Challenger (Fed 41)                                                        FENTON00013778           FENTON00013778
PX-1359 PHOTO - Photo of James Fields' driving into the crowd (Fed 41)                              FENTON00013843           FENTON00013843
PX-1360 PHOTO - Photo of marchers along 2nd Street (Fed 40)                                         FENTON00016495           FENTON00016495
PX-1361 PHOTO - Photo of southbound intersection of crime scene                                     FENTON00017320           FENTON00017320
PX-1362 PHOTO - Photo of James Fields's Challenger of tint on driver's side window                  FENTON00017447           FENTON00017447
PX-1363 PHOTO - Photo of northbound intersection of crime scene                                     FENTON00017513           FENTON00017513
PX-1364 PHOTO - Photo of Southbound intersection of crime scene                                     FENTON00017548           FENTON00017548
PX-1365 PHOTO - Photo of James Fields' car after car attack                                         FENTON00017615           FENTON00017615
PX-1366 PHOTO - Photo of northbound intersection of crime scene                                     FENTON00017723           FENTON00017723
PX-1367 PHOTO - Photo of James Fields' car after car attack                                         FENTON00017734           FENTON00017734
PX-1368 VID - Video reconstruction of the car attack                                                FENTON00017870           FENTON00017870
PX-1369 VID - Video reconstruction of the car attack                                                FENTON00017881           FENTON00017881
PX-1370 VID - Video reconstruction of the car attack                                                FENTON00017882           FENTON00017882
PX-1371 VID - Video reconstruction of the car attack                                                FENTON00017902           FENTON00017902
PX-1372 VID - Video reconstruction of the car attack                                                FENTON00017904           FENTON00017904
PX-1373 VID - Video reconstruction of the car attack                                                FENTON00017905           FENTON00017905
PX-1374 VID - Video reconstruction of the car attack                                                FENTON00017937           FENTON00017937
PX-1375 PR - Google - Phone Records for Elliott Kline                                               GOOGLE00000001           GOOGLE00000002
        PR - GOOGLE - Phone Records for Christopher Cantwell (Certification & Google Voice          GOOGLE00000003           GOOGLE00000004
PX-1376 Records)
        PR - GOOGLE - Phone Records for Matthew Parrott (Certification & Google Voice Records)      GOOGLE00000005           GOOGLE00000006
PX-1377
PX-1378 AUD - Audio recording of Southern Nationalist Radio Podcast, Episode 63                     HIM_001_1_00000003       HIM_001_1_00000003
        AUD - Audio recording of Southern Nationalist Radio Podcast, Episode 48 with Michael Hill   HIM_001_1_00000034       HIM_001_1_00000034
PX-1379
PX-1380 TWITTER - Tweet by Identity Evropa                                                          IE00000770               IE00000770
PX-1381 TWITTER - Tweet by Identity Evropa                                                          IE00000808               IE00000808
PX-1382 FACEBOOK - Post by Jason Kessler                                                            JAS_002_1_00002979
PX-1383 PHOTO - Photo of Hitler                                                                     JAS_002_1_00005130
PX-1384 VIDEO - Video of Jason Kessler                                                              JAS_002_1_00010775
PX-1385 VIDEO - Video of Jason Kessler                                                              JAS_002_1_00010796
PX-1386 SMS - Text message from Jason Kessler to Davy C.                                            JK00026615               JK00026616
PX-1387 SMS - Text message from Nathan Damigo to Jason Kessler                                      JK00026799               JK00026799
PX-1388 SMS - Text Message from Jason Kessler to Nathan Damigo                                      JK00026808               JK00026808
PX-1389 SMS - Text message from Jason Kessler to Richard Spencer                                    JK00027294               JK00027294
PX-1390 SMS - Text message from Jason Kessler to Richard Spencer                                    JK00027314               JK00027314
PX-1391 SMS - Text message from Richard Spencer to Elliott Kline                                    JK00027326               JK00027326
PX-1392 SMS - Text message from Jason Kessler to Richard Spencer                                    JK00027398               JK00027398
PX-1393 SMS - Text message from Jason Kessler to Richard Spencer                                    JK00027419               JK00027419
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 Ex. No.                                           Description                                                     Beginning Bates            End Bates
PX-1394    SMS - Text message conversation between Baked Alaska and Jason Kessler                          JK00027707                JK00027707
PX-1395    SMS - Text message from Jason Kessler to Baked Alaska                                           JK00027721                JK00027721
PX-1396    SMS - Text message from Jason Kessler to August Invictus                                        JK00028420                JK00028421
PX-1397    SMS - Text message from Jason Kessler to Elliott Kline                                          JK00030136                JK00030136
PX-1398    SMS - Text message to Elliott Kline                                                             JK00030159                JK00030163
PX-1399    SMS - Text message from Jason Kessler to Elliott Kline                                          JK00030207                JK00030208
PX-1400    SMS - Text message from Jason Kessler to Elliott Kline                                          JK00030209                JK00030210
PX-1401    SMS - Text message from Jason Kessler to Elliott Kline                                          JK00030593                JK00030593
PX-1402    DOC - Document regarding white genocide                                                         JK00053125                JK00053129
PX-1403    EMAIL - Email from Burt to Jason Kessler                                                        JK00059738                JK00059738
PX-1404    EMAIL - Email from Jason Kessler to himself                                                     JK00064301                JK00064302
PX-1405    EMAIL - Email from NSM to Jason Kessler                                                         JK00064894                JK00064895
           AUD - Audio recording of conversation beween Jason Kessler and Chris Cantwell about August      JK00067288                JK00067288
PX-1406    11, 2017
PX-1407    PRESS RELEASE - Press release regarding marches on Charlottesville, VA                          JK00072011                JK00072012
PX-1408    EMAIL - Email from Dennis D. to Jason H.                                                        JK00072017                JK00072018
PX-1409    AUD - Audio recording of Robert Baker speech                                                    JK00077263                JK00077263
PX-1410    EMAIL - Email from Jason Kessler to Jeff Schoep                                                 JK00084126                JK00084129
PX-1411    EMAIL - Email from Jason Kessler to Tony H.                                                     JK00096649                JK00096649
PX-1412    SMS - Text message between Jason Kessler and Augustus Invictus                                  JK00102914                JK00102939
PX-1413    SMS - Text message conversation between Jason Kessler and Baked Alaska                          JK00102944                JK00102954
           SMS - Text Message conversation between individuals including Jason Kessler and Elliott Kline   JK00103324                JK00103324
PX-1414
PX-1415    SMS - Text message conversation between Jason Kessler, "Erica," and Elliott Kline               JK00103342                JK00103349
PX-1416    SMS - Text message conversation between Matt Heimbach and Jason Kessler                         JK00103534                JK00103546
PX-1417    SMS - Text message conversation between Jason Kessler and Michael Hill                          JK00103547                JK00103547
PX-1418    DOC - Document regarding schedule for Unite the Right                                           JK00106550                JK00106550
PX-1419    DISC - Discord post                                                                             JK00112807                JK00112807
PX-1420    DISC - Unicorn Riot Discord Leaks                                                               JK00113563                JK00113761
PX-1421    DOC - Document regarding operational order for Unite the Right                                  JK00113770                JK00113779
PX-1422    DOC – Document regarding speech for Charlottesville                                             JK00115181                JK00115185
PX-1423    SMS - Text message conversation between Jason Kessler and Chris Cantwell                        JK00121377                JK00121378
PX-1424    SMS - Text message conversation between Jeff Schoep and Jason Kessler                           JK00121736                JK00121736
PX-1425    SMS – Text messages between Matthew Heimbach and Jason Kessler                                  JK00121798                JK00121807
PX-1426    SMS - Text messages between Jason Kessler and T. H.                                             JK00121935                JK00121941
PX-1427    DOC - Affidavit of Angela T.                                                                    JK00122085                JK00122089
PX-1428    DOC - Document regarding initial operational order for Unite the Right                          JK00396590                JK00396596
PX-1429    FB – Facebook conversation with Nathan Damigo, Augustus Invictus and 3 others                   JK00397727                JK00397728
PX-1430    FB – Facebook conversation with Hunter S. and 11 others                                         JK00397729                JK00397871
PX-1431    FB – Facebook conversation including Jason Kessler                                              JK00398901                JK00398923
PX-1432    FB – Facebook conversation including Jason Kessler                                              JK00398954                JK00398970
PX-1433    FB – Facebook conversation including Jason Kessler                                              JK00398995                JK00399487
PX-1434    FB – Facebook conversation including Jason Kessler                                              JK00400437                JK00400620
PX-1435    FB - Facebook conversation between Matt Parrott and Ambien Falcon                               JK00401140                JK00401143
PX-1436    FB - Facebook conversation between Ambien Falcon and Matthew-John Heimbach                      JK00401264                JK00401278
PX-1437    FB - Facebook conversation between Ambien Falcon and Colton M.                                  JK00401619                JK00401632
PX-1438    FB - Facebook conversation between Ambien Falcon and Sacco V.                                   JK00401639                JK00401643
PX-1439    FB - Facebook conversation between Ambien Falcon and Erika                                      JK00402454                JK00402454
PX-1440    FB - Facebook conversation between Ambien Falcon and Denny D.                                   JK00402666                JK00402686
PX-1441    FB - Facebook conversation between Jason Kessler and James M.                                   JK00402752                JK00402753
PX-1442    FB - Facebook conversation between Ambien Falcon and Michael Hill                               JK00403531                JK00403531
PX-1443    FB – Facebook conversation with Vasillios P.                                                    JK00403614                JK00403614
PX-1444    FB - Facebook conversation between Ambien Falcon and Derrick D.                                 JK00403988                JK00404041
PX-1445    PHOTO - Photo of Michael Tubbs                                                                  JK00413451                JK00413451
PX-1446    PHOTO - Photo of Jason Kessler                                                                  JK00414325                JK00414325
PX-1447    PHOTO - Screenshot of Comment by Matthew Heimbach on Daily Stormer                              JK00418645                JK00418645
PX-1448    TWITTER – Tweets by Jason Kessler                                                               JK00419079                JK00419079
PX-1449    TWITTER – Tweets by Jason Kessler                                                               JK00420433                JK00420433
           SMS - Text message conversation including Jason Kessler, Elliott Kline, Richard Spencer,        JK00437186                JK00437187
PX-1450    Michael Hill, and Augustus Invictus
PX-1451    SMS - Text message from Jason Kessler to Pat D.                                                 JK00437206                JK00437206
PX-1452    SMS - Text message conversation between Jason Kessler and Robert "Azzmador" Ray                 JK00437246                JK00437246
PX-1453    SMS – Text message from Jason Kessler to Chris Cantwell                                         JK00437309                JK00437309
PX-1454    SMS – Text messages between Elliott Kline and Jason Kessler                                     JK00449118                JK00449211
PX-1455    SMS - Conversation between Jason Kessler and Richard Spencer:                                   JK00449275                JK00449290
PX-1456    FB - Facebook conversation between Jason Kessler and Karl K.                                    JK00449339                JK00449532
PX-1457    TWITTER – Tweets by Jason Kessler                                                               JK00449926                JK00449926
PX-1458    SMS - Text Messages between Jason Kessler and Elliott Kline                                     JK00450844                JK00450916
PX-1459    FB - "Ambien Falcon" timeline                                                                   JK00451093                JK00451233
           FB - Facebook conversation between Ambien Falcon and deleted accounts by Richard Spencer        JK00451236                JK00451306
PX-1460    and others
PX-1461    FB - Facebook conversation between Ambien Falcon and others                                     JK00451310                JK00451310
PX-1462    FB - Facebook conversation between Ambien Falcon and Brad G.                                    JK00451738                JK00451754
PX-1463    FB - Facebook post by Tim R.                                                                    JK00462023                JK00462023
PX-1464    FB - Facebook conversation between Jason Kessler and JC H.                                      JK00649067                JK00649070
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 Ex. No.                                             Description                                           Beginning Bates              End Bates
PX-1465    FB - Facebook conversation between Jason Kessler and Michael Hill                      JK00650839                 JK00650839
PX-1466    DOC - National Socialist Movement document regarding Pikeville                         JS00000347                 JS00000348
PX-1467    DOC - National Socialist Movement after action report                                  JS00000350                 JS00000351
PX-1468    DOC - National Social Movement after action report for Unite the Right                 JS00000352                 JS00000354
PX-1469    DOC - National Social Movement after action report                                     JS00000358                 JS00000359
PX-1470    DOC - National Socialist Movement press release                                        JS00000365                 JS00000366
PX-1471    DOC - National Socialist Movement press release                                        JS00000368                 JS00000369
PX-1472    DOC - National Socialist Movement regarding joining NSM                                JS00000370                 JS00000371
PX-1473    DOC - National Socialist Movement Membership Application                               JS00000372                 JS00000372
PX-1474    DOC - National Socialist Movement document regarding new standards                     JS00000374                 JS00000376
PX-1475    DOC - NSM Magazine Winter/Spring 2012                                                  JS00000601                 JS00000633
PX-1476    DOC - NSM Document regarding principles                                                JS00000803                 JS00000809
PX-1477    DOC - Document explaining national socialism                                           JS00000819                 JS00000829
PX-1478    DOC - National Socialist Movement after action report                                  JS00001002                 JS00001004
PX-1479    DOC - National Socialist Movement announcement                                         JS00001144                 JS00001144
PX-1480    DOC - Document regarding NSM Commander's blog                                          JS00002717                 JS00002718
PX-1481    DOC - National Socialist Movement announcement                                         JS00004596                 JS00004597
PX-1482    DOC - Document regarding rally in Tennessee                                            JS00004713                 JS00004714
PX-1483    VK - VK conversation between Jeff Schoep to Ike B.                                     JS00007637                 JS00007637
PX-1484    VK - VK conversation between Jeff Schoep and Richard                                   JS00007638                 JS00007640
PX-1485    VK - VK conversation between Jeff Schoep and James C.                                  JS00007642                 JS00007642
PX-1486    VK - VK message conversation between the Irish Bostonian and Jeff Schoep               JS00007643                 JS00007643
PX-1487    VK - VK message conversation between Chad B. and [Jeff Schoep]                         JS00007645                 JS00007647
PX-1488    VK - VK message conversation between Chad R. and Jeff Schoep                           JS00007648                 JS00007649
PX-1489    VK - VK Direct Message between Gerin A. and Jeff Schoep                                JS00007650                 JS00007650
PX-1490    VK - VK post by Jeff Schoep                                                            JS00007656                 JS00007656
PX-1491    VK - VK post by Jeff Schoep                                                            JS00007659                 JS00007659
PX-1492    VK - VK posts by Jeff Schoep                                                           JS00007666                 JS00007680
PX-1493    SMS - Text message conversation between Melissa and Jeff Schoep                        JS00010407                 JS00010451
PX-1494    EMAIL – Email from VK admin@notify.vk.com to Brad G                                    LOS00053882                LOS00053882
PX-1495    EMAIL - Email from Hunter W. to Robert Z.                                              LOS00065122                LOS00065123
PX-1496    EMAIL - Email from Andrew A. to Hunter W.                                              LOS00066780                LOS00066791
PX-1497    DOC - Transcript of speech                                                             LOS00569941                LOS00569963
PX-1498    EMAIL - Email from Michael Hill to League of the South                                 LOS00798046                LOS00798046
PX-1499    EMAIL - Email from Michael Hill to League of the South                                 LOS00801134                LOS00801134
PX-1500    EMAIL - Email from Michael Hill to League of the South                                 LOS00801530                LOS00801530
PX-1501    SMS - James Fields to his Mother                                                       Lunsford00012914           Lunsford00012991
PX-1502    VID - Video recording of events after the car attack                                   Lunsford00021320           Lunsford00021320
PX-1503    VID - Thomas P. video recording                                                        Lunsford00056683           Lunsford00056683
PX-1504    VID - Faith G. video recording                                                         Lunsford00056822           Lunsford00056822
PX-1505    VID - Video recording of Fields car attack                                             Lunsford00056859           Lunsford00056859
PX-1506    MEDICAL - Receipt for Marcus Martin from Roberts Home Medical, Inc.                    MARTIN00000017-C           MARTIN00000019-C
PX-1507    MEDICAL - Health record for Marcus Martin from UVA Health                              MARTIN00000020-C           MARTIN00000023-C
PX-1508    MEDICAL - Billing record for Marcus Martin from UVA Imaging                            MARTIN00000024-C           MARTIN00000024-C
PX-1509    MEDICAL - Billing record from Roberts Home Medical, Inc.                               MARTIN00000025-C           MARTIN00000025-C
PX-1510    MEDICAL - Health record for Marcus Martin from UVA Health                              MARTIN00000026-C           MARTIN00000035-C
PX-1511    SMS - Text Message from Marcus Martin to Ma                                            MARTIN00000037-C           MARTIN00000037-C
PX-1512    SMS - Text Message from Marcus Martin to Marissa Blair                                 MARTIN00000072-C           MARTIN00000072-C
PX-1513    MEDICAL - Health record for Marcus Martin from various facilities                      MARTIN00000097-C           MARTIN00000501-C
PX-1514    SMS - Text Message from Marcus Martin to Marissa Blair                                 MARTIN00000506-C           MARTIN00000506-C
PX-1515    DOC - Marcus Martin Employment History                                                 MARTIN00000509-C           MARTIN00000509-C
PX-1516    MEDICAL - Marcus Martin Statement of Certification for UHV Health                      MARTIN00000510-C           MARTIN00000510-C
PX-1517    FINANCIAL - Paystub for Marcus Martin from J.W. Townsend                               MARTIN00000514-C           MARTIN00000519-C
PX-1518    MEDICAL - Billing record for Marcus Marting from Roberts Home Medical, Inc.            MARTIN00000520-C           MARTIN00000522-C
PX-1519    MEDICAL - Billing record for Marcus Martin from Roberts Home Medical, Inc.             MARTIN00000523-C           MARTIN00000523-C
PX-1520    FINANCIAL - Form 1040, U.S. Individual Tax Return for 2017 for Marcus Martin           MARTIN00000524-C           MARTIN00000527-C
           FINANCIAL - Monetary Monetary Determination re Loss Wages for 2019 for Marcus Martin   MARTIN00000535-C           MARTIN00000535-C
PX-1521
PX-1522    FINANCIAL - Form 1040, U.S. Individual Tax Return for 2018 for Marcus Martin           MARTIN00000537-C           MARTIN00000537-C
PX-1523    MEDICAL - Billing record for Marcus Martin from UVA Health                             MARTIN00000549-C           MARTIN00000549-C
PX-1524    MEDICAL - Billing record for Marcus Martin from UVA Health                             MARTIN00000550-C           MARTIN00000567-C
PX-1525    MEDICAL - Health record for Marcus Martin - UVA Health                                 MARTIN00000568-C           MARTIN00000635-C
PX-1526    MEDICAL - Billing record for Marcus Martin from OptimaHealth                           MARTIN00000636-C           MARTIN00000651-C
PX-1527    MEDICAL - Health record for Marcus Martin from Counseling Alliance of Virginia         MARTIN00000652-C           MARTIN00000658-C
PX-1528    PHOTO - Photo of Marcus Martin's injuries                                              MARTIN00000990-C           MARTIN00000990-C
PX-1529    MEDICAL - Marcus Martin Health Record from UVA Health                                  MARTIN00001523             MARTIN00001574
PX-1530    MEDICAL - Marcus Martin Health Record from UVA Health                                  MARTIN00001575             MARTIN00001623
PX-1531    MEDICAL - Marcus Martin Health Record from UVA Health                                  MARTIN00001624             MARTIN00001624
PX-1532    MEDICAL - Marcus Martin Health Record from UVA Health                                  MARTIN00001625             MARTIN00001625
PX-1533    MEDICAL - Marcus Martin Billing Detail from UVA Health                                 MARTIN00001626             MARTIN00001651
PX-1534    EMAIL - Email to Mike Tubbs, Pat H., Paul L., and Gordie L.                            MH00000016                 MH00000016
PX-1535    EMAIL - Email from Jason Kessler to Jason Hill                                         MH00000135                 MH00000142
PX-1536    EMAIL - Email from Commander Schoep to NSM World                                       MH00003377                 MH00003377
PX-1537    EMAIL - Email from Michael Hill                                                        MH00003422                 MH00003422
PX-1538    SMS - Text message from Jason Kessler to Michael Hill                                  MH00007396                 MH00007396
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 Ex. No.                                            Description                                          Beginning Bates            End Bates
PX-1539    SMS - Text message from Michael Hill to Mike Tubbs                                     MH00007408               MH00007408
PX-1540    SMS - Text message from Michael Hill to Mike Tubbs                                     MH00007410               MH00007410
PX-1541    EMAIL - Email regarding updated resources list                                         MH00013868               MH00013868
PX-1542    EMAIL - Email regarding security updates                                               MH00014494               MH00014516
PX-1543    EMAIL – Email from KyLS_Man to LSPres                                                  MH00014517               MH00014519
PX-1544    EMAIL – Email from KyLS_Man to LSPres                                                  MH00014517               MH00014519
PX-1545    EMAIL – Email from KyLS_Man to LSPres                                                  MH00014520               MH000014522
PX-1546    EMAIL - Email from Mark T. to League Security & Intel Chief                            MH00014542               MH00014544
PX-1547    EMAIL - Email from LSCoc to LSPres                                                     MH00014556               MH00014557
PX-1548    EMAIL - Email from LSPres to Mike Tubbs                                                MH00014869               MH00014869
PX-1549    EMAIL - Email from LSPres to KyLS_Man                                                  MH00014984               MH00014984
PX-1550    EMAIL - Email from LSPres to Gordon L.                                                 MH00015437               MH00015437
PX-1551    EMAIL - Email from LSPres to Mike Tubbs                                                MH00015493               MH00015493
PX-1552    EMAIL - Email from LSPres to KyLS_Man                                                  MH00015502               MH00015506
PX-1553    EMAIL - Email from LSPres to LSCoC                                                     MH00015529               MH00015530
PX-1554    EMAIL - Email from LSPres to KyLS_Man                                                  MH00015534               MH00015534
PX-1555    EMAIL - Email from LSPres to Mike Tubbs, Pat H., and others                            MH00015558               MH00015558
PX-1556    EMAIL - Email from Michael Hill to LSBOD and LSStaff                                   MH00022155               MH00022155
PX-1557    EMAIL - Email from Michael Hill to Anthony C.                                          MH00026385               MH00026385
PX-1558    EMAIL - Email from Michael Hill                                                        MH00026423               MH00026423
PX-1559    EMAIL - Email from Michael Hill to Jason B.                                            MH00026678               MH00026679
PX-1560    EMAIL - Email from Michael Hill to JCLSbiz, LSCoC, and kyls_man                        MH00026903               MH00026905
PX-1561    EMAIL - Email from Michael Hill                                                        MH00026984               MH00026984
PX-1562    EMAIL - Email from Michael Hill to webmaster                                           MH00027089               MH00027089
PX-1563    EMAIL - Email from Michael Hill to commander                                           MH00027375               MH00027377
PX-1564    EMAIL -Email from Michael Hill                                                         MH00027697               MH00027698
PX-1565    EMAIL - Email from Michael Hill                                                        MH00027967               MH00027967
PX-1566    EMAIL - Email from Michael Hill                                                        MH00028288               MH00028288
PX-1567    EMAIL - Email from Michael Hill to LSBOD and LSStaff                                   MH00028698               MH00028698
PX-1568    EMAIL - Email from Michael Hill                                                        MH00030593               MH00030596
PX-1569    EMAIL - Email from VK to Matt Parrott                                                  MP00002280               MP00002280
PX-1570    EMAIL - Email from Matthew Heimbach to Matthew Parrott                                 MP00002370               MP00002370
           DOC - FEC Form 1 - Statement of Organization "Traditionalist Worker Party National
PX-1571    Committee"                                                                             MP00004862               MP00004865
PX-1572    EMAIL - Email from Shane D. to Matt Parrott                                            MP00014367               MP00014367
PX-1573    EMAIL - Email from Matthew Heimbach to Matthew Parrott                                 MP00015215               MP00015215
PX-1574    EMAIL - Email to Matt Parrott                                                          MP00015277               MP00015277
PX-1575    EMAIL - Email to Matt Parrott                                                          MP00015322               MP00015322
PX-1576    EMAIL - Email from Nationlist Front to parrott.matt@gmail.com regarding "Test"         MP00015775               MP00015775
PX-1577    EMAIL - Email from Disqus to Matt Parrott                                              MP00015779               MP00015779
PX-1578    EMAIL - Email from Nationalist Front to Matt Parrott                                   MP00016250               MP00016250
PX-1579    EMAIL - Email to Matt Parrott                                                          MP00016268               MP00016268
PX-1580    EMAIL - Email from Matt Parrott to Jeff Schoep                                         MP00020788               MP00020789
PX-1581    EMAIL - Email from Matt Parrott                                                        MP00021375               MP00021375
PX-1582    EMAIL - Email from Matt Parrott to Tony H.                                             MP00021386               MP00021386
PX-1583    EMAIL - Email from Hunter W. to Matt Parrott                                           MP00021411               MP00021412
PX-1584    EMAIL - Email from TradWorker to Matthew Parrott                                       MP00046670               MP00046670
PX-1585    EMAIL - Email from service@paypal.com to Matt Parrott                                  MP00047187               MP00047187
PX-1586    EMAIL - Email from Cesar A. to Matt Parrott                                            MP00047209               MP00047209
PX-1587    EMAIL - Email from Nidhi P. to Matthew Heimbach                                        MP00061105               MP00061106
PX-1588    DOC - Document written by Matthew Heimbach regarding Unite the Right                   MP00061570               MP00061570
PX-1589    EMAIL – Email from Damon S. to Matt Parrot                                             MP00061588               MP00061589
PX-1590    EMAIL - Email from Twitter to Nationalist Front                                        MP00079015               MP00079015
PX-1591    DOC - Nationalist Front flyer regarding Unite the Right                                MP00080241               MP00080241
PX-1592    DOC - NSM Magazine Winter/Spring 2016                                                  MP00086296               MP00086335
PX-1593    DOC - National Socialist Movement announcement                                         MP00086409               MP00086410
PX-1594    DOC - NSM Magazine Fall/Winter 2017                                                    MP00086445               MP00086465
PX-1595    DOC - National Socialist Movement application form                                     MP00086492               MP00086492
PX-1596    DOC - NSM Magazine Spring/Summer 2018                                                  MP00086493               MP00086530
PX-1597    SMS - Mike Tubbs to Michelle T.                                                        MT00000076               MT00000076
PX-1598    VK - Messages between Michael Tubbs and Brain M.                                       MT00000218               MT00000220
PX-1599    VK - Messages between Michael Tubbs and Jessica R.                                     MT00000243               MT00000245
PX-1600    VK - VK conversation between Michael Tubbs & Charleen B.                               MT00000250               MT00000261
PX-1601    VK - Posts by Michael Tubbs                                                            MT00000314               MT00000325
PX-1602    MEDICAL - Receipt for April Muniz from Cranio Sacral Therapy                           MUNIZ00001088-C          MUNIZ00001090-C
PX-1603    EMAIL - Email from April Muniz to Aaron K.                                             MUNIZ00001091-C          MUNIZ00001092-C
PX-1604    PHOTO - Personal photo                                                                 MUNIZ00001145            MUNIZ00001145
PX-1605    PHOTO - Photo of protestors marching along the road                                    MUNIZ00001599            MUNIZ00001599
PX-1606    DOC - Security & CCTV System for April Muniz from Mechums River Security Concepts      MUNIZ00001679-C          MUNIZ00001679-C
PX-1607    DOC - Memo from Julie C., LCSW to Stephanie R.                                         MUNIZ00001691-C          MUNIZ00001691-C
PX-1608    MEDICAL - Receipt for April Muniz from Flourish Physical Therapy                       MUNIZ00001694-C          MUNIZ00001695-C
PX-1609    DOC - Mechums River Security Concepts Residential Security Agreement for April Muniz   MUNIZ00001712-C          MUNIZ00001716-C
PX-1610    EMAIL - Email from April Muniz to Julie C.                                             MUNIZ00001722-C          MUNIZ00001722-C
PX-1611    EMAIL - Email from Julie C. to April Muniz                                             MUNIZ00001758-C          MUNIZ00001758-C
PX-1612    MEDICAL - Julie C., LCSW Treatment Agreement and Informed Consent form (blank)         MUNIZ00001759-C          MUNIZ00001762-C
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 Ex. No.                                            Description                                             Beginning Bates           End Bates
PX-1613    EMAIL - Email from April Muniz to Julie C.                                                 MUNIZ00001790-C         MUNIZ00001791-C
PX-1614    DOC - Letter from Stephanie R. to Paylocity                                                MUNIZ00001821-C         MUNIZ00001822-C
PX-1615    MEDICAL - Receipt for April Muniz from Passages Physical Therapy, PLC                      MUNIZ00001828-C         MUNIZ00001828-C
PX-1616    EMAIL - Email from Julie C. to April Muniz                                                 MUNIZ00001830-C         MUNIZ00001833-C
PX-1617    EMAIL - Email from RingCentral to April Muniz                                              MUNIZ00001846-C         MUNIZ00001846-C
PX-1618    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00001847-C         MUNIZ00001848-C
PX-1619    MEDICAL - Short Term Disability Claim April Muniz from Guardian Life Insurance             MUNIZ00001862-C         MUNIZ00001863-C
PX-1620    EMAIL - Email from Tom C. to April Muniz                                                   MUNIZ00001902-C         MUNIZ00001903-C
PX-1621    EMAIL - Email from April Muniz to Shay B.                                                  MUNIZ00001913-C         MUNIZ00001914-C
           MEDICAL - National Compassion Fund Charlottesville - Mental Health Provider Verification   MUNIZ00001968-C         MUNIZ00001968-C
PX-1622    Form for April Muniz
PX-1623    EMAIL - Email from Julie C. to April Muniz                                                 MUNIZ00001977-C         MUNIZ00001977-C
PX-1624    MEDICAL - Julie C., LCSW handwritten notes and forms regarding April Muniz                 MUNIZ00001988-C         MUNIZ00001994-C
PX-1625    EMAIL - Email from April Muniz to Aaron K.                                                 MUNIZ00002031-C         MUNIZ00002031-C
PX-1626    MEDICAL - Virginia Victims Fund Mental Health Treatment Report for April Muniz             MUNIZ00002105-C         MUNIZ00002108-C
PX-1627    EMAIL - Email from April Muniz to American Airlines Refunds                                MUNIZ00002119-C         MUNIZ00002119-C
PX-1628    EMAIL - Email from April Muniz to Stephanie R. and Shay B.                                 MUNIZ00002120-C         MUNIZ00002121-C
PX-1629    EMAIL - Email from Shay B. to April Muniz                                                  MUNIZ00002134-C         MUNIZ00002135-C
PX-1630    MEDICAL - Receipt for April Muniz from Cranio Sacral Therapy                               MUNIZ00002183-C         MUNIZ00002183-C
PX-1631    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00002187-C         MUNIZ00002188-C
PX-1632    MEDICAL - Check by April Muniz to Marla P.                                                 MUNIZ00002189-C         MUNIZ00002189-C
PX-1633    MEDICAL - Check by April Muniz to Marla P.                                                 MUNIZ00002190-C         MUNIZ00002190-C
PX-1634    MEDICAL - Check by April Muniz to Marla P.                                                 MUNIZ00002191-C         MUNIZ00002191-C
PX-1635    MEDICAL - Check by April Muniz to Marla P.                                                 MUNIZ00002192-C         MUNIZ00002192-C
PX-1636    MEDICAL - Check by April Muniz to Marla P.                                                 MUNIZ00002193-C         MUNIZ00002193-C
PX-1637    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00002194-C         MUNIZ00002194-C
PX-1638    MEDICAL - April Muniz Invoice from Julie C., LCSW                                          MUNIZ00002198-C         MUNIZ00002198-C
PX-1639    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00002199-C         MUNIZ00002199-C
PX-1640    MEDICAL - Billing record for April Muniz from Marla P.                                     MUNIZ00002202-C         MUNIZ00002202-C
           MEDICAL - National Compassion Fund Charlottesville - Mental Health Provider Verification   MUNIZ00002203-C         MUNIZ00002203-C
PX-1641    Form for April Muniz
           MEDICAL - National Compassion Fund Charlottesville - Mental Health Provider Verification   MUNIZ00002204-C         MUNIZ00002204-C
PX-1642    Form for April Muniz
PX-1643    EMAIL - Email from April Muniz to Stephanie R.                                             MUNIZ00002205-C         MUNIZ00002206-C
PX-1644    MEDICAL - Receipt for April Muniz from Passages Physical Therapy, PLC                      MUNIZ00002207-C         MUNIZ00002207-C
PX-1645    DOC – Document written by April Muniz                                                      MUNIZ00002243           MUNIZ00002245
PX-1646    DOC – Document written by April Muniz                                                      MUNIZ00002243           MUNIZ00002245
PX-1647    DOC - Calendar invitation from April Muniz                                                 MUNIZ00002284-C         MUNIZ00002285-C
PX-1648    SMS - Text Messages between Shay B. and Tom                                                MUNIZ00002286-C         MUNIZ00002303-C
PX-1649    EMAIL - Email from April Muniz to Shay B.                                                  MUNIZ00002322-C         MUNIZ00002322-C
PX-1650    DOC - Document regarding response to Lyle                                                  MUNIZ00002326-C         MUNIZ00002327-C
PX-1651    EMAIL - Email from April Muniz to April Muniz                                              MUNIZ00002328-C         MUNIZ00002329-C
PX-1652    EMAIL - Email from April Muniz to Whitney M.                                               MUNIZ00002342-C         MUNIZ00002344-C
PX-1653    EMAIL - Email from April Muniz to Julie C.                                                 MUNIZ00002348-C         MUNIZ00002350-C
PX-1654    EMAIL - Email from April Muniz to Ann Marie C.                                             MUNIZ00002351-C         MUNIZ00002352-C
PX-1655    EMAIL - Email from Julie C. to April Muniz                                                 MUNIZ00002353-C         MUNIZ00002355-C
PX-1656    EMAIL - Email from April Muniz to Margreta S.                                              MUNIZ00002371-C         MUNIZ00002373-C
PX-1657    EMAIL - Email from April Muniz to Aaron K.                                                 MUNIZ00002378-C         MUNIZ00002379-C
PX-1658    EMAIL - Email from April Muniz to Pat H.                                                   MUNIZ00002428-C         MUNIZ00002428-C
PX-1659    EMAIL - Email from Rebecca M. to April Muniz                                               MUNIZ00002446-C         MUNIZ00002446-C
PX-1660    EMAIL - Email from April Muniz to Meredith P.                                              MUNIZ00002480-C         MUNIZ00002482-C
PX-1661    EMAIL - Email from Garrett T. to April Muniz                                               MUNIZ00002506-C         MUNIZ00002508-C
PX-1662    EMAIL - Email from April Muniz to Dave T.                                                  MUNIZ00002517-C         MUNIZ00002517-C
PX-1663    EMAIL - Email from April Muniz to Shay B.                                                  MUNIZ00002519-C         MUNIZ00002520-C
PX-1664    EMAIL - Email from April Muniz to Katie P.                                                 MUNIZ00002561-C         MUNIZ00002561-C
PX-1665    EMAIL - Email from April Muniz to Julie C.                                                 MUNIZ00002608-C         MUNIZ00002609-C
PX-1666    EMAIL - Email from Julie C. to April Muniz                                                 MUNIZ00002641-C         MUNIZ00002643-C
PX-1667    EMAIL - Email from April Muniz to Julie C.                                                 MUNIZ00002647-C         MUNIZ00002647-C
PX-1668    MEDICAL - Billing record for April Muniz from Mechums River Security Concepts              MUNIZ00002890-C         MUNIZ00002890-C
PX-1669    DOC - Receipt for April Muniz from Mechums River Security Concepts                         MUNIZ00002911-C         MUNIZ00002911-C
PX-1670    DOC - Receipt for April Muniz from Mechums River Security Concepts                         MUNIZ00002912-C         MUNIZ00002912-C
PX-1671    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00002914-C         MUNIZ00002916-C
PX-1672    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00002914-C         MUNIZ00002914-C
PX-1673    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00002915-C         MUNIZ00002915-C
PX-1674    MEDICAL - Billing record for April Muniz from Julie C., LCSW                               MUNIZ00002916-C         MUNIZ00002916-C
PX-1675    DOC - Document regarding meeting with Shay B.                                              MUNIZ00002924-C         MUNIZ00002924-C
PX-1676    MEDICAL - Health record for April Muniz from Passages Physical Therapy                     MUNIZ00002949-C         MUNIZ00003005-C
PX-1677    FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research Group            MUNIZ00003100-C         MUNIZ00003100-C
PX-1678    PHOTO - Photo of protestors marching along the road                                        MUNIZ00003145           MUNIZ00003145
PX-1679    FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research Group            MUNIZ00003152-C         MUNIZ00003153-C
PX-1680    FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research Group            MUNIZ00003152-C         MUNIZ00003152-C
PX-1681    FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research Group            MUNIZ00003153-C         MUNIZ00003153-C
PX-1682    DOC - Document regarding April Muniz's offer                                               MUNIZ00003154-C         MUNIZ00003155-C
PX-1683    FINANCIAL - Direct deposit voucher for April Muniz from Atlantic Research Group            MUNIZ00003158-C         MUNIZ00003158-C
PX-1684    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                           MUNIZ00003159-C         MUNIZ00003159-C
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PX-1685    FINANCIAL - Paystubs For April Muniz from Atlantic Research Group                           MUNIZ00003159-C         MUNIZ00003164-C
PX-1686    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003160-C         MUNIZ00003160-C
PX-1687    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003161-C         MUNIZ00003161-C
PX-1688    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003162-C         MUNIZ00003162-C
PX-1689    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003163-C         MUNIZ00003163-C
PX-1690    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003164-C         MUNIZ00003164-C
PX-1691    MEDICAL - Letter from Julie C., LCSW                                                        MUNIZ00003241-C         MUNIZ00003241-C
PX-1692    PHOTO - Photo of James Fields' driving into the crowd                                       MUNIZ00003247           MUNIZ00003247
PX-1693    PHOTO - Photo of James Fields' car after car attack                                         MUNIZ00003251           MUNIZ00003251
PX-1694    PHOTO - Photo of crowd before car attack                                                    MUNIZ00003252           MUNIZ00003252
PX-1695    EMAIL - Email from April Muniz to Steve M.                                                  MUNIZ00003255-C         MUNIZ00003255-C
PX-1696    MEDICAL - Health record for April Muniz from University of Virginia Health System           MUNIZ00003279-C         MUNIZ00003298-C
           FINANCIAL - TurboTax electronic filing instructions for 2018 Federal Tax Return for April   MUNIZ00003299-C         MUNIZ00003311-C
PX-1697    Muniz
           FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for Chelsea Alvarado from A1000       MUNIZ00003316-C         MUNIZ00003317-C
PX-1698    Rector/Board of Visitors
PX-1699    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003318-C         MUNIZ00003319-C
PX-1700    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003320-C         MUNIZ00003321-C
PX-1701    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003322-C         MUNIZ00003323-C
PX-1702    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003324-C         MUNIZ00003325-C
PX-1703    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003326-C         MUNIZ00003328-C
PX-1704    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003329-C         MUNIZ00003330-C
PX-1705    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003331-C         MUNIZ00003332-C
PX-1706    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003333-C         MUNIZ00003335-C
PX-1707    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003336-C         MUNIZ00003337-C
PX-1708    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003338-C         MUNIZ00003340-C
PX-1709    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003341-C         MUNIZ00003343-C
PX-1710    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003344-C         MUNIZ00003346-C
PX-1711    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003347-C         MUNIZ00003349-C
PX-1712    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003350-C         MUNIZ00003351-C
PX-1713    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003352-C         MUNIZ00003354-C
PX-1714    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003355-C         MUNIZ00003357-C
PX-1715    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003364-C         MUNIZ00003366-C
PX-1716    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003367-C         MUNIZ00003369-C
PX-1717    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003370-C         MUNIZ00003372-C
PX-1718    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003373-C         MUNIZ00003375-C
PX-1719    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003379-C         MUNIZ00003381-C
PX-1720    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003385-C         MUNIZ00003387-C
PX-1721    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003388-C         MUNIZ00003390-C
PX-1722    FINANCIAL - Paystub For April Muniz from Atlantic Research Group                            MUNIZ00003397-C         MUNIZ00003399-C
PX-1723    FINANCIAL - Paystub for April Muniz from UVA                                                MUNIZ00003424-C         MUNIZ00003425-C
PX-1724    FINANCIAL - Paystub for April Muniz from UVA                                                MUNIZ00003434-C         MUNIZ00003435-C
PX-1725    FINANCIAL - Paystub for April Muniz from UVA                                                MUNIZ00003436-C         MUNIZ00003437-C
PX-1726    FINANCIAL - Severance Agreement for April Muniz from Atlantic Research Group                MUNIZ00003438-C         MUNIZ00003441-C
PX-1727    DOC - Document regarding April Muniz's offer                                                MUNIZ00003442-C         MUNIZ00003443-C
PX-1728    FINANCIAL - Paystub for April Muniz from UVA                                                MUNIZ00003446-C         MUNIZ00003446-C
PX-1729    FINANCIAL - Paystub for April Muniz from UVA                                                MUNIZ00003447-C         MUNIZ00003447-C
           FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz from Hahn Gustafson            MUNIZ00003448-C         MUNIZ00003448-C
PX-1730    Catering
           FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April Muniz from Cha Chas         MUNIZ00003449-C         MUNIZ00003449-C
PX-1731
        FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April Muniz from La Taza             MUNIZ00003450-C         MUNIZ00003450-C
PX-1732 Coffee House
        FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz from Thomas Jefferson             MUNIZ00003451-C         MUNIZ00003451-C
PX-1733 Area Coalition for the Homeless
        FINANCIAL - Form W-2, Wage and Tax Statement for 2011 for April Muniz from Peace Corps         MUNIZ00003452-C         MUNIZ00003452-C
PX-1734
        FINANCIAL - Form W-2, Wage and Tax Statement for 2010 for April Muniz from Peace Corps         MUNIZ00003453-C         MUNIZ00003453-C
PX-1735
        FINANCIAL - Form W-2, Wage and Tax Statement for 2012 for April Muniz from Peace Corps         MUNIZ00003454-C         MUNIZ00003454-C
PX-1736
PX-1737 MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00003455-C         MUNIZ00003470-C
PX-1738 FINANCIAL - Form W-2, Wage and Tax Statement for 2013 for April Muniz                          MUNIZ00003471-C         MUNIZ00003471-C
PX-1739 FINANCIAL - Form W-2, Wage and Tax Statement for 2012 for April Muniz                          MUNIZ00003472-C         MUNIZ00003472-C
PX-1740 FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz                                   MUNIZ00003473-C         MUNIZ00003473-C
PX-1741 FINANCIAL - Form W-2, Wage and Tax Statement for April Muniz                                   MUNIZ00003474-C         MUNIZ00003474-C
PX-1742 MEDICAL - Billing record for April Muniz from Julie C., LCSW                                   MUNIZ00003475-C         MUNIZ00003480-C
        MEDICAL - Statement of Certification and Letter Requesting Medical Records for April Muniz
PX-1743 from Univeristy of Virgina Health System                                                       MUNIZ00003631-C         MUNIZ00003634-C
PX-1744 MEDICAL - Health record for April Muniz from Jefferson Obstetrics and Gynecology Ltd           MUNIZ00003635-C         MUNIZ00003700-C
PX-1745 MEDICAL - Health record for April Muniz from Julie C.                                          MUNIZ00003701 -C        MUNIZ00003763-C
PX-1746 FINANCIAL - Paystub for April Muniz from Atlantic Research Group                               MUNIZ00003767-C         MUNIZ00003767-C
PX-1747 FINANCIAL - Paystub for April Muniz from Atlantic Research Group                               MUNIZ00003768-C         MUNIZ00003768-C
PX-1748 FINANCIAL - Paystub for April Muniz from Atlantic Research Group                               MUNIZ00003770-C         MUNIZ00003770-C
PX-1749 FINANCIAL - Paystub for April Muniz from Atlantic Research Group                               MUNIZ00003771-C         MUNIZ00003771-C
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Ex. No.                                            Description                                                 Beginning Bates           End Bates
          FINANCIAL - Federal Income Tax Return for 2017 for April Muniz from Atlantic Research          MUNIZ00003772-C         MUNIZ00003773-C
PX-1750   Group
          FINANCIAL - TurboTax electronic filing instructions for 2016 Federal Tax Return for April      MUNIZ00003774-C         MUNIZ00003847-C
PX-1751   Muniz
PX-1752   DOC - Document regarding testimonial in support of SB 285                                      MUNIZ00003848-C         MUNIZ00003852-C
PX-1753   PHOTO – Photo of crowd before car attack                                                       MUNIZ00003854           MUNIZ00003854
PX-1754   PHOTO – Photo of crowd before car attack                                                       MUNIZ00003854           MUNIZ00003854
PX-1755   PHOTO - Photo of James Fields' driving into the crowd                                          MUNIZ00003860           MUNIZ00003860
PX-1756   MEDICAL - Health record for April Muniz from Passages Physical Therapy                         MUNIZ00003864-C         MUNIZ00003908-C
PX-1757   MEDICAL - Health record for April Muniz from Marla P.                                          MUNIZ00003909-C         MUNIZ00003910-C
PX-1758   MEDICAL - Health record for April Muniz from Pantops Family Medicine                           MUNIZ00003911-C         MUNIZ00003982-C
PX-1759   MEDICAL - Insurance record for for April Muniz from Anthem                                     MUNIZ00003983-C         MUNIZ00003998-C
PX-1760   MEDICAL - Insurance record for April Muniz from Anthem HealthKeepers                           MUNIZ00003999-C         MUNIZ00004006-C
PX-1761   MEDICAL - Insurance record for April Muniz from Anthem HealthKeepers                           MUNIZ00004007-C         MUNIZ00004014-C
PX-1762   MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00004015-C         MUNIZ00004140-C
PX-1763   MEDICAL - Insurance record for April Muniz from Aetna Life Insurance Company                   MUNIZ00004141-C         MUNIZ00004145-C
PX-1764   MEDICAL - Insurance record for April Miniz from Aetna Life Insurance Company                   MUNIZ00004147-C         MUNIZ00004150-C
          MEDICAL - April Muniz list of charges from Costco, Laboratory Corporation, Julie Convisser,    MUNIZ00004153-C         MUNIZ00004153-C
          Pantops Family Medicine, Live Health Online and Southern Coos Hospital for $385.00
PX-1765
PX-1766   MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00004154-C         MUNIZ00004196-C
PX-1767   MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00004197-C         MUNIZ00004239-C
PX-1768   MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00004241-C         MUNIZ00004279-C
PX-1769   MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00004280-C         MUNIZ00004318-C
PX-1770   MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00004319-C         MUNIZ00004357-C
PX-1771   MEDICAL - Insurance record for April Muniz from Anthem                                         MUNIZ00004358-C         MUNIZ00004364-C
PX-1772   EMAIL - Email from April Muniz to Julie C.                                                     MUNIZ00004365-C         MUNIZ00004365-C
          FINANCIAL - Statement of Certification April Muniz from Patricia Checks, PMHCNS-BC,            MUNIZ00004366-C         MUNIZ00004380-C
PX-1773   R.N.
PX-1774   MEDICAL - Health record for April Muniz from Pantops Family Medicine                           MUNIZ00004381-C         MUNIZ00004453-C
PX-1775   FILING - USA v. Fields, Victim Impact Statement - April Muniz                                  MUNIZ00004454           MUNIZ00004455
PX-1776   EMAIL - Email from April Muniz to Julie C.                                                     MUNIZ00004456-C         MUNIZ00004456-C
PX-1777   EMAIL - Email from April Muniz to Julie C.                                                     MUNIZ00004457-C         MUNIZ00004457-C
PX-1778   PHOTO - Photo of counter-protestors                                                            MUNIZ00005349           MUNIZ00005349
PX-1779   FB - Facebook post by April Muniz                                                              MUNIZ00005810-C         MUNIZ00005812-C
PX-1780   FB - April Muniz to Anne C.                                                                    MUNIZ00005814-C         MUNIZ00005813-C
          FINANCIAL - Corrected Form W-2, Wage and Tax Statement for 2017 for April Muniz from
PX-1781   Atlantic Research Group                                                                        MUNIZ00006442           MUNIZ00006444
PX-1782   PHOTO - Photo of crowd before car attack                                                       MUNIZ00006445           MUNIZ00006445
PX-1783   MEDICAL - Statement of Certiication for April Muniz from Passages Physical Therapy             MUNIZ00006448           MUNIZ00006448
          FINANCIAL - Form W-2, Wage and Tax Statement for 2018 for April Muniz from Atlantic
PX-1784   Research Group                                                                                 MUNIZ00006449           MUNIZ00006450
PX-1785   MEDICAL - Billing record for April Muniz from Julie C.                                         MUNIZ00006451           MUNIZ000056451
PX-1786   DOC - Document regarding April Muniz's offer                                                   MUNIZ00006452           MUNIZ00006453
PX-1787   FINANCIAL - Amended Form 1040 X for 2017 for April Muniz                                       MUNIZ00006456           MUNIZ00006466
          FINANCIAL - Form W-2, Wage and Tax Statement for 2020 for April Muniz from the Rector          MUNIZ00006468
PX-1788   and Visitor of the University of Virginia                                                                              MUNIZ00006468
PX-1789   FINANCIAL - Form 1040 for 2019 for April Muniz                                                 MUNIZ00006469           MUNIZ00006494
PX-1790   FINANCIAL - Form 1040 for 2020 for April Muniz                                                 MUNIZ00006495           MUNIZ00006521
PX-1791   FINANCIAL - Paystub for April Muniz from Allscripts                                            MUNIZ00006522           MUNIZ00006522
PX-1792   FINANCIAL - Form 1040 for 2017 for April Muniz                                                 MUNIZ00006569           MUNIZ00006591
          FINANCIAL - Form W-2, Wage and Tax Statement for 2019 for April Muniz from the Rector          MUNIZ00006592
PX-1793   and Visitor of the University of Virginia                                                                              MUNIZ00006592
PX-1794   MEDICAL - Health record for April Muniz from Julie C.                                          MUNIZ00006593           MUNIZ00006593
PX-1795   EMAIL - Email from Julie C. to April Muniz                                                     MUNIZ00006594           MUNIZ00006596
PX-1796   MEDICAL - Health record for April Muniz from Julie C.                                          MUNIZ00006597           MUNIZ00006597
          EMAIL - Email from Pat H. to Makiko Hiromi and Jessica Phillips regarding "Certifying
PX-1797   Records"                                                                                       MUNIZ00006598           MUNIZ00006598
PX-1798   MEDICAL - Health records for April Muniz from Passages Physical Therapy                        MUNIZ00006599           MUNIZ00006644
PX-1799   MEDICAL - Health and billing records for April Muniz from Passages Physical Therapy            MUNIZ00006645           MUNIZ000066701
PX-1800   MEDICAL - Statement of Certification for April Muniz from Passages Physical Therapy            MUNIZ00006702           MUNIZ00006702
PX-1801   EMAIL - Email from James K. to Matthew Heimbach                                                MWH00006169             MWH00006169
PX-1802   EMAIL - Email from KJ to Burt, Resistance, Matt Heimbach, Jeff Schoep, and Harry H.            MWH00006493             MWH00006494
          DOC - National Socialist Movement's press release on the addition of Matthew Heimbach as the
PX-1803   Director of Community Outreach                                                                 MWH00006495             MWH00006495
PX-1804   EMAIL - Email from Christopher Cantwell to Matthew Heimbach                                    MWH00006844             MWH00006844
PX-1805   EMAIL - Email from Nick T. to Matthew Heimbach                                                 MWH00011431             MWH00011431
PX-1806   EMAIL - Email from James W. to Matthew Heimbach                                                MWH00014118             MWH00014118
PX-1807   EMAIL - Email from ChOpsLS to Jeff Schoep, and Matthew Heimbach                                MWH00014635             MWH00014635
PX-1808   EMAIL - Email from G. Reese to M. Heimbach                                                     MWH00014912             MWH00014912
PX-1809   EMAIL - Email from Facebook Ads Team to Matthew Heimbach                                       MWH00015132             MWH00015132
PX-1810   EMAIL - Email from Jeff Schoep to Matthew Heimbach                                             MWH00015137             MWH00015138
PX-1811   EMAIL - Email from Facebook Ads Team to Matthew Heimbach                                       MWH00015168             MWH00015168
PX-1812   EMAIL - Email from TraditionalistWorker1488 to Matthew Heimbach                                MWH00015207             MWH00015208
PX-1813   EMAIL - Email from Cesar A. to Matthew Heimbach copying Matthew Parrott                        MWH00015341             MWH00015341
PX-1814   EMAIL - Email from Jeff Scheop to Steve R. and Matthew Heimbach                                MWH00015492             MWH00015492
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 Ex. No.                                             Description                                                     Beginning Bates            End Bates
PX-1815    EMAIL - Email from Discord to Matthew Heimbach                                                     MWH00016158              MWH00016161
PX-1816    EMAIL - Email from Brian C. to Jeff Schoep, copying Matthew Heimbach                               MWH00016495              MWH00016495
PX-1817    DOC - Document written by Matthew Heimbach                                                         MWH00018901              MWH00018914
PX-1818    EMAIL - Email from Jeff Schoep to Matthew Heimbach and Butch U.                                    MWH00020048              MWH00020048
PX-1819    DOC - Document regarding rally in Pikeville                                                        MWH00020050              MWH00020051
PX-1820    EMAIL - Email from Vegas T. to Matthew Heimbach                                                    MWH00020293              MWH00020295
PX-1821    DOC - Traditionalist Worker Party document regarding Unite the Right                               MWH00035173              MWH00035173
PX-1822    DOC - Document written by Matthew Heimbach                                                         MWH00035252              MWH00035254
PX-1823    DOC - Document regarding rally in Pikeville                                                        MWH00035261              MWH00035264
PX-1824    DOC - Document regarding national socialist vision                                                 MWH00035265              MWH00035398
PX-1825    EMAIL - Email from Matthew Heimbach to Michael Bloch                                               MWH00035583              MWH00035584
PX-1826    EMAIL - Email from Matthew Heimbach to Richard Spencer                                             MWH00036714              MWH00036714
PX-1827    DOC - Document regarding Unite the Right rally                                                     MWH00040549              MWH00040551
PX-1828    DOC - Document regarding interracial violence                                                      MWH00040996              MWH00040999
PX-1829    DOC - Letter from Matthew Heimbach to Alex R.                                                      MWH00041051              MWH00041052
PX-1830    DOC - Letter from Matthew Heimbach to Dan B.                                                       MWH00041127              MWH00041129
PX-1831    DOC - Letter from Matthew Heimbach to Dylann R.                                                    MWH00041130              MWH00041131
PX-1832    DOC - Letter from Matthew Heimbach to Jacob G.                                                     MWH00041133              MWH0041134
PX-1833    DOC - Letter from Matthew Heimbach to James Fields                                                 MWH00041135              MWH00041137
PX-1834    DOC - Document regarding The Nationalist Front                                                     MWH00041357              MWH00041357
PX-1835    DOC - Document regarding The Nationalist Front                                                     MWH00041398              MWH00041398
PX-1836    DOC - Document listing international allies of the The Nationalist Front                           MWH00041399              MWH00041399
PX-1837    DOC - Letter from Matthew Heimbach to Traditionalist Worker Party                                  MWH00041531              MWH00041532
PX-1838    DOC - Letter from Matthew Heimbach to Kashiya N.                                                   MWH00041648              MWH00041649
PX-1839    DOC - Document listing region names                                                                MWH00041650              MWH00041650
PX-1840    DOC - Document written by Matt Heimbach                                                            MWH00041954              MWH00041956
PX-1841    DOC - Document regarding TWP membership guide                                                      MWH00042026              MWH00042026
PX-1842    DOC - Document regarding rank structure of TWP                                                     MWH00042175              MWH00042175
PX-1843    DOC - Matthew Heimbach letter denouncing white nationalism                                         MWH00042261              MWH00042277
PX-1844    SMS - Text message from Nathan Damigo                                                              ND00001346               ND00001346
PX-1845    SMS - Text message from Nathan Damigo                                                              ND00003130               ND00003133
PX-1846    SMS - Text message from Nathan Damigo to Jason Kessler                                             ND00005694               ND00005694
PX-1847    SMS - Text message between Nathan Damigo and Elliott Kline                                         ND00005791               ND00005796
PX-1848    SMS - Text message between Nathan Damigo and Richard Spencer                                       ND00005858               ND00005858
PX-1849    SMS - Text message to Nathan Damigo                                                                ND00006087               ND00006087
PX-1850    SMS - Text message to Nathan Damigo                                                                ND00006089               ND00006089
PX-1851    SMS - Text message between Patrick C. and Nathan Damigo                                            ND00006999               ND00007002
PX-1852    SMS - Text message between Nathan Damigo and Elliott Kline                                         ND00008970               ND00008970
PX-1853    SMS - Text message between Nathan Damigo and Elliott Kline                                         ND00009886               ND00009887
PX-1854    SMS - Text message from Elliott Kline to Nathan Damigo                                             ND00010165               ND00010166
PX-1855    SMS - Text message from Nathan Damigo                                                              ND00010552               ND00010552
PX-1856    SMS - Text message from Nathan Damigo                                                              ND00010834               ND00010835
           DOC - Articles of Incorporation - Nonprofit Corporation application for Foundation for Identitiy   ND00016678               ND00016684
PX-1857    Evropa
PX-1858    DOC - Document regarding coordinator overview of Identity Evropa                                   ND00017739               ND00017739
PX-1859    EMAIL - Email from Jason C. to Nathan Damigo                                                       ND00021323               ND00021323
PX-1860    EMAIL - Email from YouTube to Nathan Damigo                                                        ND00021323               ND00021323
PX-1861    EMAIL - Email from Identity Evropa to Nathan Damigo                                                ND00021393               ND00021394
PX-1862    EMAIL - Email from Identity Evropa to Nathan Damigo                                                ND00024066               ND00024068
PX-1863    EMAIL - Email from YouTube to Nathan Damigo                                                        ND00025127               ND00025127
PX-1864    EMAIL - Email to Nathan Damigo                                                                     ND00025312               ND00025312
PX-1865    TWITTER - Tweet by Nathan Damigo                                                                   ND00035059               ND00035059
PX-1866    DOC - Document regarding passords and accounts for Identity Evropa                                 ND00036353               ND00036355
PX-1867    EMAIL - Email from Robert Ray to Nathan Damigo                                                     ND00039368               ND00036753
PX-1868    EMAIL - Email from Nathan Damigo                                                                   ND00044698               ND00044700
PX-1869    SMS - Email between Nathan G. and Nathan Damigo                                                    ND00375622               ND00375622
PX-1870    DOC - Mutual Nondisclosure Agreement between Elliott Kline and Nathan Damigo                       ND00380865               ND00380872
           DOC - Secretary of State Nonprofit Certificate of Dissolution Application (California Nonprofit    ND00398173               ND00398175
PX-1871    Corporation Only) for Identity Evropa, Inc.
PX-1872    DOC - Letter from Nathan Damigo to California Attorney General's Office                            ND00398177               ND00398178
PX-1873    DOC - Stock Transfer agreement between Nathan Damigo and Patrick C.                                ND00398180               ND00398181
PX-1874    DOC - Document regarding timeline of events                                                        ND00398202               ND00398203
PX-1875    TWITTER - Tweet by Matthew Parrott                                                                 NOCUSTODIAN00000168      NOCUSTODIAN00000168
PX-1876    POST - Post by Matt Parrott                                                                        NOCUSTODIAN00000248      NOCUSTODIAN00000248
           ARTICLE - Article by Denise Lavoie entitled, "Man who drove into crowd convicted of first-
PX-1877    degree murder"                                                                                     NOCUSTODIAN00000279      NOCUSTODIAN00000283
PX-1878    VK - VK post by Jeff Schoep                                                                        NOCUSTODIAN00000417      NOCUSTODIAN00000417
PX-1879    TWITTER - Tweet by Matthew Heimbach                                                                NOCUSTODIAN00000508      NOCUSTODIAN00000508
PX-1880    VK - VK post by Matthew Heimbach                                                                   NOCUSTODIAN00000683      NOCUSTODIAN00000683
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "The Coming Alt
PX-1881    Tech Boom"                                                                                         NOCUSTODIAN00000817      NOCUSTODIAN00000833
           ARTICLE - TradWorker article by David Matthew Parrott entitled, "Lessons Learned From
                                                                                                              NOCUSTODIAN00000869      NOCUSTODIAN00000878
PX-1882    Trump"
           ARTICLE - The Right Stuff article by Matthew Heimbach and Tony Hovater entitled, "Action!
PX-1883    Episode 8_ The Clappening"                                                                         NOCUSTODIAN00000951      NOCUSTODIAN00000958
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Ex. No.                                             Description                                                Beginning Bates           End Bates
          ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "The Optics
PX-1884   Debate"                                                                                        NOCUSTODIAN00001118     NOCUSTODIAN00001129
          ARTICLE - Article by David Matthew Parrott entitled, "Catcher in the Reich: My Account of my   NOCUSTODIAN00001367     NOCUSTODIAN00001376
PX-1885   Experience in Charlottesville"
          ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Radical Agenda
                                                                                                         NOCUSTODIAN00001842     NOCUSTODIAN00001844
PX-1886   S04E010 - Taxing Truth"
          ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Official Daily Stormer Position:   NOCUSTODIAN00001932     NOCUSTODIAN00001939
PX-1887   Don't Go to 'Unite the Right 2' – We Disavow"
PX-1888   VID - Video recording of violence at Lee Park                                                  NOCUSTODIAN00002012     NOCUSTODIAN00002012
          VID - Video recording of Richard Spencer, It’s Going South, Periscope (May 13, 2017), at 15:14 NOCUSTODIAN00002014     NOCUSTODIAN00002014
PX-1889
PX-1890 GAB - Comment by Parrott re UTR AltLite, human shields                                           NOCUSTODIAN00002146     NOCUSTODIAN00002146
PX-1891 TWITTER - Tweet by Matthew Parrott                                                               NOCUSTODIAN00002267     NOCUSTODIAN00002267
PX-1892 TWITTER - Tweet by Matthew Parrott                                                               NOCUSTODIAN00002420     NOCUSTODIAN00002420
        ARTICLE - Occidental Dissent article by Matthew Parrott entitled "The Foundry #3: William
                                                                                                         NOCUSTODIAN00002612     NOCUSTODIAN00002614
PX-1893 Planer Did Nothing Wrong"
        ARTICLE - Counter-Currents Publishing article by Matthew Parrott entitled, "Never Leave a
                                                                                                         NOCUSTODIAN00002617     NOCUSTODIAN00002617
PX-1894 Fallen Comrade"
PX-1895 TWITTER - Post by Elliott Kline                                                                  NOCUSTODIAN00003351     NOCUSTODIAN00003351
PX-1896 VK - VK post by Jeff Schoep                                                                      NOCUSTODIAN00003411     NOCUSTODIAN00003411
PX-1897 POST - Post by Matt Heimbach                                                                     NOCUSTODIAN00003577     NOCUSTODIAN00003713
PX-1898 DOC - National Socialist Movement - National Officers & Departments                              NOCUSTODIAN00003700     NOCUSTODIAN00003701
        ARTICLE - League of the South article by Michael Hill entitled, "The League on Unite the         NOCUSTODIAN00003779     NOCUSTODIAN00003780
PX-1899 Right"
PX-1900 PHOTO - Photo of Profile update by Michael Tubbs                                                 NOCUSTODIAN00003861     NOCUSTODIAN00003861
PX-1901 TWITTER – Tweets by Jason Kessler                                                                NOCUSTODIAN00003863     NOCUSTODIAN00003863
PX-1902 TWITTER - Tweet by J. Michael Hill                                                               NOCUSTODIAN00004000     NOCUSTODIAN00004000
        ARTICLE - The New York Times Article by Emma Cott entitled, "How Our Reporter
PX-1903 Uncovered a Lie That Propelled an Alt-Right Extremist's Rise"                                    NOCUSTODIAN00004061     NOCUSTODIAN00004065
PX-1904 TWITTER – Tweets regarding violence on August 12, 2017                                           NOCUSTODIAN00004260     NOCUSTODIAN00004260
        ARTICLE - Christopher Cantwell website article by Christopher Cantwell entitled, "Goodbye
PX-1905 Cuck Talk Live"                                                                                  NOCUSTODIAN00004917     NOCUSTODIAN00004921
        ARTICLE - Christopher Cantwell website article by Christopher Cantwell entitled, "Dead Men
PX-1906 Don't Start Revolutions"                                                                         NOCUSTODIAN00004922     NOCUSTODIAN00004926
PX-1907 GAB - Post by Chris Cantwell                                                                     NOCUSTODIAN00004927     NOCUSTODIAN00004927
PX-1908 VID - Video recording of church service in Charlottesville with Seth Wispelwey                   NOCUSTODIAN00004928     NOCUSTODIAN00004928
PX-1909 VID - Video recording of car attack                                                              NOCUSTODIAN00004929     NOCUSTODIAN00004929
PX-1910 VID - Video recording of car attack                                                              NOCUSTODIAN00004929     NOCUSTODIAN00004929
PX-1911 GAB – Posts by Hunter W.                                                                         NOCUSTODIAN00004930     NOCUSTODIAN00004930
PX-1912 VID - Video recording of Unite the Right                                                         NOCUSTODIAN00004931     NOCUSTODIAN00004931
        ARTICLE - League of The South article by Michael Hill entitled, "Ls Statement on                 NOCUSTODIAN00004932     NOCUSTODIAN00004933
PX-1913 Southern/White Nationalism"
PX-1914 TWITTER - Retweet by Michael Tubbs                                                               NOCUSTODIAN00004934     NOCUSTODIAN00004934
PX-1915 GAB – Posts by Hunter W.                                                                         NOCUSTODIAN00004935     NOCUSTODIAN00004935
PX-1916 GAB – Posts by Hunter W.                                                                         NOCUSTODIAN00004936     NOCUSTODIAN00004936
PX-1917 TWITTER - Tweet by Baron S.                                                                      NOCUSTODIAN00004937     NOCUSTODIAN00004937
        ARTICLE - League of the South article by Michael Hill entitled, "Working with nationalist        NOCUSTODIAN00004938     NOCUSTODIAN00004939
PX-1918 allies"
        ARTICLE - cville article by Samantha Baars entitled, "Last man in August 12 parking garage       NOCUSTODIAN00004940     NOCUSTODIAN00004941
PX-1919 beating pleads guilty"
PX-1920 PHOTO - Photo of League of the South and TWP members assaulting Deandre H.                       NOCUSTODIAN00004942     NOCUSTODIAN00004942
PX-1921 VID - YouTube video regarding League of the South                                                NOCUSTODIAN00004943     NOCUSTODIAN00004943
PX-1922 VID - YouTube video regarding violence on August 12, 2017                                        NOCUSTODIAN00004944     NOCUSTODIAN00004944
PX-1923 VID - Video recording of The Florida League of the South 2018 State Conference                   NOCUSTODIAN00004945     NOCUSTODIAN00004945
PX-1924 EMAIL - M. Heimbach to M.Bloch re Re: Sines v. Kessler, Case No. 17-cv-00072                     NOCUSTODIAN00004949     NOCUSTODIAN00004952
PX-1925 FILING - Guilty Plea of Benjamin D., United States of America v. Benjamin D.,                    NOCUSTODIAN00004999     NOCUSTODIAN00004999
        ARTICLE - The New York Times article entitled, "2 Soldiers and 2 Civilians Arrested in Theft     NOCUSTODIAN00005000     NOCUSTODIAN00005002
PX-1926 of Huge Weapons Cache"
PX-1927 FILING - United States of America v. Benjamin D., Photo of Benjamin D. in Kiev                   NOCUSTODIAN00005004     NOCUSTODIAN00005004
PX-1928 FILING - United States of America v. Benjamin D., Tweet by R.A.M.                                NOCUSTODIAN00005005     NOCUSTODIAN00005005
PX-1929 FILING - United States of America v. Benjamin D., Criminal Minutes - Guilty Plea Hearing         NOCUSTODIAN00005006     NOCUSTODIAN00005006
PX-1930 FILING - United States of America v. Benjamin D., Photo of Benjamin D. in Kiev                   NOCUSTODIAN00005007     NOCUSTODIAN00005007

PX-1931 FILING - United States of America v. Benjamin D., Photo of Benjamin D. in a bar in California    NOCUSTODIAN00005008     NOCUSTODIAN00005008
PX-1932 DOC - Receipt from Benjamin D.,                                                                  NOCUSTODIAN00005009     NOCUSTODIAN00005009
PX-1933 FILING - Arrest Warrant of Benjamin D., United States of America v. Benjamin D.                  NOCUSTODIAN00005010     NOCUSTODIAN00005010
        FILING - United States of America v. Benjamin D., Motion in Support of Release from
PX-1934 Detention                                                                                        NOCUSTODIAN00005012     NOCUSTODIAN00005021
        FILING - United States of America v. Benjamin D., Photo of Benjamin D. in Berkeley Defend
PX-1935 America Banner                                                                                   NOCUSTODIAN00005022     NOCUSTODIAN00005022
PX-1936 FB - Facebook post by Benjamin D.                                                                NOCUSTODIAN00005023     NOCUSTODIAN00005023
PX-1937 FILING - United States of America v. Benjamin D., Photo of Notebook with R.A.M. Goals            NOCUSTODIAN00005024     NOCUSTODIAN00005024
PX-1938 DOC - Receipt from Benjamin D.,                                                                  NOCUSTODIAN00005027     NOCUSTODIAN00005027

PX-1939 FILING - United States of America v. Benjamin D., Photo of Huntington Beach Book Burning         NOCUSTODIAN00005028     NOCUSTODIAN00005028
PX-1940 FILING - United States of America v. Benjamin D., Photo of Benjamin D. in Berkeley               NOCUSTODIAN00005028     NOCUSTODIAN00005028
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 Ex. No.                                            Description                                                 Beginning Bates          End Bates
PX-1941    PHOTO - Photo of Benjamin D., in Berkeley                                                      NOCUSTODIAN00005036     NOCUSTODIAN00005036
PX-1942    PHOTO - Photo of Benjamin D., in Berkeley                                                      NOCUSTODIAN00005037     NOCUSTODIAN00005037
PX-1943    PHOTO - Photo of Benjamin D. holding "Da Goyim Kno" sign                                       NOCUSTODIAN00005039     NOCUSTODIAN00005039
PX-1944    PHOTO - Photo of Benjamin D. on August 12, 2017                                                NOCUSTODIAN00005042     NOCUSTODIAN00005042
PX-1945    PHOTO - Photo of Nathan Damigo punching a person in Berkeley                                   NOCUSTODIAN00005043     NOCUSTODIAN00005043
PX-1946    PHOTO - Photo of Benjamin D. on August 12, 2017, with Elliot Kline                             NOCUSTODIAN00005048     NOCUSTODIAN00005048
PX-1947    PHOTO - Photos of Thomas G. in white robes                                                     NOCUSTODIAN00005049     NOCUSTODIAN00005049
PX-1948    PHOTO - Photos of Michael M. on August 12, 2017                                                NOCUSTODIAN00005050     NOCUSTODIAN00005050
PX-1949    FILING - Statement of Offense, United States of America v. Benjamin D.                         NOCUSTODIAN00005051     NOCUSTODIAN00005055
PX-1950    PHOTO - Photo of Hammerskin Nation Logo                                                        NOCUSTODIAN00005056     NOCUSTODIAN00005056
PX-1951    FILING - Detention Hearing Transcript in the United States of America v. Benjamin D.           NOCUSTODIAN00005057     NOCUSTODIAN00005107
PX-1952    PHOTO - Photo of protestors                                                                    NOCUSTODIAN00005108     NOCUSTODIAN00005108
PX-1953    PHOTO - Photo of woman bleeding                                                                NOCUSTODIAN00005109     NOCUSTODIAN00005109
PX-1954    PHOTO - Photo of Benjamin D. in car                                                            NOCUSTODIAN00005110     NOCUSTODIAN00005110
PX-1955    PHOTO - Photo of woman bleeding from head                                                      NOCUSTODIAN00005111     NOCUSTODIAN00005111
PX-1956    DOC - Transcript of LT from United States of America v. Benjamin D.                            NOCUSTODIAN00005112     NOCUSTODIAN00005121
PX-1957    FILING - United States of America v. Benjamin D., Bank Statement of Benjamin D.                NOCUSTODIAN00005122     NOCUSTODIAN00005128
PX-1958    PHOTO - Photo of Benjamin D. in Berkeley                                                       NOCUSTODIAN00005129     NOCUSTODIAN00005129

PX-1959    PHOTO - Photo of Benjamin D. on August 12, 2017, with Cole W., Michael M., and Thomas G.       NOCUSTODIAN00005132     NOCUSTODIAN00005132
PX-1960    FB - Facebook post by Johnny B.                                                                NOCUSTODIAN00005134     NOCUSTODIAN00005134
PX-1961    PHOTO - Photo of Benjamin D. marching on August 12, 2017                                       NOCUSTODIAN00005135     NOCUSTODIAN00005135
PX-1962    PHOTO - Photo of Benjamin D. at torch march on August 11, 2017                                 NOCUSTODIAN00005136     NOCUSTODIAN00005136
PX-1963    FILING - United States of America v. Benjamin D., Defendant's Sentencing Memorandum            NOCUSTODIAN00005137     NOCUSTODIAN00005165
PX-1964    PHOTO - Photo of Nathan Damigo punching a person in Berkeley                                   NOCUSTODIAN00005166     NOCUSTODIAN00005166
PX-1965    PHOTO - Photo of Benjamin D., at Berkeley                                                      NOCUSTODIAN00005167     NOCUSTODIAN00005167
PX-1966    PHOTO - Photo of James Fields and Thomas G. on August 11, 2017                                 NOCUSTODIAN00005168     NOCUSTODIAN00005168
PX-1967    FILING - Affadvit, United States of America v. Benjamin D.                                     NOCUSTODIAN00005169     NOCUSTODIAN00005191
PX-1968    TWITTER - Tweets by Patrick C.                                                                 NOCUSTODIAN00005205     NOCUSTODIAN00005205
PX-1969    PHOTO - Photo of Nathan Damigo punching woman Battle of Berkeley                               NOCUSTODIAN00005255     NOCUSTODIAN00005255
PX-1970    PHOTO - Photo of Ken P., League of the South and others.                                       NOCUSTODIAN00005256     NOCUSTODIAN00005256
PX-1971    PHOTO - Photo of woman punched by Nathan Damigo during Battle of Berkeley                      NOCUSTODIAN00005257     NOCUSTODIAN00005257
PX-1972    PHOTO - Photo of Hitler Salute                                                                 NOCUSTODIAN00005258     NOCUSTODIAN00005258
PX-1973    DISCOVERY - Nathan Damigo's usernames and devices                                              NOCUSTODIAN00005259     NOCUSTODIAN00005260
PX-1974    PHOTO - Photo of Nathan Damigo and others during Battle of Berkeley                            NOCUSTODIAN00005261     NOCUSTODIAN00005261
PX-1975    PHOTO - Photo of Nathan Damigo and others during Battle of Berkeley                            NOCUSTODIAN00005262     NOCUSTODIAN00005262
PX-1976    PHOTO - Photo of Elliot Kline and others                                                       NOCUSTODIAN00005264     NOCUSTODIAN00005264
PX-1977    TWITTER - Dodge Challenger running over a counter-protester picture                            NOCUSTODIAN00005265     NOCUSTODIAN00005265
PX-1978    DISCOVERY - Jeff Schoep's usernames and devices                                                NOCUSTODIAN00005267     NOCUSTODIAN00005268
PX-1979    PHOTO - Photo of NSM Members                                                                   NOCUSTODIAN00005270     NOCUSTODIAN00005270
PX-1980    VK - VK Post by Burt C.                                                                        NOCUSTODIAN00005271     NOCUSTODIAN00005271
PX-1981    PHOTO - Photo of Chris Cantwell and Matthew Heimbach                                           NOCUSTODIAN00005272     NOCUSTODIAN00005272
PX-1982    PHOTO - Photo of NSM Members                                                                   NOCUSTODIAN00005273     NOCUSTODIAN00005273
PX-1983    DISCOVERY - Matt Parrott's supplemental ESI Declaration                                        NOCUSTODIAN00005275     NOCUSTODIAN00005275
           AUD - Audio recording of conversation between Chris Cantwell and Charlottesville Police
PX-1984    Department (Detective W.)                                                                      NOCUSTODIAN00005276     NOCUSTODIAN00005276
PX-1985    VID - Video recording of Vanguard America and Elliot Kline marching                            NOCUSTODIAN00005278     NOCUSTODIAN00005278
PX-1986    VID - Video recording of events on August 12, 2017                                             NOCUSTODIAN00005280     NOCUSTODIAN00005280
PX-1987    VID - Video recording of Benjamin D. and Michael M. Charlottesville assaults                   NOCUSTODIAN00005281     NOCUSTODIAN00005281
           VID - Video recording of Elliot Kline marching in front of Vanguard America during Unite The
PX-1988    Right Rally                                                                                    NOCUSTODIAN00005282     NOCUSTODIAN00005282
PX-1989    VID - Video recording of Thomas M.                                                             NOCUSTODIAN00005283     NOCUSTODIAN00005283
PX-1990    AUD - Audio recording of Salting the Earth podcast with Elliott Kline                          NOCUSTODIAN00005284     NOCUSTODIAN00005284
PX-1991    VID - Video recording of events on August 12, 2017                                             NOCUSTODIAN00005285     NOCUSTODIAN00005285
PX-1992    AUD - Audio recording of Salting the Earth podcast with Jason Kessler                          NOCUSTODIAN00005286     NOCUSTODIAN00005286
PX-1993    VID - Video recording of Chris Cantwell speech at DC Free Speech Rally                         NOCUSTODIAN00005287     NOCUSTODIAN00005287
PX-1994    AUD - Radical Agenda S03E021 - With Anglin                                                     NOCUSTODIAN00005288     NOCUSTODIAN00005288
PX-1995    VID - Video recording of A11 and A12 by The New York Times                                     NOCUSTODIAN00005290     NOCUSTODIAN00005290
PX-1996    VID - Video recording of events                                                                NOCUSTODIAN00005291     NOCUSTODIAN00005291
PX-1997    VID - Video recording of Nathan G.                                                             NOCUSTODIAN00005293     NOCUSTODIAN00005293
PX-1998    VID - Video recording of Battle of Berkeley                                                    NOCUSTODIAN00005294     NOCUSTODIAN00005294
PX-1999    DOC - Document regarding high value target list                                                NOCUSTODIAN00005296     NOCUSTODIAN00005302
PX-2000    AUD - Audio recording of planning meeting for A11 and A12                                      NOCUSTODIAN00005336     NOCUSTODIAN00005336
PX-2001    VID - Video recording of Michael Tubbs on August 12, 2017                                      NOCUSTODIAN00005729     NOCUSTODIAN00005729
PX-2002    TWITTER - Tweet by Matthew Parrott                                                             NOCUSTODIAN0000618      NOCUSTODIAN0000618
PX-2003    VK - VK post by Burt C.                                                                        NOCUSTODIAN00007398     NOCUSTODIAN00007398
PX-2004    TWITTER – Tweets by Jason Kessler                                                              NOCUSTODIAN00008636     NOCUSTODIAN00008637
PX-2005    TRANSCRIPT - Transcript of Jason Kessler's speech at Pen Park                                  NOCUSTODIAN00008644     NOCUSTODIAN00008644
PX-2006    TWITTER - Tweet of man brandishing gun                                                         NOCUSTODIAN00008653     NOCUSTODIAN00008653
PX-2007    DOC - Document regarding events of August 12, 2017                                             NOCUSTODIAN00008673     NOCUSTODIAN00008675
PX-2008    DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00008724     NOCUSTODIAN00008729
           ARTICLE - Daily Progress article by Bob Gibson entitled, "Opinion/Commentary: Even before      NOCUSTODIAN00008730     NOCUSTODIAN00008734
PX-2009    the torch march, white supremacy took the stage"
           ARTICLE - Daily Stormer article entitled, "Charlottesville Ground Report: Nazi Occultists      NOCUSTODIAN00008740     NOCUSTODIAN00008745
PX-2010    Resurrect Spirit of Confederacy"
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 Ex. No.                                           Description                                               Beginning Bates          End Bates
PX-2011 ARTICLE - Southern Poverty Law Center article entitled, "Jason Kessler"                        NOCUSTODIAN00008749     NOCUSTODIAN00008753
PX-2012 ARTICLE - Daily Progress article entitled, "Torch-wielding Protesters Gather at Lee Park"      NOCUSTODIAN00008781     NOCUSTODIAN00008790
         ARTICLE - Daily Caller article by Jason Kessler entitled, "Richard Spencer Leads White        NOCUSTODIAN00008800     NOCUSTODIAN00008807
PX-2013 Nationalist Demonstration in Front of Virginia Robert E. Lee Monument"
PX-2014 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00008823     NOCUSTODIAN00008837
PX-2015 SMS - Text message between Matthew Heimbach and Thomas R.                                      NOCUSTODIAN00008838     NOCUSTODIAN00008845
PX-2016 TWITTER - Twitter Feed of Jason Kessler                                                        NOCUSTODIAN00008875     NOCUSTODIAN00008911
PX-2017 FILING - Verified Complaint, Kessler v. City of Charlottesville (W.D. Va.)                     NOCUSTODIAN00008927     NOCUSTODIAN00008967
PX-2018 ARTICLE - Vanguard America, Bloodandsoil.org webpages                                          NOCUSTODIAN00008968     NOCUSTODIAN00008983
PX-2019 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00008984     NOCUSTODIAN00009052
PX-2020 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00009917     NOCUSTODIAN00010203
PX-2021 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00010204     NOCUSTODIAN00010491
PX-2022 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00010204     NOCUSTODIAN00010491
PX-2023 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00010492     NOCUSTODIAN00010782
PX-2024 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00010492     NOCUSTODIAN00010782
PX-2025 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00010783     NOCUSTODIAN00011073
PX-2026 DISC - Unicorn Riot Discord Leaks                                                              NOCUSTODIAN00011074     NOCUSTODIAN00011368
         SMS - Text message between Jason Kessler and David D.                                         NOCUSTODIAN00011369     NOCUSTODIAN00011369
PX-2027
PX-2028 SMS - Text message between Elliott Kline, Jason Kessler, and Erica                             NOCUSTODIAN00011373     NOCUSTODIAN00011378
PX-2029 SMS - Text message between Elliott Kline and Jason Kessler                                     NOCUSTODIAN00011379     NOCUSTODIAN00011452
PX-2030 TWITTER – Tweets by Michael Hill                                                               NOCUSTODIAN00011479     NOCUSTODIAN00011479
         ARTICLE - Article by Susan Svrluga entitled, "'We will keep coming back:' Richard Spencer
PX-2031 leads another torchlight march in Charlottesville"                                             NOCUSTODIAN00011500     NOCUSTODIAN00011502
PX-2032 EMAIL - Email from Karen D. to Gabrielle T., Eli M., and Matthew Heimbach                      NOCUSTODIAN00011562     NOCUSTODIAN00011562
PX-2033 DOC - Daily Stormer, “Style Guide”                                                             NOCUSTODIAN00011563     NOCUSTODIAN00011579
PX-2034 TWITTER – Tweets by Elliott Kline                                                              NOCUSTODIAN00011586     NOCUSTODIAN00011586
PX-2035 GAB - Post by Matt Heimbach on Cantwell                                                        NOCUSTODIAN00011593     NOCUSTODIAN00011593
PX-2036 DISC - Post by Matthew Heimbach                                                                NOCUSTODIAN00011603     NOCUSTODIAN00011603
PX-2037 EMAIL - Email from James Kolenich to Karen D.                                                  NOCUSTODIAN00011619     NOCUSTODIAN00011619
PX-2038 DOC - Document regarding membership information                                                NOCUSTODIAN00011649     NOCUSTODIAN00011649
PX-2039 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011652     NOCUSTODIAN00011652
PX-2040 DISC - Posts by Matthew Heimbach on TRS and uploading                                          NOCUSTODIAN00011690     NOCUSTODIAN00011690
PX-2041 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011691     NOCUSTODIAN00011691
PX-2042 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011699     NOCUSTODIAN00011699
PX-2043 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011704     NOCUSTODIAN00011704
PX-2044 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011711     NOCUSTODIAN00011711
PX-2045 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011718     NOCUSTODIAN00011718
PX-2046 TWITTER - Tweets by Matt Heimbach                                                              NOCUSTODIAN00011724     NOCUSTODIAN00011724
PX-2047 DISC - Conversation between Matthew Heimbach and others                                        NOCUSTODIAN00011728     NOCUSTODIAN00011728
PX-2048 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011744     NOCUSTODIAN00011744
PX-2049 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011745     NOCUSTODIAN00011745
PX-2050 POST - Post by Vasillios P. and Matthew Heimbach                                               NOCUSTODIAN00011757     NOCUSTODIAN00011757
PX-2051 VK - TWP Page                                                                                  NOCUSTODIAN00011774     NOCUSTODIAN00011774
PX-2052 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00011783     NOCUSTODIAN00011783
PX-2053 TWITTER - Tweets by Matthew Heimbach                                                           NOCUSTODIAN00011808     NOCUSTODIAN00011808
PX-2054 VK - TWP Page                                                                                  NOCUSTODIAN00011867     NOCUSTODIAN00011867
PX-2055 VK - TWP Post                                                                                  NOCUSTODIAN00011920     NOCUSTODIAN00011920
          ARTICLE - The Atlantic article by Edna Friedberg entitled, "Why They Parade by Torchlight"   NOCUSTODIAN00012043     NOCUSTODIAN00012046
PX-2056
PX-2057 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00012058     NOCUSTODIAN00012058
PX-2058 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00012084     NOCUSTODIAN00012084
PX-2059 WEB - Daily Stormer Home Page                                                                  NOCUSTODIAN00012222     NOCUSTODIAN00012222
PX-2060 ARTICLE - Southern Poverty Law Center entitled, "Michael 'Enoch' Peinovich"                    NOCUSTODIAN00012233     NOCUSTODIAN00012233
PX-2061 DISC - Posts by Matthew Heimbach                                                               NOCUSTODIAN00012252     NOCUSTODIAN00012253
PX-2062 TWITTER – Tweets by Jason Kessler                                                              NOCUSTODIAN00012667     NOCUSTODIAN00012667
PX-2063 TWITTER – Tweets by Michael Hill                                                               NOCUSTODIAN00012704     NOCUSTODIAN00012704
PX-2064 TWITTER - Tweets regarding white people becoming minorities                                    NOCUSTODIAN00013172     NOCUSTODIAN00013172
        ARTICLE - Southern Proverty Law Center article entitled, "Meet the League: State Chairmen      NOCUSTODIAN00013425     NOCUSTODIAN00013433
PX-2065 and Organizers of the League of the South"
PX-2066 TWITTER - Tweet by Jeff Schoep                                                                 NOCUSTODIAN00013566     NOCUSTODIAN00013566
PX-2067 TWITTER – Tweet regarding Richard Spencer speech                                               NOCUSTODIAN00013643     NOCUSTODIAN00013643
        TWITTER – Tweets by Jeff Schoep                                                                NOCUSTODIAN00013644     NOCUSTODIAN00013644
PX-2068
        ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Summer of Hate: Black Sun to
                                                                                                       NOCUSTODIAN00014249     NOCUSTODIAN00014253
PX-2069 Cross America This August"
        ARTICLE - Altright.com article by Richard Spencer entitled, "What it Means To Be Alt-Right"    NOCUSTODIAN00014590     NOCUSTODIAN00014601
PX-2070
PX-2071 VID - Video recording of Robert Azzmador Ray Charlottesville speech                            NOCUSTODIAN00015226     NOCUSTODIAN00015226
PX-2072 GAB - Chirstopher Cantwell post                                                                NOCUSTODIAN00015364     NOCUSTODIAN00015364
        FILING - Commonwealth of Virginia v. Christopher Cantwell, Plea of Guilty to Misdemeanors,
PX-2073 17-cr-784, 845                                                                                 NOCUSTODIAN00015477     NOCUSTODIAN00015480
PX-2074 DOC - Document regarding Department of Transportation information for business                 NOCUSTODIAN00015513     NOCUSTODIAN00015513
PX-2075 WEB - Webpage regarding details for a business                                                 NOCUSTODIAN00016110     NOCUSTODIAN00016110
PX-2076 VK - Post by Matt Parrott                                                                      NOCUSTODIAN00016410     NOCUSTODIAN00016410
PX-2077 POST - Post by Chris Cantwell                                                                  NOCUSTODIAN00016484     NOCUSTODIAN00016484
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 Ex. No.                                         Description                                                    Beginning Bates          End Bates
PX-2078 TWITTER – Tweet regarding car attack                                                              NOCUSTODIAN00016591     NOCUSTODIAN00016591
PX-2079 TWITTER – Tweet regarding car attack                                                              NOCUSTODIAN00016591     NOCUSTODIAN00016591
         ARTICLE - The Times News article by Natalie Allison Janicello entitled, "Corps condemns          NOCUSTODIAN00016949     NOCUSTODIAN00016949
PX-2080 Marines' behavior"
PX-2081 TWITTER - Twitter Profile for Michael C.                                                          NOCUSTODIAN00017053     NOCUSTODIAN00017053
PX-2082 TWITTER – Tweets by Jason Kessler                                                                 NOCUSTODIAN00017309     NOCUSTODIAN00017309
PX-2083 PHOTO - Photo of M. Chesny at rally in Pikeville                                                  NOCUSTODIAN00017413     NOCUSTODIAN00017413
PX-2084 PHOTO - Photo of M. Chesny at rally in Pikeville                                                  NOCUSTODIAN00017658     NOCUSTODIAN00017658
PX-2085 PHOTO - Photo regarding reversing white genocide                                                  NOCUSTODIAN00017700     NOCUSTODIAN00017700
         ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Gassing Kikes
                                                                                                          NOCUSTODIAN00017753     NOCUSTODIAN00017755
PX-2086 and Trannies (Song)"
PX-2087 PHOTO - Photo of M. Chesny getting arrested                                                       NOCUSTODIAN00017804     NOCUSTODIAN00017804
PX-2088 PHOTO - Photos of M. Chesny in Charlottesville on August 12, 2017                                 NOCUSTODIAN00017807     NOCUSTODIAN00017807
         ARTICLE - TWP Article by Matthew Parrott entitled, "Proud Boys Are Cordially Invited to
PX-2089 Unite The Right"                                                                                  NOCUSTODIAN00017945     NOCUSTODIAN00017961
         ARTICLE - Alt Right.com article by Vincent Law entitled, "The 'Unite The Right' Rally Is Going
PX-2090 To Be A Turning Point For White Identity In America"                                              NOCUSTODIAN00017977     NOCUSTODIAN00017987
PX-2091 DISC - Posts by Matthew Heimbach                                                                  NOCUSTODIAN00018237     NOCUSTODIAN00018237

PX-2092 ARTICLE - TradWorker article by Matt Parrott entitled, "Chris Cantwell Did Nothing Wrong"         NOCUSTODIAN00018446     NOCUSTODIAN00018448
PX-2093 FB - Facebook post by Matthew Parrott                                                             NOCUSTODIAN00018950     NOCUSTODIAN00018950
PX-2094 DOC - Document regarding security orders for Unite the Right                                      NOCUSTODIAN00019386     NOCUSTODIAN00019396
        ARTICLE - Daily Stormer article by Benjamin Garland entitled, "Charlottesville 2.0: Be There or
                                                                                                          NOCUSTODIAN00020010     NOCUSTODIAN00020027
PX-2095 Be Square"
PX-2096 WEB - Leaked audio of Richard Spencer rant                                                        NOCUSTODIAN00020684     NOCUSTODIAN00020685
PX-2097 DOC - Arrest Record for Michael C.                                                                NOCUSTODIAN00021136     NOCUSTODIAN00021156
PX-2098 TWITTER - Twitter Feed of Jason Kessler                                                           NOCUSTODIAN00022111     NOCUSTODIAN00022414
        VID - Video recording of Matthew Heimbach Interview with ABC News,
                                                                                                          NOCUSTODIAN00022889     NOCUSTODIAN00022889
PX-2099
PX-2100 VID - Video recording of pre-game torch march                                                     NOCUSTODIAN00023810     NOCUSTODIAN00023810
PX-2101 TWITTER – Tweets by Michael Hill                                                                  NOCUSTODIAN00026595     NOCUSTODIAN00027224
PX-2102 VID - Video of Nathan Damigo                                                                      NOCUSTODIAN00028701     NOCUSTODIAN00028701
PX-2103 VID - Video recording of VICE News, Charlottesville Race and Terror                               NOCUSTODIAN00028711     NOCUSTODIAN00028711
        VID - Video recording of Katie Couric, See the Sparks That Set Off Violence in Charlottesville,
                                                                                                          NOCUSTODIAN00028717     NOCUSTODIAN00028717
PX-2104 National Geographic (Aug 19, 2017)
PX-2105 VID - Katie Couric National Geographic, America Inside Out, S1E1, Re-Righting History             NOCUSTODIAN00028726     NOCUSTODIAN00028726
        VID - Aaron Sankin & Scott Pham, In chat rooms, Unite the Right organizers planned to obscure
                                                                                                          NOCUSTODIAN00028728     NOCUSTODIAN00028728
PX-2106 their racism, REVEAL NEWS
PX-2107 VID - Video recording of Michael Tubbs                                                            NOCUSTODIAN00032993     NOCUSTODIAN00032993
PX-2108 VID - Video recording of protestor vs. counter-protestor violence                                 NOCUSTODIAN00033076     NOCUSTODIAN00033076
PX-2109 VID – News2Share video of Jason Kessler on August 11                                              NOCUSTODIAN00033112     NOCUSTODIAN00033112
PX-2110 AUD - Audio recording of individuals honoring James Fields and Dylan R.                           NOCUSTODIAN00033114     NOCUSTODIAN00033114
PX-2111 VID - Video recording of Will P. stick attack at Sacramento riot                                  NOCUSTODIAN00033124     NOCUSTODIAN00033124
PX-2112 VID - Video recording of Robert Azzmador Ray                                                      NOCUSTODIAN00033136     NOCUSTODIAN00033136
PX-2113 VID - Video recording of Matt Heimbach                                                            NOCUSTODIAN00033140     NOCUSTODIAN00033140
PX-2114 VID - Video recording of Berkeley Trump Rally                                                     NOCUSTODIAN00033231     NOCUSTODIAN00033231
PX-2115 VID - Video recording of ABC News coverage of Unite The Right events                              NOCUSTODIAN00033232     NOCUSTODIAN00033232
PX-2116 VID - Video recording of Unite The Right Events (Torch Procession)                                NOCUSTODIAN00033236     NOCUSTODIAN00033236
PX-2117 VID - Video recording of Unite The Right Events (Torch Procession)                                NOCUSTODIAN00033246     NOCUSTODIAN00033246
PX-2118 VID - Video recording of Berkeley Trump Rally                                                     NOCUSTODIAN00033250     NOCUSTODIAN00033250
PX-2119 VID - Video recording of Unite The Right Events (Torch Procession)                                NOCUSTODIAN00033254     NOCUSTODIAN00033254
PX-2120 AUD - Audio recording of Action! Podcast, Episode 3                                               NOCUSTODIAN00033313     NOCUSTODIAN00033313
PX-2121 VID - Video recording of Charlottesville 2.0                                                      NOCUSTODIAN00033335     NOCUSTODIAN00033335
PX-2122 AUD - Audio recording of GoyTalk Live! podcast with Matt Parrott                                  NOCUSTODIAN00033348     NOCUSTODIAN00033348
PX-2123 VID - Video recording of Unite The Right Events (Torch Procession)                                NOCUSTODIAN00033357     NOCUSTODIAN00033357
PX-2124 VID - Video recording of Daniel Shular, Unite the Right and Counter Protests August 11-13         NOCUSTODIAN00033360     NOCUSTODIAN00033360
PX-2125 VID - Video recording of Invictus on August 11, 2017                                              NOCUSTODIAN00033364     NOCUSTODIAN00033364
        AUD - Audio recording of Nordic Frontier #31: Matthew Heimbach and the Charlottesville
                                                                                                          NOCUSTODIAN00033365     NOCUSTODIAN00033365
PX-2126 Aftermath
PX-2127 VID - Video recording of Thomas R and Elliott Kline                                               NOCUSTODIAN00033366     NOCUSTODIAN00033366
PX-2128 AUD - Audio recording of The Southern AF Podcast with Chris Cantwell                              NOCUSTODIAN00033373     NOCUSTODIAN00033373
PX-2129 VID - Video recording of GoyTalk Live! podcast With Matt Parrott                                  NOCUSTODIAN00033374     NOCUSTODIAN00033374
PX-2130 PHOTO - Nationalist Front Logo                                                                    NOCUSTODIAN00033514     NOCUSTODIAN00033514
PX-2131 PHOTO - TWP Logo                                                                                  NOCUSTODIAN00033545     NOCUSTODIAN00033545
PX-2132 PHOTO - Photo regarding status of arrested individuals                                            NOCUSTODIAN00033708     NOCUSTODIAN00033708
PX-2133 POST - Post by Matt Parrott                                                                       NOCUSTODIAN00034767     NOCUSTODIAN00034767
PX-2134 TWITTER – Tweets by Jason Kessler                                                                 NOCUSTODIAN00034811     NOCUSTODIAN00034811
PX-2135 TWITTER - Tweets by Chris Cantwell                                                                NOCUSTODIAN00035034     NOCUSTODIAN00035034
PX-2136 TWITTER - Tweets by Chris Cantwell                                                                NOCUSTODIAN00035082     NOCUSTODIAN00035082
PX-2137 TWITTER - Tweets by Chris Cantwell                                                                NOCUSTODIAN00035287     NOCUSTODIAN00035287
PX-2138 PHOTO - Photo of Chris Cantwell                                                                   NOCUSTODIAN00035297     NOCUSTODIAN00035297
PX-2139 TWITTER - Tweets by Chris Cantwell                                                                NOCUSTODIAN00035353     NOCUSTODIAN00035353
PX-2140 TWITTER - Tweet regarding Matt Heimbach speech                                                    NOCUSTODIAN00035490     NOCUSTODIAN00035490
PX-2141 PHOTO - Photo of The Daily Stormer webpage                                                        NOCUSTODIAN00035555     NOCUSTODIAN00035555
PX-2142 PHOTO - Photo of torch march on August 11, 2017                                                   NOCUSTODIAN00035618     NOCUSTODIAN00035618
PX-2143 PHOTO - Photo of Robert Azzmador Ray on August 11, 2017                                           NOCUSTODIAN00035637     NOCUSTODIAN00035637
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PX-2144    TWITTER - Tweets by Chris Cantwell                                           NOCUSTODIAN00035677     NOCUSTODIAN00035677
PX-2145    PHOTO - Photo of Weev with a swastika tattoo on his chest                    NOCUSTODIAN00035796     NOCUSTODIAN00035796
PX-2146    POST - Post by Matthew Heimbach                                              NOCUSTODIAN00035797     NOCUSTODIAN00035797
PX-2147    VK - VK post by Jeff Schoep                                                  NOCUSTODIAN00035799     NOCUSTODIAN00035799
PX-2148    WEB - Webpage regarding rally in Pikeville                                   NOCUSTODIAN00035806     NOCUSTODIAN00035806
PX-2149    DOC - Document regarding Chris Cantwell's conversation with Jody U.          NOCUSTODIAN00035811     NOCUSTODIAN00035817
PX-2150    DISC- Message Board Post including Matthew Heimbach                          NOCUSTODIAN00035822     NOCUSTODIAN00035822
PX-2151    PHOTO - Photo of Chris Cantwell on August 11, 2017                           NOCUSTODIAN00035838     NOCUSTODIAN00035838
PX-2152    POST - Post by Weev                                                          NOCUSTODIAN00035934     NOCUSTODIAN00035934
PX-2153    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00035969     NOCUSTODIAN00035969
PX-2154    DOC - Document showing bitcoin payment to Andrew Anglin                      NOCUSTODIAN00036088     NOCUSTODIAN00036088
PX-2155    PHOTO - Photo of Elliott Kline, Mike M. and Benjamin D. on August 12, 2017   NOCUSTODIAN00036089     NOCUSTODIAN00036089
PX-2156    PHOTO - Photo of Chris Cantwell at torch march on August 11, 2017            NOCUSTODIAN00036265     NOCUSTODIAN00036265
PX-2157    PHOTO - Photo of Daily Stormer Flyer                                         NOCUSTODIAN00036282     NOCUSTODIAN00036282
PX-2158    PHOTO - R.A.M promo                                                          NOCUSTODIAN00036287     NOCUSTODIAN00036287
PX-2159    POST - Post by Chris Cantwell                                                NOCUSTODIAN00036310     NOCUSTODIAN00036310
PX-2160    POST - Post by Matthew Heimbach                                              NOCUSTODIAN00036315     NOCUSTODIAN00036315
PX-2161    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00036334     NOCUSTODIAN00036334
PX-2162    PHOTO - Unite the Right Flyer with a list of speakers                        NOCUSTODIAN00036345     NOCUSTODIAN00036345
PX-2163    DOC - Document regarding supporting killing of minorities                    NOCUSTODIAN00036356     NOCUSTODIAN00036356
PX-2164    PHOTO - Photo of End White Genocide                                          NOCUSTODIAN00036408     NOCUSTODIAN00036408
PX-2165    PHOTO - Photo of Elliott Kline and Jason Kessler on August 12, 2017          NOCUSTODIAN00036412     NOCUSTODIAN00036412
PX-2166    POST - Post by Matt Heimbach                                                 NOCUSTODIAN00036416     NOCUSTODIAN00036416
PX-2167    POST - Post by Burt C.                                                       NOCUSTODIAN00036429     NOCUSTODIAN00036429
PX-2168    POST - Post by Matt Heimbach                                                 NOCUSTODIAN00036434     NOCUSTODIAN00036434
PX-2169    TWITTER – Tweets by Michael Hill                                             NOCUSTODIAN00036446     NOCUSTODIAN00036446
PX-2170    VK - Post by Jeff Schoep                                                     NOCUSTODIAN00036458     NOCUSTODIAN00036458
PX-2171    PHOTO - Photo of rotunda and Thomas Jefferson statue                         NOCUSTODIAN00036462     NOCUSTODIAN00036462
PX-2172    DISC - Discord message board                                                 NOCUSTODIAN00036463     NOCUSTODIAN00036463
PX-2173    POST - Post by Matt Heimbach                                                 NOCUSTODIAN00036464     NOCUSTODIAN00036464
PX-2174    PHOTO - Photo of violence at the torch march on August 11, 2017              NOCUSTODIAN00036476     NOCUSTODIAN00036476
PX-2175    PHOTO - Photo of Elliott Kline and James Fields                              NOCUSTODIAN00036482     NOCUSTODIAN00036482
PX-2176    TWITTER – Tweets by Matthew Parrott                                          NOCUSTODIAN00036502     NOCUSTODIAN00036502
PX-2177    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00036507     NOCUSTODIAN00036507
PX-2178    DOC - Document memorializing Jeff Schoep interview                           NOCUSTODIAN00036551     NOCUSTODIAN00036551
PX-2179    PHOTO - Photo of various items                                               NOCUSTODIAN00036558     NOCUSTODIAN00036558
PX-2180    PHOTO - Photo regarding racism                                               NOCUSTODIAN00036559     NOCUSTODIAN00036559
PX-2181    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00036599     NOCUSTODIAN00036599
PX-2182    POST - Post by Jeff Schoep                                                   NOCUSTODIAN00036644     NOCUSTODIAN00036644
PX-2183    PHOTO - Photo of graffiti                                                    NOCUSTODIAN00036783     NOCUSTODIAN00036783
PX-2184    POST - Post by Chris Cantwell                                                NOCUSTODIAN00036787     NOCUSTODIAN00036787
PX-2185    FB - Matthew-John Heimbach cover page                                        NOCUSTODIAN00036797     NOCUSTODIAN00036797
PX-2186    GAB - Post regarding James Fields                                            NOCUSTODIAN00036854     NOCUSTODIAN00036854
PX-2187    VK - Post by Burt C.                                                         NOCUSTODIAN00036857     NOCUSTODIAN00036857
PX-2188    SMS - Text message from Chris Cantwell                                       NOCUSTODIAN00036874     NOCUSTODIAN00036874
PX-2189    SMS - Text message from Chris Cantwell                                       NOCUSTODIAN00036910     NOCUSTODIAN00036910
PX-2190    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00036911     NOCUSTODIAN00036911
PX-2191    POST - Post by Chris Cantwell                                                NOCUSTODIAN00036918     NOCUSTODIAN00036918
PX-2192    TWITTER - Tweets by Matt Parrott                                             NOCUSTODIAN00036959     NOCUSTODIAN00036959
PX-2193    POST - Post by Chris Cantwell                                                NOCUSTODIAN00036971     NOCUSTODIAN00036971
PX-2194    PHOTO - Photo of Matt Parrott on August 12, 2017                             NOCUSTODIAN00036980     NOCUSTODIAN00036980
PX-2195    POST - Post by Dillon H.                                                     NOCUSTODIAN00037028     NOCUSTODIAN00037028
PX-2196    PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00037166     NOCUSTODIAN00037166
PX-2197    TWITTER – Tweets regarding Jeff Schoep                                       NOCUSTODIAN00037209     NOCUSTODIAN00037209
PX-2198    PHOTO - Photo of donations to Andrew Anglin                                  NOCUSTODIAN00037220     NOCUSTODIAN00037220
PX-2199    TWITTER – Tweets regarding Jeff Schoep                                       NOCUSTODIAN00037252     NOCUSTODIAN00037252
PX-2200    POST - National Socialist Movement group page                                NOCUSTODIAN00037255     NOCUSTODIAN00037255
PX-2201    PHOTO - Photo of interview with Jeff Schoep                                  NOCUSTODIAN00037265     NOCUSTODIAN00037265
PX-2202    TWITTER – Tweets by Jeff Schoep                                              NOCUSTODIAN00037384     NOCUSTODIAN00037384
PX-2203    POST - Post by Jeff Schoep                                                   NOCUSTODIAN00037409     NOCUSTODIAN00037409
PX-2204    POST - Post by Chris Cantwell                                                NOCUSTODIAN00037459     NOCUSTODIAN00037459
PX-2205    POST - Post by Robert S.                                                     NOCUSTODIAN00037472     NOCUSTODIAN00037472
PX-2206    TWITTER – Tweets regarding Jeff Schoep                                       NOCUSTODIAN00037496     NOCUSTODIAN00037496
PX-2207    PHOTO - Photo of Chris Cantwell at torch march on August 11, 2017            NOCUSTODIAN00037545     NOCUSTODIAN00037545
PX-2208    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00037546     NOCUSTODIAN00037546
PX-2209    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00037548     NOCUSTODIAN00037548
PX-2210    PHOTO - Photo of Nathan Damigo at Battle of Berkeley                         NOCUSTODIAN00037647     NOCUSTODIAN00037647
PX-2211    GAB- Matthew Heimbach profile page                                           NOCUSTODIAN00037674     NOCUSTODIAN00037674
PX-2212    PHOTO - Photo of torch march on August 11, 2017                              NOCUSTODIAN00037689     NOCUSTODIAN00037689
PX-2213    GAB- Matthew Heimbach post                                                   NOCUSTODIAN00037820     NOCUSTODIAN00037820
PX-2214    PHOTO - Unite the Right Flyer - "Join or Die."                               NOCUSTODIAN00037821     NOCUSTODIAN00037821
PX-2215    POST - Post by Matt Heimbach                                                 NOCUSTODIAN00038015     NOCUSTODIAN00038015
PX-2216    POST - Post by Chris Cantwell                                                NOCUSTODIAN00038048     NOCUSTODIAN00038048
PX-2217    PHOTO - Photo of TWP members on August 12, 2017                              NOCUSTODIAN00038062     NOCUSTODIAN00038062
PX-2218    GAB- Traditionalist Worker Party (@tradworker) post                          NOCUSTODIAN00038082     NOCUSTODIAN00038082
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 Ex. No.                                            Description                                                 Beginning Bates          End Bates
PX-2219    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038092     NOCUSTODIAN00038092
PX-2220    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038104     NOCUSTODIAN00038104
PX-2221    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038105     NOCUSTODIAN00038105
PX-2222    GAB- TradWorker post                                                                           NOCUSTODIAN00038107     NOCUSTODIAN00038107
PX-2223    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038115     NOCUSTODIAN00038115
PX-2224    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038120     NOCUSTODIAN00038120
PX-2225    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038139     NOCUSTODIAN00038139
PX-2226    PHOTO - United the Right Flyer - "They will not replace us"                                    NOCUSTODIAN00038226     NOCUSTODIAN00038226
PX-2227    POST - Post by Matt Heimbach                                                                   NOCUSTODIAN00038285     NOCUSTODIAN00038293
PX-2228    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038348     NOCUSTODIAN00038348
PX-2229    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038416     NOCUSTODIAN00038416
PX-2230    PHOTO - Photo of torch march on August 11, 2017                                                NOCUSTODIAN00038427     NOCUSTODIAN00038427
PX-2231    TWITTER- tweet by Christopher Cantwell to Molly C.                                             NOCUSTODIAN00038496     NOCUSTODIAN00038496
PX-2232    VK - Post by Matt Heimbach                                                                     NOCUSTODIAN00038556     NOCUSTODIAN00038556
PX-2233    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038625     NOCUSTODIAN00038625
PX-2234    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038628     NOCUSTODIAN00038628
PX-2235    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038632     NOCUSTODIAN00038632
PX-2236    VK - Post by Matt Heimbach                                                                     NOCUSTODIAN00038633     NOCUSTODIAN00038633
PX-2237    DISQUS - Cantwell Discord profile and discussion                                               NOCUSTODIAN00038635     NOCUSTODIAN00038642
PX-2238    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038708     NOCUSTODIAN00038708
PX-2239    PHOTO - Photo of counter-protestors on August 11, 2017                                         NOCUSTODIAN00038712     NOCUSTODIAN00038712
PX-2240    GAB - Matthew Heimbach post                                                                    NOCUSTODIAN00038724     NOCUSTODIAN00038724
PX-2241    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038726     NOCUSTODIAN00038726
PX-2242    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038727     NOCUSTODIAN00038727
PX-2243    POST - Post by Chris Cantwell                                                                  NOCUSTODIAN00038733     NOCUSTODIAN00038733
PX-2244    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038734     NOCUSTODIAN00038734
PX-2245    TWITTER - Twitter Feed of Radical Agenda                                                       NOCUSTODIAN00038807     NOCUSTODIAN00038813
PX-2246    VK - Post by Matt Heimbach                                                                     NOCUSTODIAN00038814     NOCUSTODIAN00038814
PX-2247    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038844     NOCUSTODIAN00038844
PX-2248    GAB - Post by Matt Heimbach                                                                    NOCUSTODIAN00038845     NOCUSTODIAN00038845
PX-2249    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038921     NOCUSTODIAN00038921
PX-2250    FB - Post by Christopher Cantwell                                                              NOCUSTODIAN00038946     NOCUSTODIAN00038946
PX-2251    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00038950     NOCUSTODIAN00038950
PX-2252    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00039049     NOCUSTODIAN00039049
PX-2253    TWITTER - Twitter Feed of @voteforcantwell                                                     NOCUSTODIAN00039058     NOCUSTODIAN00039061
PX-2254    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00039065     NOCUSTODIAN00039065
PX-2255    GAB- Matthew Heimbach post                                                                     NOCUSTODIAN00039146     NOCUSTODIAN00039146
PX-2256    PHOTO - Photo of Nathan Damigo at Berkeley                                                     NOCUSTODIAN00039147     NOCUSTODIAN00039147
PX-2257    FB - Facebook post by Steve M.                                                                 NOCUSTODIAN00039157     NOCUSTODIAN00039157
PX-2258    TWITTER – Tweets by Schoep                                                                     NOCUSTODIAN00039225     NOCUSTODIAN00039225
PX-2259    POST - Post by Chris Cantwell                                                                  NOCUSTODIAN00039261     NOCUSTODIAN00039314
PX-2260    TWITTER - Tweet by Commander Davis                                                             NOCUSTODIAN00039319     NOCUSTODIAN00039319
PX-2261    TWITTER - Tweets by C.Cantwell                                                                 NOCUSTODIAN00039333     NOCUSTODIAN00039333
PX-2262    TWITTER – Tweets by Heimbach (@MatthewWHeimbach)                                               NOCUSTODIAN00039335     NOCUSTODIAN00039335
PX-2263    PHOTO - Photo of Matthew Heimbach                                                              NOCUSTODIAN00039344     NOCUSTODIAN00039344
PX-2264    TWITTER – Tweets by Schoep                                                                     NOCUSTODIAN00039348     NOCUSTODIAN00039348
           PHOTO - Photo of Logo for Southern Nationalist Radio - Official Podcast of the League of the
PX-2265    South                                                                                          NOCUSTODIAN00039351     NOCUSTODIAN00039351
PX-2266    POST - Message board posts by Christopher Cantwell and others                                  NOCUSTODIAN00039355     NOCUSTODIAN00039355
PX-2267    VK - VK post by Jeff Schoep                                                                    NOCUSTODIAN00039357     NOCUSTODIAN00039357
PX-2268    TWITTER – Tweets by Heimbach (@MatthewHeimbach)                                                NOCUSTODIAN00039377     NOCUSTODIAN00039377
PX-2269    POST - Post by Jeff Schoep                                                                     NOCUSTODIAN00039378     NOCUSTODIAN00039378
PX-2270    DISC - Discord post with photo of individual in mask & helmet holding a shield                 NOCUSTODIAN00039398     NOCUSTODIAN00039398
PX-2271    PHOTO - Unite the Right Flyer                                                                  NOCUSTODIAN00039400     NOCUSTODIAN00039405
PX-2272    PHOTO - Photo of Jeff Sschoep                                                                  NOCUSTODIAN00039413     NOCUSTODIAN00039413
PX-2273    TWITTER – Tweets by Heimbach (@MatthewWHeimbach)                                               NOCUSTODIAN00039417     NOCUSTODIAN00039417
PX-2274    PHOTO - Photo of torch march on August 11, 2017                                                NOCUSTODIAN00039429     NOCUSTODIAN00039429
PX-2275    PHOTO - Photo of TWP members on August 12, 2017                                                NOCUSTODIAN00039430     NOCUSTODIAN00039430
PX-2276    IG - Chris Cantwell instagram page                                                             NOCUSTODIAN00039431     NOCUSTODIAN00039432
PX-2277    PHOTO - Photo of torch march on August 11, 2017                                                NOCUSTODIAN00039436     NOCUSTODIAN00039436
PX-2278    PHOTO - Photo of TWP members on August 12, 2017                                                NOCUSTODIAN00039457     NOCUSTODIAN00039457
PX-2279    PHOTO - Photo of protestors on August 12, 2017                                                 NOCUSTODIAN00039460     NOCUSTODIAN00039460
PX-2280    PHOTO - Photo of Michael Hill on August 12, 2017                                               NOCUSTODIAN00039788     NOCUSTODIAN00039788
PX-2281    POST - Post by Matt Heimbach                                                                   NOCUSTODIAN00039789     NOCUSTODIAN00039789
PX-2282    PHOTO - Photo of counterprotestors on August 11, 2017                                          NOCUSTODIAN00039790     NOCUSTODIAN00039790
PX-2283    PHOTO - Photo of car attack                                                                    NOCUSTODIAN00039794     NOCUSTODIAN00039794
PX-2284    PHOTO - Photo of Elliott Kline on August 12, 2017                                              NOCUSTODIAN00039795     NOCUSTODIAN00039795
PX-2285    POST - Post by Matt Parrott                                                                    NOCUSTODIAN00039797     NOCUSTODIAN00039836
PX-2286    PHOTO - Photo of protestors on August 12, 2017                                                 NOCUSTODIAN00039837     NOCUSTODIAN00039837
PX-2287    PHOTO - Photo of riot police on August 12, 2017                                                NOCUSTODIAN00039873     NOCUSTODIAN00039873
PX-2288    PHOTO - Photo of torch march on August 11, 2017                                                NOCUSTODIAN00039875     NOCUSTODIAN00039875
PX-2289    PHOTO - Photo of Elliott Kline on August 12, 2017                                              NOCUSTODIAN00039886     NOCUSTODIAN00039886
PX-2290    PHOTO - Photo of Elliott Kline on August 12, 2017                                              NOCUSTODIAN00039887     NOCUSTODIAN00039887
PX-2291    PHOTO - Photo of protestors on August 12, 2017                                                 NOCUSTODIAN00039894     NOCUSTODIAN00039894
PX-2292    PHOTO - Photo of protestors on August 12, 2017                                                 NOCUSTODIAN00039895     NOCUSTODIAN00039895
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PX-2293    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00039896     NOCUSTODIAN00039896
PX-2294    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00039897     NOCUSTODIAN00039897
PX-2295    PHOTO - Photo of TWP and Vanguard America members on August 12, 2017       NOCUSTODIAN00039900     NOCUSTODIAN00039900
PX-2296    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043002     NOCUSTODIAN00043002
PX-2297    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043004     NOCUSTODIAN00043004
PX-2298    PHOTO - Photo of protestors on August 12, 2017                             NOCUSTODIAN00043010     NOCUSTODIAN00043010
PX-2299    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043013     NOCUSTODIAN00043013
PX-2300    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043016     NOCUSTODIAN00043016
PX-2301    PHOTO - Photo of protestors on August 12, 2017                             NOCUSTODIAN00043022     NOCUSTODIAN00043022
PX-2302    TWITTER - Twitter Account for Chris Cantwell                               NOCUSTODIAN00043025     NOCUSTODIAN00043121
PX-2303    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043131     NOCUSTODIAN00043131
PX-2304    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043560     NOCUSTODIAN00043560
PX-2305    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043578     NOCUSTODIAN00043578
PX-2306    PHOTO - Photo of Elliott Kline on August 12, 2017                          NOCUSTODIAN00043589     NOCUSTODIAN00043589
PX-2307    PHOTO - Photo of TWP and Vanguard America members on August 12, 2017       NOCUSTODIAN00043604     NOCUSTODIAN00043604
PX-2308    PHOTO - Photo of counter-protestors on August 12, 2017                     NOCUSTODIAN00043621     NOCUSTODIAN00043621
PX-2309    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043631     NOCUSTODIAN00043631
PX-2310    PHOTO - Photo of TWP and Vanguard America members on August 12, 2017       NOCUSTODIAN00043652     NOCUSTODIAN00043652
PX-2311    PHOTO - Photo of counter-protestors with Cornell West on August 12, 2017   NOCUSTODIAN00043749     NOCUSTODIAN00043749
PX-2312    PHOTO - Photo of TWP and Vanguard America members on August 12, 2017       NOCUSTODIAN00043760     NOCUSTODIAN00043760
PX-2313    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043830     NOCUSTODIAN00043830
PX-2314    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043834     NOCUSTODIAN00043834
PX-2315    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043844     NOCUSTODIAN00043844
PX-2316    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043845     NOCUSTODIAN00043845
PX-2317    PHOTO - Photo of protestors on August 12, 2017                             NOCUSTODIAN00043846     NOCUSTODIAN00043846
PX-2318    PHOTO - Photo of protestors on August 12, 2017                             NOCUSTODIAN00043852     NOCUSTODIAN00043852
PX-2319    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043854     NOCUSTODIAN00043854
PX-2320    PHOTO - Photo of counter-protestors on August 12, 2017                     NOCUSTODIAN00043860     NOCUSTODIAN00043860
PX-2321    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043870     NOCUSTODIAN00043870
PX-2322    PHOTO - Photo of counter-protestors on August 12, 2017                     NOCUSTODIAN00043872     NOCUSTODIAN00043872
PX-2323    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043888     NOCUSTODIAN00043888
PX-2324    PHOTO - Photo of Elliott Kline on August 12, 2017                          NOCUSTODIAN00043897     NOCUSTODIAN00043897
PX-2325    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043900     NOCUSTODIAN00043900
PX-2326    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043902     NOCUSTODIAN00043902
PX-2327    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043911     NOCUSTODIAN00043911
PX-2328    PHOTO - Photo of Rotunda at the Unviersity of Virginia                     NOCUSTODIAN00043917     NOCUSTODIAN00043917
PX-2329    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043919     NOCUSTODIAN00043919
PX-2330    PHOTO - Photo of Elliott Kline on August 12, 2017                          NOCUSTODIAN00043931     NOCUSTODIAN00043931
PX-2331    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043938     NOCUSTODIAN00043938
PX-2332    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043945     NOCUSTODIAN00043945
PX-2333    PHOTO - Photo of riot police on August 12, 2017                            NOCUSTODIAN00043968     NOCUSTODIAN00043968
PX-2334    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00043977     NOCUSTODIAN00043977
PX-2335    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043978     NOCUSTODIAN00043978
PX-2336    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043979     NOCUSTODIAN00043979
PX-2337    PHOTO - Photo of counter-protestors on August 12, 2017                     NOCUSTODIAN00043981     NOCUSTODIAN00043981
PX-2338    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00043982     NOCUSTODIAN00043982
PX-2339    PHOTO - Photo of riot police on August 12, 2017                            NOCUSTODIAN00044001     NOCUSTODIAN00044001
PX-2340    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044010     NOCUSTODIAN00044010
PX-2341    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044016     NOCUSTODIAN00044016
PX-2342    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044022     NOCUSTODIAN00044022
PX-2343    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044030     NOCUSTODIAN00044030
PX-2344    PHOTO - Photo of torches at Thomas Jefferson statute                       NOCUSTODIAN00044032     NOCUSTODIAN00044032
PX-2345    PHOTO - Photo of Jason Kessler at torch march on August 11, 2017           NOCUSTODIAN00044043     NOCUSTODIAN00044043
PX-2346    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044044     NOCUSTODIAN00044044
PX-2347    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044070     NOCUSTODIAN00044070
PX-2348    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044075     NOCUSTODIAN00044075
PX-2349    PHOTO - Photo of August 12, 2017                                           NOCUSTODIAN00044077     NOCUSTODIAN00044077
PX-2350    PHOTO - Photo of "VA Students Act Against White Supremacy"                 NOCUSTODIAN00044091     NOCUSTODIAN00044091
PX-2351    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044114     NOCUSTODIAN00044114
PX-2352    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044123     NOCUSTODIAN00044123
PX-2353    PHOTO - Photo of torches at Thomas Jefferson statute                       NOCUSTODIAN00044154     NOCUSTODIAN00044154
PX-2354    PHOTO - Photo of police at Thomas Jefferson statute                        NOCUSTODIAN00044157     NOCUSTODIAN00044157
PX-2355    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044180     NOCUSTODIAN00044180
PX-2356    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044182     NOCUSTODIAN00044182
PX-2357    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044185     NOCUSTODIAN00044185
PX-2358    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044189     NOCUSTODIAN00044189
PX-2359    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044194     NOCUSTODIAN00044194
PX-2360    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044197     NOCUSTODIAN00044197
PX-2361    PHOTO - Photo of torch march on August 11, 2017                            NOCUSTODIAN00044199     NOCUSTODIAN00044199
PX-2362    PHOTO - Photo of torches at Thomas Jefferson statute                       NOCUSTODIAN00044200     NOCUSTODIAN00044200
PX-2363    VID - Kline Red Ice Interview                                              NOCUSTODIAN00044657     NOCUSTODIAN00044657
PX-2364    PHOTO - Photo of Nathan Damigo and RAM at Battle of Berkeley               NOCUSTODIAN00044661     NOCUSTODIAN00044661
PX-2365    PHOTO - Photo of Nathan Damigo at Battle of Berkeley                       NOCUSTODIAN00044663     NOCUSTODIAN00044663
PX-2366    PHOTO - Photo of Nathan Damigo at Battle of Berkeley                       NOCUSTODIAN00044665     NOCUSTODIAN00044665
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          ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "I Need a Break,        NOCUSTODIAN00044666     NOCUSTODIAN00044675
PX-2367   and Your Help"
PX-2368   VID - Video recording of League of the South members                                               NOCUSTODIAN00044677     NOCUSTODIAN00044677
PX-2369   POST - Post by Matt Parrott                                                                        NOCUSTODIAN00044680     NOCUSTODIAN00044680
PX-2370   POST - Post by Matt Parrott                                                                        NOCUSTODIAN00044681     NOCUSTODIAN00044681
PX-2371   POST - Post by Matt Parrott                                                                        NOCUSTODIAN00044682     NOCUSTODIAN00044682
PX-2372   TWITTER - Tweet by @TradWorker                                                                     NOCUSTODIAN00044683     NOCUSTODIAN00044683
PX-2373   PHOTO - Photo of Matt Parrott on August 12, 2017                                                   NOCUSTODIAN00044686     NOCUSTODIAN00044686
PX-2374   POST - Post by Matt Parrott                                                                        NOCUSTODIAN00044687     NOCUSTODIAN00044687
PX-2375   VK - Post by Matt Parrott                                                                          NOCUSTODIAN00044688     NOCUSTODIAN00044688
PX-2376   POST - Post by Matt Parrott                                                                        NOCUSTODIAN00044689     NOCUSTODIAN00044689
          ARTICLE - KPCC article by Olga R. Rodriguez entitled "White nationalists, protesters clash in
                                                                                                             NOCUSTODIAN00044691     NOCUSTODIAN00044691
PX-2377   Sacramento; 10 hurt"
PX-2378   VK - Post by Matt Parrott                                                                          NOCUSTODIAN00044694     NOCUSTODIAN00044694
          ARTICLE - TradeWorker article by Matt Parrott entitled, "Power Dynamics, Strategery, and
PX-2379   Charlottesville"                                                                                   NOCUSTODIAN00044697     NOCUSTODIAN00044703
          ARTICLE - Traditionalist Youth Network article by Matthew Parrott entitled, "RE: Kevin D.
                                                                                                             NOCUSTODIAN00044705     NOCUSTODIAN00044707
PX-2380   Williamson's Angry White Boys"
PX-2381   AUD - Audio recording of The Foundry Podcast, Episode 5                                            NOCUSTODIAN00044728     NOCUSTODIAN00044728
PX-2382   AUD - Audio recording of Mysterium Fasces podcast, Episode 35 - Charlottesville                    NOCUSTODIAN00044729     NOCUSTODIAN00044729
PX-2383   AUD - Audio recording of The Foundry Podcast, Episode 10                                           NOCUSTODIAN00044731     NOCUSTODIAN00044731
PX-2384   VID - Video recording of GoyTalk Live! podcast with Matt Parrott                                   NOCUSTODIAN00044733     NOCUSTODIAN00044733
PX-2385   ARTICLE - Vanguard America, Bloodandsoil.org article entitled, "America is Under Attack"           NOCUSTODIAN00044734     NOCUSTODIAN00044734
PX-2386   SIGNAL – Signal posts by white_powerstroke                                                         NOCUSTODIAN00044738     NOCUSTODIAN00044738
          ARTICLE - Vanguard America, Bloodandsoil.org article entitled, “On Charlottesville – why we        NOCUSTODIAN00044741     NOCUSTODIAN00044745
PX-2387   fight”
          ARTICLE - Vanguard America, Bloodandsoil.org article entitled “Vanguard Manifesto – Points         NOCUSTODIAN00044753     NOCUSTODIAN00044755
PX-2388   of the Vanguard”
PX-2389   PHOTO - Photo of James Fields with Vanguard members on August 12, 2017                             NOCUSTODIAN00044763     NOCUSTODIAN00044763
PX-2390   PHOTO - Photo of James Fields with Vanguard members on August 12, 2017                             NOCUSTODIAN00044781     NOCUSTODIAN00044781
PX-2391   VID - Video recording of Fields driving on 4th Street                                              NOCUSTODIAN00044810     NOCUSTODIAN00044810
PX-2392   VID - Video recording from August 12, 2017                                                         NOCUSTODIAN00044815     NOCUSTODIAN00044815
          DOC - State of North Carolina Limited Liability Company Annual Report form for Traditionalist
PX-2393   Worker Party National Committee, LLC                                                               NOCUSTODIAN00044954     NOCUSTODIAN00044954
PX-2394   TWITTER – Tweets by Parrott (@Parrott)                                                             NOCUSTODIAN00044955     NOCUSTODIAN00044955
PX-2395   DOC - Excel spreadsheet regardingTraditionalist Worker Party                                       NOCUSTODIAN00044956     NOCUSTODIAN00044956
PX-2396   GAB- Tony H. post                                                                                  NOCUSTODIAN00044957     NOCUSTODIAN00044957
PX-2397   TWITTER - Retweets by @Tradworker                                                                  NOCUSTODIAN00044958     NOCUSTODIAN00044958
          DOC - State of North Carolina Certificate of Administrative Dissolution of Traditionalist Worker
PX-2398   Party National Committee, LLC                                                                      NOCUSTODIAN00044960     NOCUSTODIAN00044960
PX-2399   TWITTER - Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00044962     NOCUSTODIAN00044962
PX-2400   PHOTO - Photo of Richard Spencer                                                                   NOCUSTODIAN00044963     NOCUSTODIAN00044963
PX-2401   TWITTER - Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00044964     NOCUSTODIAN00044964
PX-2402   GAB- Conversation between Tony H. and Azzmador                                                     NOCUSTODIAN00044965     NOCUSTODIAN00044965
PX-2403   TWITTER - Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00044966     NOCUSTODIAN00044966
PX-2404   PHOTO - Photo of Richard Spencer                                                                   NOCUSTODIAN00044967     NOCUSTODIAN00044967
PX-2405   TWITTER – Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00044968     NOCUSTODIAN00044968
PX-2406   TWITTER – Tweets by @GeorgeLewkcor                                                                 NOCUSTODIAN00044969     NOCUSTODIAN00044969
PX-2407   TWITTER - Comments by Parrott (@Parrott)                                                           NOCUSTODIAN00044970     NOCUSTODIAN00044970
PX-2408   TWITTER - Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00044971     NOCUSTODIAN00044971
PX-2409   TWITTER - Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00044972     NOCUSTODIAN00044972
PX-2410   TWITTER - Comments by Parrott (@MatthewParrott)                                                    NOCUSTODIAN00044973     NOCUSTODIAN00044973
PX-2411   DOC - Document containing list of Traditionalist Worker Party contributors from 2016               NOCUSTODIAN00044974     NOCUSTODIAN00044974
PX-2412   TWITTER- tweet by Richard Spencer                                                                  NOCUSTODIAN00044977     NOCUSTODIAN00044977
          DOC - State of North Carolina Limited Liability Company Articles of Organization form for
PX-2413   Traditionalist Worker Party National Committee, LLC                                                NOCUSTODIAN00044978     NOCUSTODIAN00044978
PX-2414   PHOTO - Photo of Richard Spencer doing the Nazi salute                                             NOCUSTODIAN00044981     NOCUSTODIAN00044981
PX-2415   TWITTER – Tweets by @TonyHovater                                                                   NOCUSTODIAN00044982     NOCUSTODIAN00044982
PX-2416   DISC - Post by Matthew Heimbach                                                                    NOCUSTODIAN00044983     NOCUSTODIAN00044983
PX-2417   PHOTO - Photo of Richard Spencer and Matt Heimbach on August 12, 2017                              NOCUSTODIAN00044985     NOCUSTODIAN00044985
PX-2418   GAB- Tony H. post                                                                                  NOCUSTODIAN00044986     NOCUSTODIAN00044986
PX-2419   PHOTO - Photo of individuals doing the Nazi salute                                                 NOCUSTODIAN00044987     NOCUSTODIAN00044987
          TWITTER – Tweets by Spencer (@RichardBSpencer)
PX-2420                                                                                                      NOCUSTODIAN00044988     NOCUSTODIAN00044988
PX-2421   TWITTER - Retweets by @Tradworker                                                                  NOCUSTODIAN00044989     NOCUSTODIAN00044989
PX-2422   FB - Comments to post by Derrick D.                                                                NOCUSTODIAN00044990     NOCUSTODIAN00044990
PX-2423   PHOTO - Photo of torch march on August 11, 2017                                                    NOCUSTODIAN00044992     NOCUSTODIAN00044992
PX-2424   TWITTER – Tweets by Heimbach (@MatthewHeimbach)                                                    NOCUSTODIAN00044994     NOCUSTODIAN00044994
PX-2425   PHOTO - Photo of Richard Spencer and Elliott Kline at DC Rally                                     NOCUSTODIAN00044995     NOCUSTODIAN00044995
PX-2426   GAB- Conversation between Matthew Heimbach and others                                              NOCUSTODIAN00044996     NOCUSTODIAN00044996
PX-2427   TWITTER – Tweets by Parrott (@Parrott)                                                             NOCUSTODIAN00044998     NOCUSTODIAN00044998
PX-2428   TWITTER – Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00045000     NOCUSTODIAN00045000
PX-2429   FILING - C.D. Cal Detention Hearing Minutes, United States v. Cole W.                              NOCUSTODIAN00045005     NOCUSTODIAN00045005
PX-2430   PHOTO - Photo of Thomas G. at Battle of Berkeley                                                   NOCUSTODIAN00045007     NOCUSTODIAN00045007
PX-2431   PHOTO - Photos of Mike M. on August 12, 2017                                                       NOCUSTODIAN00045010     NOCUSTODIAN00045010
PX-2432   TWITTER – Tweets by @AltCelt                                                                       NOCUSTODIAN00045016     NOCUSTODIAN00045016
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 Ex. No.                                               Description                                                Beginning Bates          End Bates
PX-2433    DISC - Posts by Matthew Parrott                                                                  NOCUSTODIAN00045019     NOCUSTODIAN00045019
PX-2434    TWITTER - Tweets by @EvanMcLaren                                                                 NOCUSTODIAN00045020     NOCUSTODIAN00045020
PX-2435    PHOTO - Photo of Matthew Heimbach with League of South                                           NOCUSTODIAN00045025     NOCUSTODIAN00045025
PX-2436    DISC - Posts by Matthew Parrott                                                                  NOCUSTODIAN00045026     NOCUSTODIAN00045026
PX-2437    POST - Post by Matthew Heimbach                                                                  NOCUSTODIAN00045027     NOCUSTODIAN00045027
PX-2438    PHOTO - Photo of Elliott Kline, Richard Spencer, and Nathan Damigo at Charlottesville 1.0        NOCUSTODIAN00045028     NOCUSTODIAN00045028
PX-2439    VID - Video recording of August 12 march at Lee Park                                             NOCUSTODIAN00045034     NOCUSTODIAN00045034
           DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker Party National
PX-2440    Committee                                                                                        NOCUSTODIAN00045035     NOCUSTODIAN00045035
           ARTICLE - Southern Poverty Law Center article by Ryan Lenz entitled, "Hatewatch Exclusive:
PX-2441    Heimbach says white nationalist ranks plagued by 'cowardice'"                                    NOCUSTODIAN00045042     NOCUSTODIAN00045045
PX-2442    TWITTER - Tweet by RAM                                                                           NOCUSTODIAN00045046     NOCUSTODIAN00045046
PX-2443    TWITTER- tweet by Richard Spencer                                                                NOCUSTODIAN00045048     NOCUSTODIAN00045048
           DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker Party National
PX-2444    Committee                                                                                        NOCUSTODIAN00045049     NOCUSTODIAN00045049
           DOC - FEC Form 1 - Statement of Organization - Traditionalist Worker Party National
PX-2445    Committee                                                                                        NOCUSTODIAN00045056     NOCUSTODIAN00045056
PX-2446    TWITTER – Tweets by Hovater (@GeorgeLewkcor)                                                     NOCUSTODIAN00045062     NOCUSTODIAN00045062
PX-2447    FILING - USA v. Cole W. - Statement of Offense                                                   NOCUSTODIAN00045063     NOCUSTODIAN00045066
PX-2448    GAB- Parrott post                                                                                NOCUSTODIAN00045067     NOCUSTODIAN00045067
PX-2449    TWITTER – Tweets by Heimbach (@MatthewWHeimbach)                                                 NOCUSTODIAN00045071     NOCUSTODIAN00045071
PX-2450    SMS - Richard Spencer to Wife                                                                    NOCUSTODIAN00045072     NOCUSTODIAN00045072
PX-2451    TWITTER – Tweets by Heimbach (@MatthewWHeimbach)                                                 NOCUSTODIAN00045073     NOCUSTODIAN00045073
PX-2452    AUD - Audio recording of conversation between Sergeant Tony N. and Jack P.                       NOCUSTODIAN00045076     NOCUSTODIAN00045076
PX-2453    GAB- Tony H. post                                                                                NOCUSTODIAN00045077     NOCUSTODIAN00045077
PX-2454    PHOTO - Photo of Matthew Heimbach at Michigan rally                                              NOCUSTODIAN00045093     NOCUSTODIAN00045093
PX-2455    DOC - Document regarding Rise Above Movement                                                     NOCUSTODIAN00045095     NOCUSTODIAN00045095
PX-2456    FB - Facebook post by Matt Parrott                                                               NOCUSTODIAN00045096     NOCUSTODIAN00045096
PX-2457    SMS - Richard Spencer to Wife                                                                    NOCUSTODIAN00045100     NOCUSTODIAN00045100
PX-2458    ARTICLE - Altright.com article entitled, "Masthead: Richard Spencer"                             NOCUSTODIAN00045102     NOCUSTODIAN00045105
PX-2459    PHOTO - Photo of Matthew Heimbach at Michigan rally                                              NOCUSTODIAN00045109     NOCUSTODIAN00045109
PX-2460    DOC - Document by The Nationalist Front                                                          NOCUSTODIAN00045110     NOCUSTODIAN00045110
PX-2461    PHOTO - Screenshot of The Foundary Episode 9 ft Will P.                                          NOCUSTODIAN00045111     NOCUSTODIAN00045111
PX-2462    DOC - FEC Form 3X for Traditionalist Worker Party National Committee                             NOCUSTODIAN00045114     NOCUSTODIAN00045114
PX-2463    TWITTER – Tweets by @Tradworker                                                                  NOCUSTODIAN00045121     NOCUSTODIAN00045121
PX-2464    PHOTO - Photo of TWP at rally in Pikeville                                                       NOCUSTODIAN00045122     NOCUSTODIAN00045122
PX-2465    SMS - Richard Spencer to Wife                                                                    NOCUSTODIAN00045123     NOCUSTODIAN00045123
PX-2466    FILING - USA v. Benjamin D., Mike M., Thomas G., and Cole W. - Indictment                        NOCUSTODIAN00045124     NOCUSTODIAN00045130
           ARTICLE - Courier Journal article by Matthew Glowicki entitled, "White nationalist has 'no
PX-2467    regrets,' pleads not guilty to harassment charge at Donald Trump rally"                          NOCUSTODIAN00045131     NOCUSTODIAN00045133
PX-2468    PHOTO - Photo of torch march on August 11, 2017                                                  NOCUSTODIAN00045134     NOCUSTODIAN00045134
PX-2469    PHOTO - Screenshot of video of Richard Spencer                                                   NOCUSTODIAN00045137     NOCUSTODIAN00045137
PX-2470    DOC - YouTube Page archive of "TWP Mid-Atlantic Chapter Meeting - Paddy T."                      NOCUSTODIAN00045139     NOCUSTODIAN00045139
PX-2471    FILING - Kessler v. City of Charlottesville, Complaint with Jury Demand                          NOCUSTODIAN00045141     NOCUSTODIAN00045141
PX-2472    DOC - Document regarding Traditionalist Worker Party                                             NOCUSTODIAN00045160     NOCUSTODIAN00045160
PX-2473    PHOTO - Screenshot of TWP video From August 12, 2017                                             NOCUSTODIAN00045161     NOCUSTODIAN00045161
PX-2474    GAB - Parrott post                                                                               NOCUSTODIAN00045162     NOCUSTODIAN00045162
PX-2475    PHOTO - Photo of Matthew Heimbach holding wooden cross                                           NOCUSTODIAN00045163     NOCUSTODIAN00045163
PX-2476    GAB - Parrott profile as of 3/19/2018                                                            NOCUSTODIAN00045164     NOCUSTODIAN00045164
PX-2477    PHOTO – Photo of August 12                                                                       NOCUSTODIAN00045165     NOCUSTODIAN00045165
PX-2478    PHOTO - Photo of Cole W. on August 12, 2017                                                      NOCUSTODIAN00045166     NOCUSTODIAN00045166
PX-2479    PHOTO - Photo of Joseph J. on August 12, 2017                                                    NOCUSTODIAN00045167     NOCUSTODIAN00045167
           ARTICLE - Herald Times Online article by Lauren Bavis entitled, "White nationalist group seeks
PX-2480    to form separate community in Paoli"                                                             NOCUSTODIAN00045170     NOCUSTODIAN00045170
PX-2481    TWITTER – Tweets by Schular (@xshularx)                                                          NOCUSTODIAN00045177     NOCUSTODIAN00045177
PX-2482    FB - Facebook post by Traditionalist Youth Network                                               NOCUSTODIAN00045178     NOCUSTODIAN00045178
PX-2483    PHOTO - Photo of Ben D. and Nathan Damigo at Battle of Berkeley                                  NOCUSTODIAN00045181     NOCUSTODIAN00045181
PX-2484    VK - From TradWorker - the main VK page for Tradworker                                           NOCUSTODIAN00045182     NOCUSTODIAN00045182
PX-2485    TWITTER – Tweets by @Tradworker                                                                  NOCUSTODIAN00045183     NOCUSTODIAN00045183

PX-2486 FILING - Nwanguma et al. v. Trump et al., Attachment to Answer of Matthew Warren Heimbach NOCUSTODIAN00045184               NOCUSTODIAN00045210

PX-2487    ARTICLE - Altright.com article by Richard Spencer entitled, "What It Means To Be Alt-Right"      NOCUSTODIAN00045211     NOCUSTODIAN00045211
PX-2488    PHOTO - Photo of men standing in "military formation"                                            NOCUSTODIAN00045229     NOCUSTODIAN00045229
PX-2489    AUD - Audio recording of Richard Spencer after A12                                               NOCUSTODIAN00045233     NOCUSTODIAN00045233
PX-2490    POST - Post by RAM (RiseAboveMovement)                                                           NOCUSTODIAN00045234     NOCUSTODIAN00045234
PX-2491    DOC - Virginia Uniform Summons for David P.                                                      NOCUSTODIAN00045235     NOCUSTODIAN00045235
PX-2492    PHOTO - Photo of Vasillios P. on August 12, 2017                                                 NOCUSTODIAN00045236     NOCUSTODIAN00045236
           ARTICLE - Traditionalist Youth Network article by Thomas B. entitled, "TradYouth on a
PX-2493    Mission: Fighting for Faith, Folk, and Family"                                                   NOCUSTODIAN00045238     NOCUSTODIAN00045246
           ARTICLE - National Policy Institute article by Richard Spencer entitled, "A Statement on Eli
PX-2494    Mosley"                                                                                          NOCUSTODIAN00045249     NOCUSTODIAN00045251
PX-2495    TWITTER – Tweets by Heimbach (@MatthewHeimbach)                                                  NOCUSTODIAN00045253     NOCUSTODIAN00045253
           ARTICLE - Altright.com article by Vincent Law entitled, "The 'Unite The Right' Rally Is Going
PX-2496    To Be A Turning Point For White Identity In America"                                             NOCUSTODIAN00045264     NOCUSTODIAN00045278
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        ARTICLE - National Policy Institute article by Roger Devlin and Richard Spencer entitled,
PX-2497 "Race 101"                                                                                           NOCUSTODIAN00045289     NOCUSTODIAN00045315

PX-2498   ARTICLE - AltRight.com article by Vincent Law entitled, "The Alt-Right Is Finished Debating"       NOCUSTODIAN00045307     NOCUSTODIAN00045316
PX-2499   GAB- Conversation between Matthew Heimbach and others                                              NOCUSTODIAN00045317     NOCUSTODIAN00045317
PX-2500   TWITTER - Tweets by Spencer (@RichardBSpencer)                                                     NOCUSTODIAN00045318     NOCUSTODIAN00045318
PX-2501   POST - Post by Vasillios P.                                                                        NOCUSTODIAN00045326     NOCUSTODIAN00045326
PX-2502   PHOTO - Photos of Cole W. at Battle of Berkeley                                                    NOCUSTODIAN00045327     NOCUSTODIAN00045327
PX-2503   PHOTO - Screenshot of video from August 12, 2017                                                   NOCUSTODIAN00045343     NOCUSTODIAN00045343
PX-2504   PHOTO - Photo of Vasillios P.                                                                      NOCUSTODIAN00045344     NOCUSTODIAN00045344
PX-2505   TWITTER - Tweets by @Suarez_CM                                                                     NOCUSTODIAN00045345     NOCUSTODIAN00045345
PX-2506   VID - Video recording of DC "glitterbomb"                                                          NOCUSTODIAN00045347     NOCUSTODIAN00045347
          ARTICLE - Light Upon Light article by Matt Heimbach entitled, "In From the Cold: Why I Left
PX-2507   White Nationalism"                                                                                 NOCUSTODIAN00045378     NOCUSTODIAN00045386
PX-2508   PHOTO - Photo of NSM members holding banner                                                        NOCUSTODIAN00045399     NOCUSTODIAN00045399
PX-2509   VID - Video recording of Richard Spencer's Periscope                                               NOCUSTODIAN00045400     NOCUSTODIAN00045400
PX-2510   TWITTER – Tweets by Heimbach (@MatthewHeimbach)                                                    NOCUSTODIAN00045401     NOCUSTODIAN00045401

PX-2511   VID - Video recording of Video recording of White supremacists at Michigan State University        NOCUSTODIAN00045402     NOCUSTODIAN00045402
PX-2512   VID - Video recording of Tradworker torch march                                                    NOCUSTODIAN00045447     NOCUSTODIAN00045447
PX-2513   WEB - Radio Albion - The Daily Traditionalist: Jewish Drug Peddlers in Modern Medicine             NOCUSTODIAN00045448     NOCUSTODIAN00045450
PX-2514   VID - Video recording of Milo Y., Richard Spencer in Charlottesville                               NOCUSTODIAN00045451     NOCUSTODIAN00045451
PX-2515   VID - Video recording of Richard Spencer - Periscope Broadcast                                     NOCUSTODIAN00045452     NOCUSTODIAN00045452
PX-2516   VID - Video recording of August 12, 2017                                                           NOCUSTODIAN00045453     NOCUSTODIAN00045453
PX-2517   AUD - Audio recording of RWW News with Richard Spencer                                             NOCUSTODIAN00045456     NOCUSTODIAN00045456
PX-2518   WEB - Radio Albion - The Daily Traditionalist: Capitalism is the New Colonialism                   NOCUSTODIAN00045458     NOCUSTODIAN00045458
PX-2519   PHOTO - Screenshot of video of Sean N.                                                             NOCUSTODIAN00045527     NOCUSTODIAN00045527
PX-2520   PHOTO - Screenshot of video of Pikesville rally                                                    NOCUSTODIAN00045528     NOCUSTODIAN00045528
PX-2521   VID - Video recording of Richard Spencer's Periscope                                               NOCUSTODIAN00045529     NOCUSTODIAN00045529
PX-2522   VID - Video recording of Richard Spencer interview                                                 NOCUSTODIAN00045542     NOCUSTODIAN00045542
PX-2523   VID - Video recording of Torch March                                                               NOCUSTODIAN00045543     NOCUSTODIAN00045543
          ARTICLE - The New York Times article entitled, "Far-Right Groups Surge Into National View
PX-2524   in Charlottesville" by Richard Fausset and Alan Feuer                                              NOCUSTODIAN00045544     NOCUSTODIAN00045548
          ARTICLE - AltRight.com article by Richard Spencer entitled, "A Note On The Charlottesville
PX-2525   Statement"                                                                                         NOCUSTODIAN00045549     NOCUSTODIAN00045556
PX-2526   VID - Video recording of Richard Spencer posting on Discord (from Periscope)                       NOCUSTODIAN00045557     NOCUSTODIAN00045557
PX-2527   VID - Video recording of Periscope "A message for Charlottesville"                                 NOCUSTODIAN00045625     NOCUSTODIAN00045625
PX-2528   AUD - Audio recording of Reveal podcast with Richard Spencer                                       NOCUSTODIAN00045626     NOCUSTODIAN00045626
PX-2529   VID - Video recording of young Black woman pushed by attendees at Trump rally                      NOCUSTODIAN00045627     NOCUSTODIAN00045627
PX-2530   VID - Video recording of Unicorn Riot video, rapid questions with Matthew Heimbach                 NOCUSTODIAN00045628     NOCUSTODIAN00045628
          VID - Video recording of Local 12 (Cincinnati) report on "White separatist from Cincinnati calls
PX-2531   for more protests after Charlottesville terror"                                                    NOCUSTODIAN00045629     NOCUSTODIAN00045629
PX-2532   VID - Video recording of Richard Spencer                                                           NOCUSTODIAN00045630     NOCUSTODIAN00045630
PX-2533   VID - Video recording of August 12 march at Lee Park TWP promotion                                 NOCUSTODIAN00045631     NOCUSTODIAN00045631
PX-2534   VID - Video recording of USAToday recap of march and interview with Heimbach                       NOCUSTODIAN00045632     NOCUSTODIAN00045632
PX-2535   AUD - Audio recording of Alt-Right Politics podcast with Richard Spencer                           NOCUSTODIAN00045633     NOCUSTODIAN00045633
          AUD - Audio recording of The Daily Traditionalist podcast with Matthew Heimbach and Tony
PX-2536   Hovater                                                                                            NOCUSTODIAN00045634     NOCUSTODIAN00045634
PX-2537   FILING - Commonwealth vs. Heimbach - Compilation of filings in criminal case                       NOCUSTODIAN00045635     NOCUSTODIAN00045744
PX-2538   VID - Video recording of August 11 March prior to clearing of Emancipation Park                    NOCUSTODIAN00045745     NOCUSTODIAN00045745
PX-2539   AUD - Audio recording on AltRight.com: "What Berkeley Means"                                       NOCUSTODIAN00045746     NOCUSTODIAN00045746
PX-2540   VID - Video recording by Washington Post                                                           NOCUSTODIAN00045747     NOCUSTODIAN00045747

PX-2541   VID - Video recording of ABC News coverage of Texas A&M protesting White Nationalists              NOCUSTODIAN00045748     NOCUSTODIAN00045748
PX-2542   VID - Video recording of NowThis - "Who is Richard Spencer"                                        NOCUSTODIAN00045749     NOCUSTODIAN00045749
PX-2543   VID - Video recording of Light Upon Life Shapeshifters - Matthew Heimbach                          NOCUSTODIAN00045750     NOCUSTODIAN00045750
PX-2544   VID - Video recording of Video recording of Richard Spencer                                        NOCUSTODIAN00045751     NOCUSTODIAN00045751
PX-2545   VID - Video recording of Heimbach and Spencer describing beliefs to 20/20                          NOCUSTODIAN00045752     NOCUSTODIAN00045752
PX-2546   AUD - Audio recording of The War Room podcast, Episode 49                                          NOCUSTODIAN00045753     NOCUSTODIAN00045753
PX-2547   AUD - Audio recording of Action! Podcast, Episode 4                                                NOCUSTODIAN00045754     NOCUSTODIAN00045754
PX-2548   AUD - Audio recording of Action! Podcast, Episode 7                                                NOCUSTODIAN00045755     NOCUSTODIAN00045755
PX-2549   AUD - Audio recording of Action! Podcast, Episode 5                                                NOCUSTODIAN00045757     NOCUSTODIAN00045757
PX-2550   VID - Video recording of Augustus Invictus August 11 FB video                                      NOCUSTODIAN00045758     NOCUSTODIAN00045758
PX-2551   VID - Video recording of Spencer "Night before Charlottesville" recap video after torch rally      NOCUSTODIAN00045759     NOCUSTODIAN00045759
PX-2552   AUD - Audio recording of Action! Podcast, Episode 2                                                NOCUSTODIAN00045760     NOCUSTODIAN00045760
PX-2553   AUD - Audio recording of The Spencer's Clubhouse                                                   NOCUSTODIAN00045761     NOCUSTODIAN00045761
          VID - Video recording of ABC 20/20 Fractured America: Extremism In the Streets (Full
PX-2554   Documentary)                                                                                       NOCUSTODIAN00045762     NOCUSTODIAN00045762
PX-2555   AUD - Audio recording of Action! Podcast, Episode 8                                                NOCUSTODIAN00045763     NOCUSTODIAN00045763
PX-2556   AUD - Audio recording of Between Two Lampshades                                                    NOCUSTODIAN00045764     NOCUSTODIAN00045764
PX-2557   AUD - Audio recording of The Right Voice podcast                                                   NOCUSTODIAN00045765     NOCUSTODIAN00045765
PX-2558   AUD - Audio recording of Action! Podcast, Episode 6                                                NOCUSTODIAN00045766     NOCUSTODIAN00045766
PX-2559   VID - Video recording "We are going to occupy space"                                               NOCUSTODIAN00045767     NOCUSTODIAN00045767
          VID - Video recording of ABC Nightly News coverage of "Young and Racist White Separatist
PX-2560   Movement's Rising Star"                                                                            NOCUSTODIAN00045768     NOCUSTODIAN00045768
PX-2561   VID - Video recording of ABC News "Who are white nationalists and antifa?"                         NOCUSTODIAN00045771     NOCUSTODIAN00045771
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PX-2562    VID - Video recording of Damigo rally speech                                                 NOCUSTODIAN00045772     NOCUSTODIAN00045772
PX-2563    VID - Video recording of Richard Spencer                                                     NOCUSTODIAN00045773     NOCUSTODIAN00045773
PX-2564    VID - Video recording of The Foundry Episode 9 featuring Will Planer                         NOCUSTODIAN00045776     NOCUSTODIAN00045776
PX-2565    VID - Video recording of Richard Spencer discussing protest                                  NOCUSTODIAN00045777     NOCUSTODIAN00045777
           AUD - Audio recording of Nordic Frontier #31: Matthew Heimbach and the Charlottesville
PX-2566    Aftermath                                                                                    NOCUSTODIAN00045778     NOCUSTODIAN00045778
PX-2567    VID - Video recording of main speech under tent, Charlottesville 1.0                         NOCUSTODIAN00045781     NOCUSTODIAN00045781
PX-2568    VID - Video recording of Richard Spencer walking at UTR                                      NOCUSTODIAN00045782     NOCUSTODIAN00045782
PX-2569    VID - Video recording of Goy Talk LIVE Ft Augustus Sol Invictus and Richard Spencer          NOCUSTODIAN00045783     NOCUSTODIAN00045783
PX-2570    VID - Video recording of Alldayeveryday Film "Age of Rage"                                   NOCUSTODIAN00045784     NOCUSTODIAN00045784
PX-2571    POST - Post by Chris Cantwell                                                                NOCUSTODIAN00045786     NOCUSTODIAN00045786
PX-2572    TWITTER – Tweets by Vasillios P.                                                             NOCUSTODIAN00045787     NOCUSTODIAN00045787
PX-2573    TWITTER – Tweets by @Gopnik_Gestapo                                                          NOCUSTODIAN00045788     NOCUSTODIAN00045788
PX-2574    POST - Post by Chris Cantwell                                                                NOCUSTODIAN00045790     NOCUSTODIAN00045790
PX-2575    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045791     NOCUSTODIAN00045791
PX-2576    POST - Post by Vasillios P.                                                                  NOCUSTODIAN00045793     NOCUSTODIAN00045793
PX-2577    PHOTO - Photo of torch march on August 11, 2017                                              NOCUSTODIAN00045794     NOCUSTODIAN00045794
PX-2578    FB - Facebook post by Christopher Cantwell                                                   NOCUSTODIAN00045795     NOCUSTODIAN00045795
PX-2579    PHOTO - Photo of Benjamin D. in Berkeley, fighting over banner                               NOCUSTODIAN00045796     NOCUSTODIAN00045796
PX-2580    PHOTO - Photo of Vasilis Pi. at torch march on August 11, 2017                               NOCUSTODIAN00045797     NOCUSTODIAN00045797
PX-2581    GAB- Chirstopher Cantwell post                                                               NOCUSTODIAN00045800     NOCUSTODIAN00045800
PX-2582    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045802     NOCUSTODIAN00045802
PX-2583    PHOTO - Photo of Benjamin D. on August 12, 2017                                              NOCUSTODIAN00045803     NOCUSTODIAN00045803
PX-2584    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045806     NOCUSTODIAN00045806
PX-2585    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045807     NOCUSTODIAN00045807
PX-2586    ARTICLE - Anti-Defamation League article entitled, "88"                                      NOCUSTODIAN00045808     NOCUSTODIAN00045809
PX-2587    POST - Post by Vasillios P.                                                                  NOCUSTODIAN00045810     NOCUSTODIAN00045810
PX-2588    GAB - Post by Rise Above Movement (RAM)                                                      NOCUSTODIAN00045812     NOCUSTODIAN00045812
PX-2589    DISC - Post by Matthew Heimbach                                                              NOCUSTODIAN00045813     NOCUSTODIAN00045813
PX-2590    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045816     NOCUSTODIAN00045816
PX-2591    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045817     NOCUSTODIAN00045817
PX-2592    PHOTO - Photo of James Fields with Vanguard members on August 12, 2017                       NOCUSTODIAN00045821     NOCUSTODIAN00045821
PX-2593    PHOTO - Photo of James Fields with Vanguard members on August 12, 2017                       NOCUSTODIAN00045823     NOCUSTODIAN00045823
PX-2594    PHOTO - Photo of Chris Cantwell on August 11, 2017                                           NOCUSTODIAN00045824     NOCUSTODIAN00045824
PX-2595    POST - Post by Chris Cantwell                                                                NOCUSTODIAN00045825     NOCUSTODIAN00045825
PX-2596    POST - Post by Vasillios P.                                                                  NOCUSTODIAN00045827     NOCUSTODIAN00045827
PX-2597    PHOTO - Photo of Nigel K. on August 12, 2017                                                 NOCUSTODIAN00045828     NOCUSTODIAN00045828
PX-2598    ARTICLE - Anti-Defamation League article entitled, "Atomwaffen Division"                     NOCUSTODIAN00045829     NOCUSTODIAN00045830
PX-2599    TWITTER- tweet by National Skeleton (@Gopnik_Gestapo)                                        NOCUSTODIAN00045831     NOCUSTODIAN00045831
PX-2600    PHOTO - Photo of Benjamin D. at Berkeley                                                     NOCUSTODIAN00045832     NOCUSTODIAN00045832
PX-2601    DOC - "Our Fight Clothing Co." Blog post list                                                NOCUSTODIAN00045833     NOCUSTODIAN00045838
PX-2602    PHOTO - Photo of Benjamin D. at Battle of Berkeley                                           NOCUSTODIAN00045839     NOCUSTODIAN00045839
PX-2603    DISC - Post by Vasillios P.                                                                  NOCUSTODIAN00045840     NOCUSTODIAN00045840
PX-2604    DISC - Posts by Matthew Parrott                                                              NOCUSTODIAN00045841     NOCUSTODIAN00045841
PX-2605    DISC - Post by Vasillios P.                                                                  NOCUSTODIAN00045844     NOCUSTODIAN00045844
PX-2606    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045845     NOCUSTODIAN00045845
PX-2607    PHOTO - Photo of Vasillios P. on August 12, 2017                                             NOCUSTODIAN00045846     NOCUSTODIAN00045846
PX-2608    DISQUS - Profile of "Vasillios" on Disqus                                                    NOCUSTODIAN00045847     NOCUSTODIAN00045847
PX-2609    PHOTO - Screenshot of VICE video of Chris Cantwell holding a gun                             NOCUSTODIAN00045848     NOCUSTODIAN00045848
PX-2610    PHOTO - Screenshot of Radical Agenda Pocast, Episdoe 318 - Political Violence                NOCUSTODIAN00045849     NOCUSTODIAN00045849
PX-2611    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045858     NOCUSTODIAN00045858
PX-2612    POST - Post by Chris Cantwell                                                                NOCUSTODIAN00045859     NOCUSTODIAN00045859
PX-2613    TWITTER – Tweets by @Gopnik_Gestapo                                                          NOCUSTODIAN00045860     NOCUSTODIAN00045860
PX-2614    PHOTO - Mugshot for Michael C.                                                               NOCUSTODIAN00045862     NOCUSTODIAN00045862
PX-2615    POST - Post by Chris Cantwell                                                                NOCUSTODIAN00045863     NOCUSTODIAN00045863
PX-2616    PHOTO - Photo of Benjamin D. at Battle of Berkeley                                           NOCUSTODIAN00045864     NOCUSTODIAN00045864
PX-2617    PHOTO - Photo of Benjamin D.                                                                 NOCUSTODIAN00045865     NOCUSTODIAN00045865
PX-2618    PHOTO - Photo of Benjamin D. at Battle of Berkeley                                           NOCUSTODIAN00045866     NOCUSTODIAN00045866
PX-2619    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045892     NOCUSTODIAN00045892
PX-2620    PHOTO - Photo of Benjamin D.                                                                 NOCUSTODIAN00045895     NOCUSTODIAN00045895
PX-2621    TWITTER – Tweets by @Gopnik_Gestapo                                                          NOCUSTODIAN00045896     NOCUSTODIAN00045896
PX-2622    GAB- Post by Vasillios P.                                                                    NOCUSTODIAN00045910     NOCUSTODIAN00045910
PX-2623    FB - Facebook post by Vasillios P.                                                           NOCUSTODIAN00045912     NOCUSTODIAN00045912
PX-2624    FILING - Judgement, United States of America v. Benjamin D.                                  NOCUSTODIAN00045913     NOCUSTODIAN00045919
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Radical Agenda
PX-2625    S05E030 - A Violent Clash Ensued"                                                            NOCUSTODIAN00045920     NOCUSTODIAN00045925
PX-2626    PHOTO - Photo of Benjamin D., Elliott Kline, and Mike M. on August 12, 2017                  NOCUSTODIAN00045933     NOCUSTODIAN00045933
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Letters from a
PX-2627    Virginia Prison - Alex Michael Ramos 20181210"                                               NOCUSTODIAN00045934     NOCUSTODIAN00045935
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Radical Agenda
PX-2628    S05E024 - Libertarian White Supremacy"                                                       NOCUSTODIAN00045936     NOCUSTODIAN00045946
PX-2629    PHOTO - Photo of August 12, 2017                                                             NOCUSTODIAN00045947     NOCUSTODIAN00045947
PX-2630    GAB- Christopher Cantwell post                                                               NOCUSTODIAN00045957     NOCUSTODIAN00045957
PX-2631    TWITTER- tweet by National Skeleton (@Gopnik_Gestapo)                                        NOCUSTODIAN00045958     NOCUSTODIAN00045958
PX-2632    POST - Post by Chris Cantwell (@followchris)                                                 NOCUSTODIAN00045959     NOCUSTODIAN00045959
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 Ex. No.                                             Description                                                 Beginning Bates          End Bates
PX-2633    NEWS - Southern Poverty Law Center article entitled, "Christopher Cantwell"                     NOCUSTODIAN00045965     NOCUSTODIAN00045973
PX-2634    FB - Post by Christopher Cantwell                                                               NOCUSTODIAN00045974     NOCUSTODIAN00045974
PX-2635    TWITTER – Tweets by @Gopnik_Gestapo                                                             NOCUSTODIAN00045975     NOCUSTODIAN00045975
PX-2636    PHOTO - Photo of Benjamin D., Elliott Kline, and Mike M. on August 12, 2017                     NOCUSTODIAN00045976     NOCUSTODIAN00045976
PX-2637    PHOTO - Photo of Michael C. in Court                                                            NOCUSTODIAN00045977     NOCUSTODIAN00045977
PX-2638    TWITTER- tweet by National Skeleton (@Gopnik_Gestapo)                                           NOCUSTODIAN00045978     NOCUSTODIAN00045978
PX-2639    TWITTER- tweet by National Skeleton (@Gopnik_Gestapo)                                           NOCUSTODIAN00045979     NOCUSTODIAN00045979
PX-2640    FB - Facebook post with message to Nigel K.                                                     NOCUSTODIAN00045980     NOCUSTODIAN00045980
           ARTICLE - PBS article by A.C. Thompson entitled, "An Alarming Tip About a Neo-Nazi
PX-2641    Marine, Then an Uncertain Response"                                                             NOCUSTODIAN00045984     NOCUSTODIAN00045988
PX-2642    PHOTO - Photo of Benjamin D. in Huntington Beach                                                NOCUSTODIAN00045990     NOCUSTODIAN00045990
           ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "The Krypto Report -
PX-2643    Episode XXII: The Charlottesville Putsch [UPDATE: RE-UPLOADED]"                                 NOCUSTODIAN00045991     NOCUSTODIAN00045997
PX-2644    POST - Post by Chris Cantwell                                                                   NOCUSTODIAN00045999     NOCUSTODIAN00045999
PX-2645    TWITTER – Tweets by @Gopnik_Gestapo                                                             NOCUSTODIAN00046000     NOCUSTODIAN00046000
PX-2646    POST - Post by Chris Cantwell                                                                   NOCUSTODIAN00046001     NOCUSTODIAN00046001
PX-2647    TWITTER – Tweets by @Gopnik_Gestapo                                                             NOCUSTODIAN00046002     NOCUSTODIAN00046002
PX-2648    TWITTER – Tweets by @Gopnik_Gestapo                                                             NOCUSTODIAN00046003     NOCUSTODIAN00046003
PX-2649    TWITTER – Tweets by @Gopnik_Gestapo                                                             NOCUSTODIAN00046005     NOCUSTODIAN00046005
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Radical Agenda
PX-2650    EP315 - Tara McCarthy & Azzmador"                                                               NOCUSTODIAN00046006     NOCUSTODIAN00046014
PX-2651    PHOTO - Screenshot of video game                                                                NOCUSTODIAN00046015     NOCUSTODIAN00046015
PX-2652    FB - Facebook profile of Vasillios P.                                                           NOCUSTODIAN00046016     NOCUSTODIAN00046016
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Radical Agenda
PX-2653    S04E010 - Taxing Truth"                                                                         NOCUSTODIAN00046017     NOCUSTODIAN00046019
PX-2654    TWITTER – Tweets by @Gopnik_Gestapo                                                             NOCUSTODIAN00046020     NOCUSTODIAN00046020
PX-2655    FILING - Plea Agreement, United States of America v. Benjamin D.                                NOCUSTODIAN00046022     NOCUSTODIAN00046033
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Agreeing With
PX-2656    Liberals Blitzkrieg"                                                                            NOCUSTODIAN00046034     NOCUSTODIAN00046038
PX-2657    ARTICLE - Anti-Defamation League article entitled, "Daily Stormer Book Clubs (SBC)"             NOCUSTODIAN00046041     NOCUSTODIAN00046054
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Radical Agenda
PX-2658    S05E031 - Cowards"                                                                              NOCUSTODIAN00046055     NOCUSTODIAN00046066
PX-2659    TWEET - Tweet from Rise Above Movement (RAM)                                                    NOCUSTODIAN00046067     NOCUSTODIAN00046067
PX-2660    FB - Facebook post by Vasillios P.                                                              NOCUSTODIAN00046084     NOCUSTODIAN00046084
PX-2661    PHOTO - Photo of torch march on August 11, 2017                                                 NOCUSTODIAN00046085     NOCUSTODIAN00046085
PX-2662    TWITTER - Account Header for Vasillios P.                                                       NOCUSTODIAN00046086     NOCUSTODIAN00046086
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "Outlaw
PX-2663    Conservative S01E000 Introduction"                                                              NOCUSTODIAN00046115     NOCUSTODIAN00046124
           ARTICLE - Radical Agenda website article by Christopher Cantwell entitled, "This is Not About
PX-2664    Optics"                                                                                         NOCUSTODIAN00046125     NOCUSTODIAN00046128
           ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Regarding Tennessee White Lives
PX-2665    Matter March Tomorrow (And the Drama Surrounding It)"                                           NOCUSTODIAN00046152     NOCUSTODIAN00046179
PX-2666    PHOTO - Photo of torch march on August 11, 2017                                                 NOCUSTODIAN00046180     NOCUSTODIAN00046180
           ARTICLE - Radical Agenda article by Christopher Cantwell entitled, "The Contents of My Body
PX-2667    Camera From Charlottesville"                                                                    NOCUSTODIAN00046182     NOCUSTODIAN00046186
           ARTICLE - Daily Stormer article by Robert Azzmador Ray (with Andrew Anglin) entitled,
PX-2668    "Charlottesville: Why You Must Attend and What to Bring and Not to Bring!"                      NOCUSTODIAN00046190     NOCUSTODIAN00046208
PX-2669    PHOTO - Photo of torch march on August 11, 2017                                                 NOCUSTODIAN00046209     NOCUSTODIAN00046209
PX-2670    DISC - Post by Vasillios P.                                                                     NOCUSTODIAN00046211     NOCUSTODIAN00046211
           ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "The Road to
PX-2671    Charlottesville and the Shuttening"                                                             NOCUSTODIAN00046212     NOCUSTODIAN00046223
PX-2672    PHOTO - Photo of Matthew Heimbach                                                               NOCUSTODIAN00046224     NOCUSTODIAN00046224
PX-2673    DOC - Exhibit List of the United States, United States of America v. Benjamin D.                NOCUSTODIAN00046225     NOCUSTODIAN00046244
PX-2674    PHOTO - Photo of Benjamin D. at San Bernadino                                                   NOCUSTODIAN00046244     NOCUSTODIAN00046244
PX-2675    PHOTO - Photo of Benjamin D. on August 12, 2017                                                 NOCUSTODIAN00046245     NOCUSTODIAN00046245
PX-2676    PHOTO – Photo of August 11                                                                      NOCUSTODIAN00046247     NOCUSTODIAN00046247
PX-2677    PHOTO - Photo of Vasillios P. on August 12, 2017                                                NOCUSTODIAN00046249     NOCUSTODIAN00046249
PX-2678    PHOTO - Photo of August 12, 2017                                                                NOCUSTODIAN00046253     NOCUSTODIAN00046253
PX-2679    PHOTO - Screenshot of video of Chris Cantwell                                                   NOCUSTODIAN00046254     NOCUSTODIAN00046254
PX-2680    PHOTO - Photo of torch march on August 11, 2017                                                 NOCUSTODIAN00046255     NOCUSTODIAN00046255
PX-2681    PHOTO - Photo of Benjamin D. at torch march on August 11, 2017                                  NOCUSTODIAN00046256     NOCUSTODIAN00046256
PX-2682    PHOTO - Photo of torch march on August 11, 2017                                                 NOCUSTODIAN00046258     NOCUSTODIAN00046258
PX-2683    PHOTO - Photo of Vasillios P. on August 12, 2017                                                NOCUSTODIAN00046259     NOCUSTODIAN00046259
PX-2684    PHOTO - Photo of Ben D. in Berkeley                                                             NOCUSTODIAN00046260     NOCUSTODIAN00046260
PX-2685    PHOTO - Photo of Vasillios P. on August 11, 2017                                                NOCUSTODIAN00046273     NOCUSTODIAN00046273
PX-2686    PHOTO - Photo of Vasillios P. on August 12, 2017                                                NOCUSTODIAN00046274     NOCUSTODIAN00046274
PX-2687    PHOTO - Photo of Vasillios P. on August 12, 2017                                                NOCUSTODIAN00046275     NOCUSTODIAN00046275
PX-2688    PHOTO - Photo of Vasillios P. on August 12, 2017                                                NOCUSTODIAN00046277     NOCUSTODIAN00046277
PX-2689    PHOTO - Screenshot of VICE video of torch march at Thomas Jefferson statute                     NOCUSTODIAN00046278     NOCUSTODIAN00046278
           ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Daily Stormer's Top 20 Stories of
PX-2690    2017"                                                                                           NOCUSTODIAN00046279     NOCUSTODIAN00046312
           FILING - Photos contained in Sentencing Memorandum of the United States, United States of
PX-2691    America v. Benjamin D.                                                                          NOCUSTODIAN00046314     NOCUSTODIAN00046345
PX-2692    PHOTO - Photo of August 12, 2017                                                                NOCUSTODIAN00046354     NOCUSTODIAN00046354
PX-2693    PHOTO - Photo of August 12, 2017                                                                NOCUSTODIAN00046355     NOCUSTODIAN00046355
PX-2694    PHOTO - Photo of August 12, 2017                                                                NOCUSTODIAN00046356     NOCUSTODIAN00046356
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PX-2695 PHOTO - Photo of counter-protestors on August 11, 2017                                           NOCUSTODIAN00046357     NOCUSTODIAN00046357
PX-2696 PHOTO - Photo of Vasillios P. on August 12, 2017                                                 NOCUSTODIAN00046358     NOCUSTODIAN00046358
        ARTICLE - PBS article by A.C. Thompson entitled, "Ranks of Notorious Hate Group Include
PX-2697 Active-Duty Military"                                                                            NOCUSTODIAN00046364     NOCUSTODIAN00046372
PX-2698 VID - Video recording of Chris Cantwell                                                          NOCUSTODIAN00046374     NOCUSTODIAN00046374
PX-2699 FILING - Exhibit List of the United States, United States of America v. Benjamin D.              NOCUSTODIAN00046595     NOCUSTODIAN00046712
PX-2700 PHOTO - Screenshot of VICE video of Chris Cantwell                                               NOCUSTODIAN00046713     NOCUSTODIAN00046713
PX-2701 VID - Video recording of Fields at UTR with VA                                                   NOCUSTODIAN00046714     NOCUSTODIAN00046714
PX-2702 VID - Video recording from August 12, 2017                                                       NOCUSTODIAN00046716     NOCUSTODIAN00046716
PX-2703 VID - Video recording of August 11, 2017 torchlight rally                                        NOCUSTODIAN00046718     NOCUSTODIAN00046718
PX-2704 VID - Video recording from August 12, 2017                                                       NOCUSTODIAN00046719     NOCUSTODIAN00046719
PX-2705 AUD - Audio recording of Radical Agenda, Episode entitled, "Christmas Eve"                       NOCUSTODIAN00046720     NOCUSTODIAN00046720
PX-2706 AUD - Audio recording of Radical Agenda, Episode 254 - "Pre-Game"                                NOCUSTODIAN00046721     NOCUSTODIAN00046721
PX-2707 AUD - Audio recording of Radical Agenda, Episode 248 - "Catch Up"                                NOCUSTODIAN00046722     NOCUSTODIAN00046722
PX-2708 AUD - Audio recording of Outlaw Conservative - S013007                                           NOCUSTODIAN00046723     NOCUSTODIAN00046723
PX-2709 AUD - Audio recording of Radical Agenda, Episode 244 - "The Goldstein Globes"                    NOCUSTODIAN00046724     NOCUSTODIAN00046724
PX-2710 AUD - Audio recording of Radical Agenda, Episode 242 - "Shut Up, Meg"                            NOCUSTODIAN00046725     NOCUSTODIAN00046725
        AUD - The Krypto Report - Episode XXII: The Charlottesville Putsch [UPDATE: RE-
PX-2711 UPLOADED] Ray"                                                                                   NOCUSTODIAN00046726     NOCUSTODIAN00046726
PX-2712 AUD - Audio recording of Radical Agenda, Episode 243 - "Tucked"                                  NOCUSTODIAN00046727     NOCUSTODIAN00046727
PX-2713 AUD - Audio recording of Radical Agenda, Episode 318 - "Political Violence"                      NOCUSTODIAN00046728     NOCUSTODIAN00046728
PX-2714 AUD - Audio recording of Radical Agenda, Episode 301 - "Vanguard America"                        NOCUSTODIAN00046729     NOCUSTODIAN00046729
PX-2715 AUD - Audio recording of Radical Agenda, Episode 253 - "Ending the Argument"                     NOCUSTODIAN00046730     NOCUSTODIAN00046730
PX-2716 AUD - Audio recording of Radical Agenda, Episode 340                                             NOCUSTODIAN00046731     NOCUSTODIAN00046731
PX-2717 AUD - Audio recording of Radical Agenda, S03E014                                                 NOCUSTODIAN00046732     NOCUSTODIAN00046732
PX-2718 VID - Video recording from August 12, 2017                                                       NOCUSTODIAN00046733     NOCUSTODIAN00046733
PX-2719 AUD - Audio recording of Radical Agenda, Episode 329 - "News Phones"                             NOCUSTODIAN00046734     NOCUSTODIAN00046734
PX-2720 AUD - Audio recording of Radical Agenda, Episode 339 - "Cosmopolitan Bias"                       NOCUSTODIAN00046735     NOCUSTODIAN00046735
PX-2721 AUD - Audio recording of VICE - Charlottesville: Race and Terror                                 NOCUSTODIAN00046736     NOCUSTODIAN00046736
PX-2722 VID - Video recording of Raw Footage of Violence at Lee Park by News2Share                       NOCUSTODIAN00046738     NOCUSTODIAN00046738
PX-2723 VID - Video recording from August 12, 2017                                                       NOCUSTODIAN00046740     NOCUSTODIAN00046740
PX-2724 VID - Video recording of August 11, 2017 torchlight rally                                        NOCUSTODIAN00046741     NOCUSTODIAN00046741
PX-2725 VID - Video recording of Cantwell running into crowd                                             NOCUSTODIAN00046742     NOCUSTODIAN00046742
PX-2726 VID - Video recording of August 11 March                                                         NOCUSTODIAN00046744     NOCUSTODIAN00046744
PX-2727 AUD - Audio recording of Radical Agenda, S05E069                                                 NOCUSTODIAN00046745     NOCUSTODIAN00046745
PX-2728 DOC - Document regarding Traditionalist Worker Party                                             NOCUSTODIAN00046746     NOCUSTODIAN00046758
PX-2729 DISCOVERY - iDiscovery Solutions tracking chart on Matthew Parrott's device/accounts             NOCUSTODIAN00046789     NOCUSTODIAN00046789
PX-2730 FILING - William B. v. James Fields et al., Declaration of Matt Parrott                          NOCUSTODIAN00046803     NOCUSTODIAN00046803
PX-2731 FILING - New York State Criminal Disposition Information for Christopher Cantwell                NOCUSTODIAN00047205     NOCUSTODIAN00047208
PX-2732 TWITTER – Tweets by @nsm88                                                                       NOCUSTODIAN00047445     NOCUSTODIAN00047445
PX-2733 TWITTER – Tweets by @nsm88                                                                       NOCUSTODIAN00047447     NOCUSTODIAN00047447
PX-2734 PHOTO - Photo of NSM member carrying a NSM shield at the UTR rally                               NOCUSTODIAN00047448     NOCUSTODIAN00047448
PX-2735 TWITTER - Tweets by Jeff Schoep                                                                  NOCUSTODIAN00047450     NOCUSTODIAN00047450
PX-2736 TWITTER - Tweets by Jeff Schoep                                                                  NOCUSTODIAN00047451     NOCUSTODIAN00047451
PX-2737 DOC - Document regarding Nationalist Front                                                       NOCUSTODIAN00047452     NOCUSTODIAN00047454
PX-2738 PHOTO - Photo of marchers with tikis, Ray with Daily Stormer shirt                               NOCUSTODIAN00047460     NOCUSTODIAN00047460
        ARTICLE - Anti-Defamation League article entitled, "White Supremacists Demonstrate in Front
PX-2739 of the Menorah at Chicago's Daley Plaza"                                                         NOCUSTODIAN00047463     NOCUSTODIAN00047464
PX-2740 VK - VK post by Jeff Schoep                                                                      NOCUSTODIAN00047465     NOCUSTODIAN00047465
PX-2741 PHOTO - Photo of Handwritten page in notebook                                                    NOCUSTODIAN00047466     NOCUSTODIAN00047466
PX-2742 ARTICLE - The Krypto Report article entitled, "Episode - XXII The Charlottesville Putsch"        NOCUSTODIAN00047467     NOCUSTODIAN00047469
PX-2743 ARTICLE - Wikipedia article entitled, "Black Sun (symbol)"                                       NOCUSTODIAN00047471     NOCUSTODIAN00047474
PX-2744 VK - VK Post by Burt C.                                                                          NOCUSTODIAN00047476     NOCUSTODIAN00047476
PX-2745 DOC - National Socialist Movement document entitled, "America's National Socialist Party"        NOCUSTODIAN00047491     NOCUSTODIAN00047492
PX-2746 ARTICLE - The Krypto Report Vault YouTube feed                                                   NOCUSTODIAN00047493     NOCUSTODIAN00047494
        ARTICLE - The Washington Post article by Ian Shapira entitled, "White supremacist is guilty in
PX-2747 Charlottesville parking garage beating of black man"                                             NOCUSTODIAN00047495     NOCUSTODIAN00047505
PX-2748 ARTICLE - Nationalist Front Webpage article entitled, "Unity Statement"                          NOCUSTODIAN00047528     NOCUSTODIAN00047543
PX-2749 ARTICLE - The Krypto Report SoundCloud                                                           NOCUSTODIAN00047544     NOCUSTODIAN00047544
PX-2750 TWITTER - Tweet by Jeff Schoep                                                                   NOCUSTODIAN00047547     NOCUSTODIAN00047547
PX-2751 ARTICLE - Wikipedia article entitled, "Runic insignia of the Schutzstaffel"                      NOCUSTODIAN00047548     NOCUSTODIAN00047552
PX-2752 DOC - Document containing that names and headshots of individuals                                NOCUSTODIAN00047553     NOCUSTODIAN00047553
PX-2753 PHOTO - Photo of Male Speaker speaking in front of National Socialist Movement poster            NOCUSTODIAN00047554     NOCUSTODIAN00047554
PX-2754 ARTICLE - Anti-Defamation League article entitled, "Day of the Rope"                             NOCUSTODIAN00047557     NOCUSTODIAN00047558
PX-2755 DOC - Albemarle County Circuit Criminal Division Case Details                                    NOCUSTODIAN00047559     NOCUSTODIAN00047560
PX-2756 PHOTO - Photo of Nathan Damigo with Ben D. and others at Battle of Berkeley                      NOCUSTODIAN00047561     NOCUSTODIAN00047561
PX-2757 DOC - State of California Statement of Information for Identity Evropa                           NOCUSTODIAN00047563     NOCUSTODIAN00047564
PX-2758 PHOTO - Photo of Damigo running                                                                  NOCUSTODIAN00047590     NOCUSTODIAN00047590
PX-2759 DOC - Document regarding National Socialist Movement                                             NOCUSTODIAN00047593     NOCUSTODIAN00047595
PX-2760 TWITTER - Tweet by Jeff Schoep                                                                   NOCUSTODIAN00047596     NOCUSTODIAN00047596
PX-2761 PHOTO - Photo of Robert Azzamador Ray on August 11, 2017                                         NOCUSTODIAN00047601     NOCUSTODIAN00047601
PX-2762 VK - VK post by Burt C.                                                                          NOCUSTODIAN00047602     NOCUSTODIAN00047602
PX-2763 ARTICLE - Anti-Defamation League article entitled, "14 Words"                                    NOCUSTODIAN00047607     NOCUSTODIAN00047608
PX-2764 VK - VK post by Burt C.                                                                          NOCUSTODIAN00047610     NOCUSTODIAN00047610
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PX-2765    ARTICLE - BeeLyrics article entitled, "White Man Marches On Lyrics"                           NOCUSTODIAN00047611     NOCUSTODIAN00047612
PX-2766    PHOTO - Photo of Nathan Damigo at Berkeley                                                    NOCUSTODIAN00047614     NOCUSTODIAN00047614
PX-2767    ARTICLE - Anti-Defamation League article entitled, "American Identity Movement (AIM)"         NOCUSTODIAN00047619     NOCUSTODIAN00047620
PX-2768    TWITTER – Tweets by @nsm88                                                                    NOCUSTODIAN00047631     NOCUSTODIAN00047632
PX-2769    PHOTO - Photo of Robert Azzmador Ray holding banner                                           NOCUSTODIAN00047639     NOCUSTODIAN00047639
PX-2770    DOC - National Socialist Movement document regarding an announcement                          NOCUSTODIAN00047643     NOCUSTODIAN00047644
PX-2771    VK - VK Post by Burt C, and Jeff Schoep                                                       NOCUSTODIAN00047646     NOCUSTODIAN00047648
PX-2772    ARTICLE - Southern Poverty Law Center article entitled, "National Socialist Movement"         NOCUSTODIAN00047651     NOCUSTODIAN00047653
PX-2773    DOC - Corporation Registration information for The National Socialist Movement                NOCUSTODIAN00047655     NOCUSTODIAN00047656
           DOC - National Socialist Movement document entitled, "NSM Little Rock Rally After Action
PX-2774    Report"                                                                                       NOCUSTODIAN00047662     NOCUSTODIAN00047663
           DOC - National Socialist Movement document entitled, "National Socialist Movement Rally in
PX-2775    Harrisburg, PA - After Action Report"                                                         NOCUSTODIAN00047664     NOCUSTODIAN00047666
           DOC - National Socialist Movement document entitled, "NSM Border Ops: After Action report
PX-2776    from Arizona"                                                                                 NOCUSTODIAN00047669     NOCUSTODIAN00047671
           ARTICLE - Daily Stormer article by weev entitled, "Operational Security for Right Wing
PX-2777    Rallies"                                                                                      NOCUSTODIAN00047679     NOCUSTODIAN00047687

PX-2778 ARTICLE - Article entitled, "White nationalist Patrick [C.] keeps evading his Twitter ban"       NOCUSTODIAN00047697     NOCUSTODIAN00047698
        ARTICLE - Article by Bert Johnson entitled, "Californian who Led Charlottesville White           NOCUSTODIAN00047704     NOCUSTODIAN00047709
PX-2779 Supremacist Rally used Berkeley as a Test Run"
PX-2780 ARTICLE - Wikipedia article entitled, "Blood and Soil"                                           NOCUSTODIAN00047710     NOCUSTODIAN00047718
PX-2781 DOC - Nationalist Front document entitled, "For Our Children. For Our Future."                   NOCUSTODIAN00047719     NOCUSTODIAN00047720
        ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "Roving Band of Bull-Fruits
PX-2782 Gang-Rape Mentally Disabled Man in Public Park"                                                  NOCUSTODIAN00047727     NOCUSTODIAN00047733
PX-2783 DOC - Nationalist Front document                                                                 NOCUSTODIAN00047746     NOCUSTODIAN00047749
PX-2784 ARTICLE - Wikipedia article entitled, "Fourteen Words"                                           NOCUSTODIAN00047752     NOCUSTODIAN00047763
        ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "Sheboon Ice Cream Lovers
PX-2785 Go Full Ape at Mickey D's"                                                                       NOCUSTODIAN00047786     NOCUSTODIAN00047794
        ARTICLE - The Krypto Report article by Robert Azzmador Ray entitled, "Episode XXII: The
                                                                                                         NOCUSTODIAN00047814
PX-2786 Charlottesville Putsch [UPDATE: RE-UPLOADED]"                                                                            NOCUSTODIAN00047816
        ARTICLE - Anti-Defamation League article entitled, "National Socialist Movement/Nationalist
PX-2787 Front"                                                                                           NOCUSTODIAN00047817     NOCUSTODIAN00047824
        ARTICLE - Daily Stormer, Philly Marh Ground Report: Cops and Trumpenkriegers Work
PX-2788 Together to Defeat Kikes and Antifa Faggots                                                      NOCUSTODIAN00047826     NOCUSTODIAN00047831
PX-2789 ARTICLE - The Krypto Report: Member Uploads Page                                                 NOCUSTODIAN00047832     NOCUSTODIAN00047839
        ARTICLE - Unicorn Riot article by Chris Schiano and Freddy Martinez entitled, "‘Identity         NOCUSTODIAN00047841     NOCUSTODIAN00047845
PX-2790 Evropa’ Leader Fails To Sneakily Rebrand Neo-Nazi Group"
PX-2791 DOC - Document regarding National Socialist Movement                                             NOCUSTODIAN00047852     NOCUSTODIAN00047865
PX-2792 TWITTER - Tweets by Jeff Schoep                                                                  NOCUSTODIAN00047873     NOCUSTODIAN00047877
        ARTICLE - Daily Stormer article by weev entitled, "D.C. March Group Report: Alt-Right
PX-2793 Protesters Clash with Kike Shock Troops in First Battle of Lafayette Square"                     NOCUSTODIAN00047879     NOCUSTODIAN00047883
        ARTICLE - Pacific Standard article by Gabriel Thompson entitled, "My Brother, The White
PX-2794 Nationalist"                                                                                     NOCUSTODIAN00047888     NOCUSTODIAN00047900
PX-2795 ARTICLE - The Krypto Report: Podcasts Archive                                                    NOCUSTODIAN00047909     NOCUSTODIAN00047913
PX-2796 ARTICLE - Wikipedia article entitled,"Sturmabteilung"                                            NOCUSTODIAN00047927     NOCUSTODIAN00047939
        ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "Happy Birthday, My
PX-2797 Leader"                                                                                          NOCUSTODIAN00047948     NOCUSTODIAN00047955
        ARTICLE - Daily Mail article by Ian Birrell entitled, "Born in the USSA: Neo-Nazi leader of      NOCUSTODIAN00047969     NOCUSTODIAN00047979
PX-2798 Charlottesville - Reader Mode"
PX-2799 ARTICLE - Mourning the Ancient article entitled, "Bio of Commander Jeff Schoep"                  NOCUSTODIAN00047980     NOCUSTODIAN00047987
        ARTICLE - NBC news article by Ben Collins, Brandy Zadrozny, and Emmanuelle Saliba                NOCUSTODIAN00048005     NOCUSTODIAN00048011
        entitled, "After George Floyd White Nationalist Group Posing as Antifa Called for Violence on
PX-2800 Twitter"
        ARTICLE - The California Report article by John Sepulvado & Bert Johnson entitled,
PX-2801 "Californian Who Helped Lead Charlottesville Protests Used Berkeley as a Test Run"               NOCUSTODIAN00048023     NOCUSTODIAN00048036
        ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "Texas is Ours Event
PX-2802 Report!"                                                                                         NOCUSTODIAN00048037     NOCUSTODIAN00048042
        ARTICLE - Northern California Anti-Racist Action article entitled, "East Bay Identity Evropa
PX-2803 Organizer Brodin Sutherland Exposed; Brother in Law Enforcement"                                 NOCUSTODIAN00048044     NOCUSTODIAN00048054
        ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "Donating to the Daily
PX-2804 Stormer Legal Defense Fund is Your Duty as a White Man"                                          NOCUSTODIAN00048056     NOCUSTODIAN00048067
PX-2805 PHOTO - Photo of Robert Azzamador Ray and Chris Cantwell from August 11, 2017                    NOCUSTODIAN00048068     NOCUSTODIAN00048068
PX-2806 VID - Video of Patrick C. in Charlottesville, VA                                                 NOCUSTODIAN00048070     NOCUSTODIAN00048070
        DOC - Arizona Corporation Commission Corporations Division - Foundation for American             NOCUSTODIAN00048073     NOCUSTODIAN00048078
PX-2807 Society
PX-2808 TWITTER - Tweet by Richard Spencer                                                               NOCUSTODIAN00048079     NOCUSTODIAN00048082

PX-2809 TWITTER - Tweet by Richard Spencer                                                               NOCUSTODIAN00048079     NOCUSTODIAN00048079
PX-2810 PHOTO - Photo of Robert Azzamador Ray and Chris Cantwell from August 11, 2017                    NOCUSTODIAN00048118     NOCUSTODIAN00048118
        ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "Join Azzmador and
PX-2811 Vanguard Texas at the Daily Stormer Houston Blitzkrieg This Saturday!"                           NOCUSTODIAN00048171     NOCUSTODIAN00048175
        ARTICLE - Expressen article by Anne-Sofie Naslund entitled, "Naziledaren Schoeps mal:
PX-2812 "Tatillbaka USA till de vita""                                                                   NOCUSTODIAN00048184     NOCUSTODIAN00048193
        ARTICLE - Daily Stormer article by Robert Ray (with Andrew Anglin) entitled, "Charlottesville:
PX-2813 Why You Must Attend and What to Bring and Not to Bring!"                                         NOCUSTODIAN00048194     NOCUSTODIAN00048201
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 Ex. No.                                         Description                                                    Beginning Bates          End Bates
PX-2814 ARTICLE - Southern Poverty Law Center article entitled, “The Brawler”                             NOCUSTODIAN00048222     NOCUSTODIAN00048231
PX-2815 ARTICLE - The Daily Stormer Tag Archives: Salting the Earth                                       NOCUSTODIAN00048232     NOCUSTODIAN00048239
PX-2816 ARTICLE - Wikipedia article entitled, "Schutzstaffel"                                             NOCUSTODIAN00048255     NOCUSTODIAN00048296

        DOC - Document entitled, "Michigan Department of Labor & Economic Growth Bureau of
PX-2817 Commercial Services - Articles of Incorporation for Use by Domestic Nonprofit Corporation"        NOCUSTODIAN00048297     NOCUSTODIAN00048300

PX-2818 ARTICLE - Anti-Defamation League article entitled, "Hate on Display: Hate Symbols Database"       NOCUSTODIAN00048301     NOCUSTODIAN00048360
        ARTICLE - Daily Stormer article by Andrew Anglin entitled, "Heather Heyer: Woman Killed in                                NOCUSTODIAN00048367
PX-2819 Road Rage Incident was a Fat, Childness 32-year-old Slut"                                         NOCUSTODIAN00048361
PX-2820 VID - Video of interview with man in Daily Stormer t-shirt                                        NOCUSTODIAN00048368     NOCUSTODIAN00048368
PX-2821 VID - Video recording of Ray on A11                                                               NOCUSTODIAN00048368     NOCUSTODIAN00048368
        ARTICLE - Daily Stormer article by Robert Azzmador Ray entitled, "The Battle of
                                                                                                          NOCUSTODIAN00048369
PX-2822 Charlottesville Full Video!"                                                                                              NOCUSTODIAN00048400
        ARTICLE - Southern Poverty Law Center article by Hannah Gais entitled, "YouTube Takes
PX-2823 Down Red Ice's Main Channel"                                                                      NOCUSTODIAN00048422     NOCUSTODIAN00048425
        ARTICLE - Daily Stormer article by Andrew Anglin entitled "Register Now for the IRL Troll
PX-2824 Army AKA The Stormer Book Club"                                                                   NOCUSTODIAN00048427     NOCUSTODIAN00048435
PX-2825 VID - Joe Rogan Interview introducing Proud Boys                                                  NOCUSTODIAN00048437     NOCUSTODIAN00048437
PX-2826 ARTICLE - Champion Helmets products page for helmets and gloves                                   NOCUSTODIAN00048443     NOCUSTODIAN00048459
        ARTICLE - Mother Jones article by Shane Bauer entitled, "A Punch in the Face Was Just the
PX-2827 Start of the Alt-Right's Attack on a Berkeley Protester"                                          NOCUSTODIAN00048460     NOCUSTODIAN00048462
        ARTICLE - The Modesto Bee article entitled, "Polo-wearing intellectual, or racist bigot? A look
PX-2828 at Nathan Damigo of Oakdale"                                                                      NOCUSTODIAN00048463     NOCUSTODIAN00048470
        ARTICLE - Northern California Anti-Racist Action (NoCARA) article entitled, "DIY Division:
        The Violent neo-Nazi Group Central to the California Alt-Right and Alt-Light Protest
PX-2829 Movements"                                                                                        NOCUSTODIAN00048471     NOCUSTODIAN00048505
PX-2830 ARTICLE - Southern Poverty Law Center Profie of Nathan Damigo                                     NOCUSTODIAN00048535     NOCUSTODIAN00048540
PX-2831 ARTICLE - Daily Stormer article entitled, "#UniteTheRight Charlottesville Live Updates"           NOCUSTODIAN00048541     NOCUSTODIAN00048576
        ARTICLE - Mother Jones article by Shane Bauer entitled, "I Met the White Nationalist Who
PX-2832 "Flacon Punched" a 95-Pound Female Protester"                                                     NOCUSTODIAN00048664     NOCUSTODIAN00048666
PX-2833 ARTICLE - The Daily Stormer Archives: articles by Robert Azzmador Ray                             NOCUSTODIAN00048672     NOCUSTODIAN00048700
        ARTICLE - Expressn Article entitled, "Nazi Leader Schoep's Goal: 'Take Back the United States     NOCUSTODIAN00048702     NOCUSTODIAN00048713
PX-2834 to the Whites'"
PX-2835 VID - Video of Nathan Damigo                                                                      NOCUSTODIAN00048723     NOCUSTODIAN00048723
PX-2836 VIDEO - Damigo talking about UTR                                                                  NOCUSTODIAN00048723     NOCUSTODIAN00048723

PX-2837 VIDEO - Damigo and othersfrom August 12, 2017                                                     NOCUSTODIAN00048727     NOCUSTODIAN00048727

PX-2838   VIDEO - Damigo and othersfrom August 12, 2017                                                   NOCUSTODIAN00048727     NOCUSTODIAN00048727
PX-2839   VID - Footage of UTR rally before march in parking lot, Damigo present                          NOCUSTODIAN00048728     NOCUSTODIAN00048728
PX-2840   VID - Livestream video of Patrick C. speaking                                                   NOCUSTODIAN00048813     NOCUSTODIAN00048813
PX-2841   AUD -Fash the Nation interview with Nathan Damigo                                               NOCUSTODIAN00048874     NOCUSTODIAN00048874
PX-2842   AUD -Fash the Nation interview with Nathan Damigo                                               NOCUSTODIAN00048874     NOCUSTODIAN00048874
PX-2843   AUD -Fash the Nation interview with Nathan Damigo                                               NOCUSTODIAN00048874     NOCUSTODIAN00048874
PX-2844   VID - Video of Nathan Damigo                                                                    NOCUSTODIAN00048876     NOCUSTODIAN00048876
PX-2845   VIDEO - Damigo speaking at Freedom of Speech Rally, Washington DC                               NOCUSTODIAN00048876     NOCUSTODIAN00048876
PX-2846   VIDEO - Damigo speaking at Freedom of Speech Rally, Washington DC                               NOCUSTODIAN00048876     NOCUSTODIAN00048876
PX-2847   VID - Video of Nathan Damigo                                                                    NOCUSTODIAN00048877     NOCUSTODIAN00048877
PX-2848   VIDEO - Damigo conversing with unidentified individual                                          NOCUSTODIAN00048877     NOCUSTODIAN00048877
PX-2849   VID - Video of male speaker giving a speech at a "Free Speech" Rally                            NOCUSTODIAN00048878     NOCUSTODIAN00048878
PX-2850   VID - Video of Nathan Damigo                                                                    NOCUSTODIAN00048881     NOCUSTODIAN00048881
PX-2851   VIDEO - Nathan Damigo Periscope video                                                           NOCUSTODIAN00048881     NOCUSTODIAN00048881
PX-2852   VIDEO - Video including Nathan Damigo speaking                                                  NOCUSTODIAN00048881     NOCUSTODIAN00048881
PX-2853   AUD - Audio recording of Robert Azzmador Ray                                                    NOCUSTODIAN00048884     NOCUSTODIAN00048884
PX-2854   VID - Frontline documentary video of ProPublica reporter on Charlottesville                     NOCUSTODIAN00048890     NOCUSTODIAN00048890
PX-2855   VID - Damigo speaking at Cville 1.0                                                             NOCUSTODIAN00048891     NOCUSTODIAN00048891
PX-2856   AUD - Audio recording of The War Room podcast, Episode 29                                       NOCUSTODIAN00048910     NOCUSTODIAN00048910
PX-2857   PHOTO - Photo of Brad G. in LOS attire at torch march on August 11, 2017                        NOCUSTODIAN00048915     NOCUSTODIAN00048915
          ARTICLE - LeagueoftheSouth.com article by Michael Hill entitled, "League will be at Unite the
PX-2858   Right rally, 12 August, Charlottesville, VA"                                                    NOCUSTODIAN00048916     NOCUSTODIAN00048917
PX-2859   TWITTER – Tweets by Tubbs (@Michael82379998)                                                    NOCUSTODIAN00048918     NOCUSTODIAN00048918
PX-2860   ARTICLE - League of the South article entitled, "Southern Defense Force formed"                 NOCUSTODIAN00048919     NOCUSTODIAN00048922
PX-2861   PHOTO - Photo of James Fields with Vanguard members on August 12, 2017                          NOCUSTODIAN00048923     NOCUSTODIAN00048923
PX-2862   PHOTO - Photo of James Fields with Vanguard members on August 12, 2017                          NOCUSTODIAN00048924     NOCUSTODIAN00048924
PX-2863   VID - Video recording of burning an Israeli flag, Talmud and Communist Manifesto                NOCUSTODIAN00048924     NOCUSTODIAN00048924
PX-2864   PHOTO - Photo of Elliott Kline and James Fields                                                 NOCUSTODIAN00048925     NOCUSTODIAN00048925
PX-2865   TWITTER – Tweets by Tubbs (@Michael82379998)                                                    NOCUSTODIAN00048925     NOCUSTODIAN00048925
PX-2866   ARTICLE - Southern Poverty Law Center article entitled, "C-4 and the Confederacy"               NOCUSTODIAN00048932     NOCUSTODIAN00048934
PX-2867   TWITTER – Tweets by Tubbs (@Michael82379998)                                                    NOCUSTODIAN00048933     NOCUSTODIAN00048936
PX-2868   PHOTO - Vanguard poster depicting Adolf Hitler                                                  NOCUSTODIAN00048935     NOCUSTODIAN00048935
PX-2869   VID - Video recording of Skyclad                                                                NOCUSTODIAN00048939     NOCUSTODIAN00048939
PX-2870   VID - Video recording of Justice & Witness Ministries from August 11                            NOCUSTODIAN00048951     NOCUSTODIAN00048951
PX-2871   PHOTO - Photo of Heimbach in Charlottesville, TWP Uniform                                       NOCUSTODIAN00048969     NOCUSTODIAN00048969
PX-2872   PHOTO - Photo of Spencer being arrested                                                         NOCUSTODIAN00048970     NOCUSTODIAN00048970
PX-2873   PHOTO - Photo of Tradworker Party Shields in Charlottesville                                    NOCUSTODIAN00048971     NOCUSTODIAN00048971
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PX-2874    PHOTO - Photo of Hitler salute in front of crowd                                               NOCUSTODIAN00048976     NOCUSTODIAN00048976
PX-2875    PHOTO - Photo of man on ground                                                                 NOCUSTODIAN00048977     NOCUSTODIAN00048977
PX-2876    VID - Video of Counter Protests in Charlottesville by DanielShular.com                         NOCUSTODIAN00048978     NOCUSTODIAN00048978
PX-2877    VID - Unite the Right Linking Arms by DanielShular.com                                         NOCUSTODIAN00048979     NOCUSTODIAN00048979
PX-2878    DOC - Youtube page for "Ludacris - Move Bitch Get Out Da Way (HQ)"                             NOCUSTODIAN00048980     NOCUSTODIAN00048980
PX-2879    DOC - Link from Discord Charlottesville 2.0 flags_banners_signs posted by Tyrone               NOCUSTODIAN00048981     NOCUSTODIAN00048991
           VID - Unite the Right and Counter Protests in Charlottesville, VA August 11 -13 by
PX-2880    DanielShular.com                                                                               NOCUSTODIAN00048992     NOCUSTODIAN00048992
PX-2881    PHOTO - Reaction Info to Photo posted in Charlottesville 2.0                                   NOCUSTODIAN00048993     NOCUSTODIAN00048993
PX-2882    PHOTO - U.S. Marine Corp photo of two individuals shaking hands                                NOCUSTODIAN00048994     NOCUSTODIAN00048994
PX-2883    TWITTER – Tweets by Davis                                                                      NOCUSTODIAN0004900      NOCUSTODIAN0004900
PX-2884    VID - Video of Torchlight March by DanielShular.com                                            NOCUSTODIAN00049020     NOCUSTODIAN00049020
PX-2885    VID - Video of Charlottesville, Protestors Charging                                            NOCUSTODIAN00049021     NOCUSTODIAN00049021
PX-2886    FILING - United States v. Benjamin D. - Guilty Plea                                            NOCUSTODIAN00049026     NOCUSTODIAN00049026
PX-2887    SMS - Text message conversation between Ben D. and Michael M.                                  NOCUSTODIAN00049034     NOCUSTODIAN00049034
PX-2888    SMS - Text message conversation between Ben D. and Michael M.                                  NOCUSTODIAN00049048     NOCUSTODIAN00049048
PX-2889    SMS - Text message conversation between Ben D. and Michael M.                                  NOCUSTODIAN00049049     NOCUSTODIAN00049049
PX-2890    PHOTO - Photo of individuals at Huntington Beach                                               NOCUSTODIAN00049053     NOCUSTODIAN00049053
PX-2891    PHOTO - Photo of Benjamin D. at Huntington Beach Book Burning                                  NOCUSTODIAN00049054     NOCUSTODIAN00049054
PX-2892    SMS - Text message conversation between Ben D. and Michael M.                                  NOCUSTODIAN00049055     NOCUSTODIAN00049055
PX-2893    PHOTO - Photo of books on sand                                                                 NOCUSTODIAN00049055     NOCUSTODIAN00049055
PX-2894    SMS - Text message conversation between Eric B. and Ben D.                                     NOCUSTODIAN00049056     NOCUSTODIAN00049056
PX-2895    SMS - Text message conversation between Ben D. to Michael M.                                   NOCUSTODIAN00049058     NOCUSTODIAN00049058
PX-2896    SMS - Text message conversation between Ben D. and Michael M.                                  NOCUSTODIAN00049061     NOCUSTODIAN00049061
PX-2897    PHOTO - Photo of books around fire                                                             NOCUSTODIAN00049064     NOCUSTODIAN00049064
PX-2898    SMS - Text message conversation between Ben D. and Michael M.                                  NOCUSTODIAN00049068     NOCUSTODIAN00049068
PX-2899    POST - Post by Christopher Cantwell                                                            NOCUSTODIAN00049069     NOCUSTODIAN00049069
PX-2900    PHOTO - Photo of TWP member who assaulted Deandre H.                                           NOCUSTODIAN0004913      NOCUSTODIAN0004913
PX-2901    PHOTO - Photo of League of the South and TWP members assaulting Deandre H.                     NOCUSTODIAN0004914      NOCUSTODIAN0004914
PX-2902    PHOTO - Photo of TWP member who assaulted Deandre H.                                           NOCUSTODIAN0004915      NOCUSTODIAN0004915
PX-2903    PHOTO - Photo of Benjamin D. at Torch March                                                    NOCUSTODIAN00049153     NOCUSTODIAN00049153
PX-2904    PHOTO - Nathan Damigo with R.A.M.                                                              NOCUSTODIAN00049156     NOCUSTODIAN00049156
PX-2905    PHOTO - Photo of Benjamin D. on August 12, 2017                                                NOCUSTODIAN00049218     NOCUSTODIAN00049218
PX-2906    FILING - United States of America v. Benjamin D., Tweet by R.A.M.                              NOCUSTODIAN00049231     NOCUSTODIAN00049231
PX-2907    PHOTO - Photo of Cole W. at torch march on August 11, 2017                                     NOCUSTODIAN00049233     NOCUSTODIAN00049233
PX-2908    PHOTO - Photos of Benjamin D. and Cole W. on August 12, 2017                                   NOCUSTODIAN00049234     NOCUSTODIAN00049234
PX-2909    FILING - United States of America v. Benjamin D., Photo of Benjamin D.                         NOCUSTODIAN00049236     NOCUSTODIAN00049236
PX-2910    VID - Video recording of defending white nationalism, even after Charlottesville               NOCUSTODIAN00049237     NOCUSTODIAN00049237
PX-2911    PHOTO - Cantwell at Pikeville with Heimbach                                                    NOCUSTODIAN00049238     NOCUSTODIAN00049238
PX-2912    PHOTO - Cantwell on stage at D.C. speech rally                                                 NOCUSTODIAN00049239     NOCUSTODIAN00049239
PX-2913    FILING - Court Proceedings, Commonwealth of Virginia v. Christopher Cantwell                   NOCUSTODIAN00049240     NOCUSTODIAN00049273
PX-2914    VID - Video recording of Charlottesville 1.0 Periscope Spencer speech "It's going south!"      NOCUSTODIAN00049312     NOCUSTODIAN00049312
PX-2915    VID - Video recording of The Foundry Podcast with Matt Parrott                                 NOCUSTODIAN00049315     NOCUSTODIAN00049315
PX-2916    VID - Video of Charlottesville rally turned violent with teargas and physical confrontations   NOCUSTODIAN00049317     NOCUSTODIAN00049317
PX-2917    VID - Video produced by NSM media of Jeff Schoep speaking at a public event                    NOCUSTODIAN00049356     NOCUSTODIAN00049356

PX-2918 VID - Video produced by NSM media of Jeff Schoep speaking at a NSM event in Pikeville, KY         NOCUSTODIAN00049357     NOCUSTODIAN00049357
        VID - Video produced by NSM Media of the Charlottesville rally and the violent confrontation
PX-2919 between police and rally participants                                                             NOCUSTODIAN00049358     NOCUSTODIAN00049358
        VID - Video recording of Red Ice livestream "Lawsuits against Organizers & Participants in the
PX-2920 Wake of Charlottesville"                                                                          NOCUSTODIAN00049360     NOCUSTODIAN00049360
PX-2921 DISC - Discord post                                                                               NOCUSTODIAN00049363     NOCUSTODIAN00049363
PX-2922 DISC - Messages between MadDimension#8652 and Tyrone#4532.                                        NOCUSTODIAN00049393     NOCUSTODIAN00049395
PX-2923 VID - Video recording of Schoep Pikeville Pre-Rally Speech                                        NSM00000112             NSM00000112
PX-2924 VID - Video recording of Schoep Pikeville Pre-Rally Speech                                        NSM00000126             NSM00000126
PX-2925 SMS - Text message from Natalie Romero to Kimberly                                                ROMERO00000011          ROMERO00000011
PX-2926 SMS - Text message from Natalie Romero to Jhonathan                                               ROMERO00000018          ROMERO00000018
PX-2927 SMS - Text message from Natalie Romero                                                            ROMERO00000021          ROMERO00000021
PX-2928 SMS - Text message from Natalie Romero to Andrea                                                  ROMERO00000025          ROMERO00000025
PX-2929 SMS - Text message from Natalie Romero to Zaaklr                                                  ROMERO00000165          ROMERO00000165
PX-2930 SMS - Text message from Natalie Romero to Ms. Lauren                                              ROMERO00000184          ROMERO00000184
PX-2931 EMAIL - Email from Natalie Romero to Cady                                                         ROMERO00000221          ROMERO00000221
PX-2932 SMS - Text message from Natalie Romero to Clara                                                   ROMERO00000252          ROMERO00000252
PX-2933 SMS - Text message from Natalie Romero to Jose                                                    ROMERO00000262          ROMERO00000262
PX-2934 SMS - Text message from Natalie Romero to Dean and Mrs. Andrea                                    ROMERO00000285          ROMERO00000285
PX-2935 SMS - Text message from Natalie Romero to Sarra                                                   ROMERO00000300          ROMERO00000300
PX-2936 SMS - Text message from Natalie Romero                                                            ROMERO00000314          ROMERO00000314
PX-2937 SMS - Text message from Natalie Romero to Brian                                                   ROMERO00000320          ROMERO00000320
PX-2938 SMS - Text message from Natalie Romero to Grammy Bear                                             ROMERO00000324          ROMERO00000324
PX-2939 SMS - Text message from Natalie Romero to Papa Bear and Mama                                      ROMERO00000334          ROMERO00000334
PX-2940 SMS - Text message from Natalie Romero to Wifeyy                                                  ROMERO00000338          ROMERO00000338
PX-2941 SMS - Text message from Natalie Romero to Jonathan                                                ROMERO00000341          ROMERO00000341
PX-2942 SMS - Natalie Romero to Dean B.                                                                   ROMERO00000611-C        ROMERO00000611-C
PX-2943 DOC - UVA Student Disability Access Center Accomodations                                          ROMERO00000617-C        ROMERO00000618-C
PX-2944 EMAIL - Email from Kendall K to Natalie Romero regarding "expenses"                               ROMERO00000640-C        ROMERO00000640-C
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PX-2945    MEDICAL - Receipt for Natalie Romero from UVA Health                                                ROMERO00000641-C        ROMERO00000641-C
PX-2946    MEDICAL - Receipt for Natalie Romero from Mudhouse Bella IR LLC                                     ROMERO00000642-C        ROMERO00000642-C
PX-2947    MEDICAL - Receipt for Natalie Romero from UVA Health                                                ROMERO00000643-C        ROMERO00000643-C
PX-2948    MEDICAL - Receipt for Natalie Romero from Walgreens                                                 ROMERO00000645-C        ROMERO00000645-C
PX-2949    MEDICAL - Receipt for Natalie Romero from Walgreens                                                 ROMERO00000646-C        ROMERO00000646-C
PX-2950    MEDICAL - Billing record for Natalie Romero from UVA Health                                         ROMERO00000684-C        ROMERO00000695-C
PX-2951    MEDICAL - Billing record for Natalie Romero from UVA Health                                         ROMERO00000696-C        ROMERO00000698-C
PX-2952    MEDICAL - Health record for Natalie Romero from UVA Health                                          ROMERO00000702-C        ROMERO00000702-C
PX-2953    SMS - Text message from Natalie Romero to Wifeyy                                                    ROMERO00000703          ROMERO00000703
PX-2954    SMS - Text message from Natalie Romero to Mrs. Andrea                                               ROMERO00000708          ROMERO00000708
PX-2955    SMS - Text message from Natalie Romero to Alvin                                                     ROMERO00000709          ROMERO00000709
PX-2956    DOC - Document written by Natalie Romero, entitled "Part 1: What do you fight for?"                 ROMERO00000725          ROMERO00000725
PX-2957    MEDICAL - Billing record for Natalie Romero from UVA Health                                         ROMERO00000731-C        ROMERO00000734-C
PX-2958    MEDICAL - Insurance record for Natialie Romero from Aetna                                           ROMERO00000737-C        ROMERO00000742-C
PX-2959    MEDICAL - Billing record for Natalie Romero from UVA Health                                         ROMERO00000743-C        ROMERO00000752-C
PX-2960    MEDICAL - Health record for Natalie Romero from Jeffrey Y./UVA Health System                        ROMERO00000763          ROMERO00000770
PX-2961    MEDICAL - Health record for Natalie Romero from Jeffrey Y./UVA Health System                        ROMERO00000807          ROMERO00000820
PX-2962    MEDICAL - Billing record for Natalie Romero from UVA Health                                         ROMERO00000821-C        ROMERO00000838-C
PX-2963    MEDICAL - Health record for Natalie Romero from Lindsey C./UVA Health System                        ROMERO00000839          ROMERO00000877
PX-2964    SMS - Text message from Natalie Romero to Mrs. Andrea                                               ROMERO00000890          ROMERO00000890
PX-2965    SMS - Text message from Natalie Romero to Alvin                                                     ROMERO00000893          ROMERO00000893
PX-2966    SMS - Text message from Natalie Romero to Alvin                                                     ROMERO00000896          ROMERO00000896
PX-2967    SMS - Text message from Alvin to Natalie Romero                                                     ROMERO00000898          ROMERO00000898
PX-2968    SMS - Text message from Natalie Romero to Alvin                                                     ROMERO00000905          ROMERO00000905
PX-2969    SMS - Text message from Natalie Romero to Jaimeee                                                   ROMERO00000906          ROMERO00000906
PX-2970    SMS - Text message from Natalie Romero to Papa Bear                                                 ROMERO00000907          ROMERO00000907
PX-2971    SMS - Text message from Natalie Romero to Sierra                                                    ROMERO00000910          ROMERO00000910
PX-2972    SMS - Text message from Natalie Romero to Frank                                                     ROMERO00000911          ROMERO00000911
PX-2973    SMS - Text message from Natalie Romero to Jose                                                      ROMERO00000917          ROMERO00000917
PX-2974    SMS - Text message from Natalie Romero to Chelsea Alvarado                                          ROMERO00000942          ROMERO00000942
PX-2975    SMS - Text message from Natalie Romero                                                              ROMERO00000943          ROMERO00000943
PX-2976    SMS - Text message from Natalie Romero to Dr. G                                                     ROMERO00000946          ROMERO00000946
PX-2977    SMS - Text message from Natalie Romero to Dr. G                                                     ROMERO00000947          ROMERO00000947
PX-2978    SMS - Text message from Natalie Romero to Dr. G                                                     ROMERO00000950          ROMERO00000950
PX-2979    SMS - Text message from Natalie Romero to Dr. G                                                     ROMERO00000951          ROMERO00000951
PX-2980    SMS - Text message from Natalie Romero to Dr. G                                                     ROMERO00000952          ROMERO00000952
PX-2981    SMS - Text message from Natalie Romero to Mama                                                      ROMERO00000953          ROMERO00000953
PX-2982    SMS - Text message from Natalie Romero to James                                                     ROMERO00000956          ROMERO00000956
PX-2983    SMS - Text message from Natalie Romero to James                                                     ROMERO00000957          ROMERO00000957
PX-2984    SMS - Text message from Natalie Romero to James                                                     ROMERO00000958          ROMERO00000958
PX-2985    SMS - Text message from Natalie Romero to James                                                     ROMERO00000959          ROMERO00000959
PX-2986    DOC - Week 1 - Week 4 Journals by Natalie Romero                                                    ROMERO00000961          ROMERO00000962
PX-2987    SMS - Text message from Natalie Romero                                                              ROMERO00001018          ROMERO00001018
PX-2988    SMS - Text message from Natalie Romero to James                                                     ROMERO00001031          ROMERO00001031
PX-2989    SMS - Text message from Natalie Romero to James                                                     ROMERO00001032          ROMERO00001032
PX-2990    EMAIL - Email from Lisa K. to Natalie Romero                                                        ROMERO00001069-C        ROMERO00001070-C
PX-2991    SMS - Text message from Natalie Romero to Wifeyy                                                    ROMERO00001162          ROMERO00001162
PX-2992    SMS - Text message from Natalie Romero to Wifeyy                                                    ROMERO00001166          ROMERO00001166
PX-2993    SMS - Text message from Natalie Romero to Wifeyy                                                    ROMERO00001167          ROMERO00001167
PX-2994    SMS - Text message from Natalie Romero to FBI-Donna                                                 ROMERO00001169          ROMERO00001169
PX-2995    MEDICAL - Health record for Natalie Romero from UVA Health                                          ROMERO00001170-C        ROMERO00001250-C
PX-2996    MEDICAL - Insurance record for Natalie Romero from Aetna                                            ROMERO00001269-C        ROMERO00001284-C
PX-2997    PHOTO - Photo of Group of protesters with "Reclaim Our Grown" sign                                  ROMERO00001290          ROMERO00001290
PX-2998    PHOTO - Photo of Night photo at UVA with participant holding candle                                 ROMERO00001296          ROMERO00001296
PX-2999    PHOTO - Photo of KKK members in robes burning cross                                                 ROMERO00001317          ROMERO00001317
PX-3000    PHOTO - Riot police line between protestors                                                         ROMERO00001320          ROMERO00001320
PX-3001    PHOTO - Photo of Night photo of people with flames                                                  ROMERO00001321          ROMERO00001321
           PHOTO - Photo of 3 counterprotesters on the UVa Thomas Jefferson statue holding signs with
PX-3002    the slogans, "End Hate Now" and "TJ is a Racist"                                                    ROMERO00001332          ROMERO00001332
PX-3003    PHOTO - Photo of counterprotesters confronting the Unite the Right rally participants               ROMERO00001347          ROMERO00001347
PX-3004    FB - Facebook conversation between Natalie Romero and Ericka C.                                     ROMERO00001512          ROMERO00001512
PX-3005    PHOTO - Photo of counterprotesters in front of UVa's Thomas Jefferson statue                        ROMERO00001576          ROMERO00001576
           PHOTO - Photo of Unite the Right rally participants in front of the Robert E. Lee statue with lit
PX-3006    torches                                                                                             ROMERO00001593          ROMERO00001593
           PHOTO - Photo of the Unite the Right rally surrounding the Robert E. Lee statue at night with
PX-3007    torches                                                                                             ROMERO00001599          ROMERO00001599
           PHOTO - Photo of Unite the Right rally participants marching down a street with
PX-3008    counterprotesters on the side                                                                       ROMERO00001629          ROMERO00001629
PX-3009    PHOTO - Photo of Unite the Right rally participants pushing people on the side                      ROMERO00001633          ROMERO00001633

PX-3010 PHOTO - Photo of Unite the Right rally participants cheering and carrying lit tiki torches at night    ROMERO00001663          ROMERO00001663
        PHOTO - Photo of Unite the Right rally participants at night surrounding the Robert E. Lee
PX-3011 Statue with lit torches                                                                                ROMERO00001664          ROMERO00001664
PX-3012 PHOTO - Photo of James Fields' car crashed into 2 other vehicles                                       ROMERO00001665          ROMERO00001665
        PHOTO - Photo of Unite the Right rally participants congregating at the intersection between 2nd
PX-3013 St NE, E Market St., and Preston Coiner St.                                                            ROMERO00001669          ROMERO00001669
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PX-3014 PHOTO - Photo of an armed Unite the Right rally participant holding a gun                        ROMERO00001670          ROMERO00001670
         PHOTO - Photo of Unite the Right rally participants behind a fence and a policeman stands in
PX-3015 front                                                                                            ROMERO00001671          ROMERO00001671
         PHOTO - Photo of policemen standing in front of a fence which separates them from the Unite
PX-3016 the Right rally participants                                                                     ROMERO00001676          ROMERO00001676
         PHOTO - Photo of a row of policemen and fences, behind which there are Unite the Right
PX-3017 participants                                                                                     ROMERO00001687          ROMERO00001687
         PHOTO - Photo of a row of policemen and fences, behind which there are Unite the Right
PX-3018 participants dressed in white polos and carrying black and white flags and shields               ROMERO00001721          ROMERO00001721
         PHOTO - Photo of press interviewing a man dressed in camouflage with counterprotesters in the
PX-3019 background                                                                                       ROMERO00001726          ROMERO00001726
PX-3020 VID - Video recording of August 12, 2017                                                         ROMERO00001745          ROMERO00001745
PX-3021 VID - Video recording of counterprotesters on August 12, 2017                                    ROMERO00001747          ROMERO00001747
PX-3022 VID - Video recording o counterprotesters on August 12, 2018                                     ROMERO00001753          ROMERO00001753
PX-3023 VID - Video recording of Video of counterprotesters on August 12, 2019                           ROMERO00001760          ROMERO00001760
PX-3024 VID - Video recording of counterprotesters on August 12, 2020                                    ROMERO00001763          ROMERO00001763
PX-3025 EMAIL - Email from Dr. Jessica S. to Natalie Romero regarding "NR ESA Letter"                    ROMERO00001776-C        ROMERO00001776-C
PX-3026 PHOTO - Photo of Natalie Romero's medicine                                                       ROMERO00001793          ROMERO00001793
PX-3027 MEDICAL - Health record for Natalie Romero from UVA Health                                       ROMERO00001795-C        ROMERO00001795-C
PX-3028 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001805          ROMERO00001805
PX-3029 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001807          ROMERO00001807
PX-3030 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001811          ROMERO00001811
PX-3031 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001812          ROMERO00001812
PX-3032 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001813          ROMERO00001813
PX-3033 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001816          ROMERO00001816
PX-3034 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001817          ROMERO00001817
PX-3035 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001819          ROMERO00001819
PX-3036 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001828          ROMERO00001828
PX-3037 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001834          ROMERO00001834
PX-3038 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001854          ROMERO00001854
PX-3039 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001881          ROMERO00001881
PX-3040 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001885          ROMERO00001885
PX-3041 VID - Video recording of Natalie Romero reading her poem written to James Fields                 ROMERO00001896          ROMERO00001896
PX-3042 FB - Facebook conversation between Natalie Romero and Brian                                      ROMERO00001899          ROMERO00001899
PX-3043 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001921          ROMERO00001921
PX-3044 PHOTO - Photo of Natalie Romero's injuries                                                       ROMERO00001962          ROMERO00001962

PX-3045 PHOTO - Photo of several men wielding sticks physically assaulting a man lying on the ground     ROMERO00001977          ROMERO00001977
PX-3046 MEDICAL - Billing record for Natalie Romero from UVA Physicians Group                            ROMERO00002003-C        ROMERO00002003-C

PX-3047   MEDICAL - Health record for Natalie Romero from the University of Virginia Health System       ROMERO00002004          ROMERO00002151
PX-3048   MEDICAL - Receipt for Natalie Romero from Mattress Firm                                        ROMERO00002152          ROMERO00002152
PX-3049   DOC - Natalie Romero's diary entry                                                             ROMERO00002153          ROMERO00002153
PX-3050   DOC - Natalie Romero's diary entry                                                             ROMERO00002154          ROMERO00002154
PX-3051   DOC - Natalie Romero's diary entry                                                             ROMERO00002155          ROMERO00002155
PX-3052   DOC - Natalie Romero's diary entry                                                             ROMERO00002156          ROMERO00002156
PX-3053   DOC - Natalie Romero's diary entry                                                             ROMERO00002157          ROMERO00002157
PX-3054   DOC - Natalie Romero's diary entry                                                             ROMERO00002158          ROMERO00002158

PX-3055 MEDICAL - Health record for Natalie Romero from the University of Virginia Health System         ROMERO00002159          ROMERO00002382

PX-3056 MEDICAL - Health record for Natalie Romero from the University of Virginia Health System         ROMERO00002383          ROMERO00002430

PX-3057 MEDICAL - Health record for Natalie Romero from the University of Virginia Health System         ROMERO00002431          ROMERO00002635

PX-3058   MEDICAL - Billing records for Natalie Romero from the University of Virginia Health System     ROMERO00002636          ROMERO00002671
PX-3059   SMS - Carter H. to Robert "Azzmador" Ray                                                       RR00000001              RR00000001
PX-3060   ARTICLE - Daily Stormer Vol. 19                                                                RR00190091              RR00190190
PX-3061   EMAIL - Email from Christopher Cantwell to Robert Azzmador Ray                                 RR00193887              RR00193887
PX-3062   EMAIL - Email from Col B. to Robert Azzmador Ray                                               RR00197884              RR00197885
PX-3063   EMAIL - Email from Christopher Cantwell to Robert Azzmador Ray                                 RR00197925              RR00197927
PX-3064   DOC - Document reagarding Unite the Right Charlottesville 2.0, version dated 8/10/2017         RR00197936              RR00197949
PX-3065   EMAIL - Email from Syd C. to Azzmador                                                          RR00198011              RR00198015
PX-3066   EMAIL - Email from Discord Support to Robert Azzmador Ray                                      RR00199823              RR00199824
PX-3067   EMAIL - Email from Robert Azzmador Ray to Alfred A.                                            RR00200689              RR00200692
PX-3068   EMAIL - Email from Robert Azzmador Ray to Syd C.                                               RR00200949              RR00200953
PX-3069   EMAIL - Email from Robert Azzmador Ray to Vanguard Texas                                       RR00201027              RR00201027
PX-3070   SMS - Robert "Azzmador" Ray to D'Marcus L.                                                     RR00201133              RR00201133
PX-3071   SMS - Evan M. to Richard Spencer                                                               RS00007905              RS00007907
PX-3072   SMS - Richard Spencer to Jack T.                                                               RS00012454              RS00012454
PX-3073   SMS - Alegra K.to Richard Spencer                                                              RS00012873              RS00012879
PX-3074   SMS - Daniel F. and Richard Spencer                                                            RS00013419              RS00013421
PX-3075   SMS - Richard Spencer to Rebecca C.                                                            RS00013772              RS00013772
PX-3076   SMS - Laura S. to Richard Spencer                                                              RS00014751              RS00014755
PX-3077   SMS - Colton M. to Richard Spencer                                                             RS00016085              RS00016086
PX-3078   SMS - Richard Spencer to Mike M.                                                               RS00016526              RS00016527
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 Ex. No.                                             Description                                             Beginning Bates            End Bates
PX-3079    SMS - Richard Spencer to Samantha F.                                                      RS00028694                RS00028694
PX-3080    SMS - Evan M. to Richard Spencer                                                          RS00030215                RS00030218
PX-3081    SMS - Richard Spencer to Nathan Damigo                                                    RS00031786                RS00031786
PX-3082    SMS - Texts between Spencer and Damigo, 4/25/2017                                         RS00031821                RS00031828
PX-3083    SMS - Text between Damigo and Spencer, 4/25/2017                                          RS00031934                RS00031939
PX-3084    SMS - Nathan Damigo to Richard Spencer                                                    RS00031955                RS00031958
PX-3085    SMS - Richard Spencer to Eli Mosley                                                       RS00032999                RS00033002
PX-3086    SMS - Eli Mosley to Richard Spencer                                                       RS00033175                RS00033179
PX-3087    SMS - Eli Mosley to Richard Spencer                                                       RS00033397                RS00033397
PX-3088    SMS - Eli Mosley to Richard Spencer                                                       RS00033535                RS00033535
PX-3089    SMS - Eli Mosley to Richard Spencer                                                       RS00033558                RS00033558
PX-3090    SMS - Eli Mosley to Richard Spencer                                                       RS00033926                RS00033926
PX-3091    SMS - Richard Spencer to Eli Mosley                                                       RS00033927                RS00033927
PX-3092    SMS - Eli Mosley to Richard Spencer                                                       RS00033969                RS00033969
PX-3093    SMS - Eli Mosley to Richard Spencer                                                       RS00033971                RS00033971
PX-3094    SMS - Richard Spencer to Eli Mosley                                                       RS00034279                RS00034279
PX-3095    SMS - Reinhard W. to Richard Spencer                                                      RS00036847                RS00036851
PX-3096    SMS - Richard Spencer to Jason Kessler                                                    RS00039520                RS00039520
PX-3097    SMS - Jason Kessler to Richard Spencer                                                    RS00039521                RS00039521
PX-3098    SMS - Jason Kessler to Richard Spencer                                                    RS00039522                RS00039522
PX-3099    SMS - Text from Jason Kessler to Richard Spencer                                          RS00039532                RS00039532
PX-3100    SMS - Richard Spencer to Jason Kessler                                                    RS00039541                RS00039543
PX-3101    SMS - Jason Kessler to Richard Spencer                                                    RS00039566                RS00039569
PX-3102    SMS - Richard Spencer to Jason Kessler                                                    RS00039574                RS00039575
PX-3103    SMS - Richard Spencer to Jason Kessler                                                    RS00039577                RS00039577
PX-3104    SMS - Richard Spencer to Jason Kessler                                                    RS00039585                RS00039585
PX-3105    SMS - Jason Kessler to Richard Spencer                                                    RS00039596                RS00039600
PX-3106    SMS - Jason Kessler to Richard Spencer                                                    RS00039624                RS00039624
PX-3107    SMS - Jason Kessler to Richard Spencer                                                    RS00039625                RS00039625
PX-3108    SMS - Text from Richard Spencer to Tim T.                                                 RS00076971                RS00076971
PX-3109    SMS - Text from Laura S. to Richard Spencer                                               RS00090021                RS00090021
PX-3110    SMS - Text from Laura S. to Richard Spencer                                               RS00090029                RS00090029
PX-3111    SMS - Richard Spencer to Laura S.                                                         RS00090059                RS00090059
PX-3112    SMS - Text message from Nathan Damigo to Richard Spencer                                  RS00093525                RS00093525
PX-3113    SMS - Eli Mosley to Richard Spencer                                                       RS00094963                RS00094963
PX-3114    SMS - Richard Spencer to Eli Mosley                                                       RS00095071                RS00095071
PX-3115    SMS - Eli Mosley to Richard Spencer                                                       RS00095766                RS00095766
PX-3116    SMS - Eli Mosley to Richard Spencer                                                       RS00095771                RS00095771
PX-3117    SMS - Ryan W. to Richard Spencer                                                          RS00100974                RS00100974
PX-3118    SMS - Jason Kessler to Richard Spencer                                                    RS00101427                RS00101427
PX-3119    SMS - Jason Kessler to Richard Spencer                                                    RS00101529                RS00101539
PX-3120    EMAIL - Email from Richard Spencer to Richard Spencer                                     RS00308437                RS00308437
PX-3121    EMAIL - Email from Richard Spencer to Richard Spencer                                     RS00308847                RS00308848
PX-3122    EMAIL - Email from Sam D., copying Evan M., Gregory R., Richard Spencer                   RS00317854                RS00317856
PX-3123    EMAIL - Email from Evan M. to Richard Spencer, Nathan Damigo, Elliot Kline, Sam D.        RS00546309                RS00546309
PX-3124    EMAIL - Email from Jason Kessler to Sam D., Kyle B., Richard Spencer                      RS00549263                RS00549263
PX-3125    EMAIL - Email from Jason Kessler to Kyle B., Sam D                                        RS00549325                RS00549325
PX-3126    EMAIL - Email from Richard Spencer to Augustus Sol Invictus                               RS00549331                RS00549332
PX-3127    EMAIL - Email from Google Calendar to Richard Spencer                                     RS00549348                RS00549348
           EMAIL - Email from Cory R. to Evan M. copying Richard Spencer, Cameron P., Eli Mosley,    RS00549906                RS00549906
PX-3128    Gregory R.
PX-3129    EMAIL - Email from Gregory R. to Richard Spencer                                          RS00550307                RS00550307
PX-3130    EMAIL - Email from Jason Kessler                                                          RS00551293                RS00551293
PX-3131    EMAIL - Email from Ryan W. to Richard Spencer                                             RS00552993                RS00552993
PX-3132    EMAIL - Email from Trezbond to Richard Spencer                                            RS00554524                RS00554531
PX-3133    DOC - Document regarding Charlottesville itinerary                                        RS00676233                RS00676241
PX-3134    EMAIL - Email from Jason Kessler regarding Charlottesville                                RS00678521                RS00678521
PX-3135    DOC - Excel spreadsheet re: attendee list                                                 RS00689740                RS00689740
PX-3136    TWITTER – Tweets by Spencer (@RichardBSpencer)                                            RS00747467                RS00747467
PX-3137    SMS - Richard Spencer to Matthew Heimbach                                                 RS01007399                RS01007399
PX-3138    SMS - Richard Spencer to Chris Cantwell                                                   RS01007796                RS01007797
PX-3139    SMS - Scott H. to Rrichard Spencer                                                        RS01007816                RS01007817
PX-3140    SMS - Richard Spencer to Scott H.                                                         RS01007817                RS01007818
PX-3141    SMS - Richard Spencer to Greg C., Evan M.                                                 RS01007833                RS01007833
PX-3142    SMS - Richard Spencer to Greg C. and Evan M.                                              RS01007834                RS01007834
PX-3143    SMS - Jason Kessler to Richard Spencer                                                    RS01007851                RS01007851
PX-3144    SMS - Richard Spencer to Glenna G.                                                        RS01007855                RS01007855
PX-3145    SMS - Greg C. to Richard Spencer                                                          RS01007858                RS01007858
           SMS - Augustus Invictus to Nathan Damigo, Chris Cantwell, Area code 951 number, Michael   RS01007861                RS01007864
PX-3146    Hill, and Jason Kessler
PX-3147    SMS - Richard Spencer to David D.                                                         RS01007867                RS01007867
PX-3148    SMS - Chris Cantwell to Richard Spencer                                                   RS01007877                RS01007875
PX-3149    SMS - Chris Cantwell to Richard Spencer                                                   RS01007895                RS01007907
PX-3150    SMS - Text with Greg C. and Richard Spencer                                               RS01007913                RS01007913
PX-3151    SMS - Texts between Cantwell and Spencer 8/06/2017                                        RS01007916                RS01007935
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PX-3152    SMS - Greg C. to Richared Spencer                                                           RS01007995                RS01007995
PX-3153    SMS - Ricahrd Spencer to Mike Enoch                                                         RS01008244                RS01008244
PX-3154    SMS - Matthew Heimbach to Richard Spencer                                                   RS01008258                RS01008260
PX-3155    SMS - Texts between Spencer and Damgio 03/01/2017                                           RS01008652                RS01008654
PX-3156    SMS - Dagna G. to Richard Spencer                                                           RS01009487                RS01009487
PX-3157    SMS - Text from Chris Cantwell                                                              RS01012398                RS01012398

PX-3158    DOC - Document containing Elizabeth Sines's statement of events of the August 11-12, 2017   SINES00000001             SINES000000003
PX-3159    SMS - Patt D. to Elizabeth Sines                                                            SINES00000132-C           SINES00000132-C
PX-3160    SMS - Elizabeth Sines to Tyler                                                              SINES00000148-C           SINES00000148-C
PX-3161    EMAIL - Email from Elizabeth Sines to Kimma regarding Charlottesvill Personal Reflections   SINES00000170-C           SINES00000173-C
PX-3162    SMS - Elizabeth Sines to Patt D.                                                            SINES00000823-C           SINES00000823-C
PX-3163    DOC - Elizabeth Sines's police statement                                                    SINES00000824             SINES00000824
PX-3164    SMS - Elizabeth Sines to Will T.                                                            SINES00000827-C           SINES00000827-C
PX-3165    SMS - Elizabeth Sines to Will T.                                                            SINES00000828-C           SINES00000828-C
PX-3166    SMS - Elizabeth Sines to Liz M.                                                             SINES00000831-C           SINES00000831-C
PX-3167    SMS - Elizabeth Sines to Patt D.                                                            SINES00000833-C           SINES00000833-C
PX-3168    SMS - Elizabeth Sines to J.C.                                                               SINES00000835-C           SINES00000835-C
PX-3169    SMS - Elizabeth Sines to Tyler                                                              SINES00000836-C           SINES00000836-C
PX-3170    SMS - Tyler to Elizabeth Sines                                                              SINES00000837-C           SINES00000837-C
PX-3171    SMS - Elizabeth Sines to Tyler                                                              SINES00000838-C           SINES00000838-C
PX-3172    SMS - Tyler to Elizabeth Sines                                                              SINES00000839-C           SINES00000839-C
PX-3173    SMS - Elizabeth Sines to Tyler                                                              SINES00000843-C           SINES00000843-C
PX-3174    SMS Elizabeth Sines to Tyler                                                                SINES00000873-C           SINES00000873-C
PX-3175    SMS - Elizabeth Sines to Tyler                                                              SINES00000875-C           SINES00000875-C
PX-3176    SMS - Elizabeth Sines to Tyler                                                              SINES00000882-C           SINES00000882-C
PX-3177    SMS - Elizabeth Sines to Tyler                                                              SINES00000883-C           SINES00000883-C
PX-3178    SMS - Elizabeth Sines to Tyler                                                              SINES00000884-C           SINES00000884-C
           EMAIL - Email from studenthealth@virgina.edu to Elizabeth Sines regarding "Appointment      SINES00000885-C           SINES00000885-C
PX-3179    Reminder"
PX-3180    EMAIL - Email from Elizabeth Sines to Jackie W. regarding "Resources"                       SINES00000888-C           SINES0000890-C
PX-3181    SMS - Elizabeth Sines to Pat D.                                                             SINES00000891-C           SINES00000891-C
PX-3182    SMS - Elizabeth Sines to Pat D.                                                             SINES00000902-C           SINES00000902-C
PX-3183    DOC - Document written by Elizabeth Sines                                                   SINES00000910             SINES00000910
PX-3184    DOC - Document regarding living in Charlottesville                                          SINES00000911             SINES00000915
PX-3185    VID - Video recording of August 12, 2017                                                    SINES00000917             SINES00000917
PX-3186    MEDICAL - Health record for Elizabeth Sines from UVA Health                                 SINES00001015-C           SINES00001015-C
PX-3187    SMS - Elizabeth Sines to Will T.: "https://youtu.be/D7FPmojhEeE"                            SINES00001069-C           SINES00001069-C
PX-3188    SMS - Elizabeth Sines to Will T.: Photo of Fields car                                       SINES00001070-C           SINES00001070-C
PX-3189    MEDICAL - Health record for Elizabeth Sines from UVA Health                                 SINES00001138-C           SINES00001138-C
PX-3190    VID - Video recording of Elizabeth Sines of August 12                                       SINES00001175             SINES00001175
PX-3191    SMS - Elizabeth Sines to Tyler and others: "Also look at this picture"                      SINES00001248-C           SINES00001248-C
PX-3192    PHOTO - Photo taken at McGuffrey                                                            SINES00001325             SINES00001325
PX-3193    PHOTO - Photo taken at McGuffrey                                                            SINES00001332             SINES00001332
PX-3194    PHOTO - Photo of counter-protestors before the car attakc                                   SINES00001334             SINES00001334
PX-3195    PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in Charlottesville      SINES00001342-C           SINES00001342-C
PX-3196    PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in Charlottesville      SINES00001343-C           SINES00001343-C
PX-3197    PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in Charlottesville      SINES00001346-C           SINES00001346-C
PX-3198    PHOTO - Photo of crowd of counterprotesters with signs at KKK rally in Charlottesville      SINES00001347-C           SINES00001347-C
PX-3199    PHOTO - Photo of anti-semetic sign at KKK rally in Charlottesville                          SINES00001353-C           SINES00001353-C
PX-3200    FB - Facebook post by Elizabeth Sines                                                       SINES00001955             SINES00001956
PX-3201    FB - Facebook message from Brian C. to Elizabeth Sines                                      SINES00002018             SINES00002018
PX-3202    FB - Facebook post by Elizabeth Sines                                                       SINES00002057             SINES00002058
PX-3203    FB - Facebook post by Elizabeth Sines                                                       SINES00002160             SINES00002160
PX-3204    VID - Video recording of Richard Spencer                                                    SINES00002700             SINES00002700
PX-3205    FB - Facebook post by Elizabeth Sines                                                       SINES00004546             SINES00004546
PX-3206    IG - Picture from July rally                                                                SINES00004593             SINES00004593
PX-3207    VID - Video recording of Liz Sines footage of car attack. Attack happens at 6.00.           SINES00004640             SINES00004640
PX-3208    FB - Facebook message from Elizabeth A. to Kimma B.                                         SINES00004672             SINES00004672
PX-3209    VID - Video recording of Leanne's footage of car attack. Attack happens at 3.00.            SINES00004686             SINES00004686
PX-3210    PR - SPRINT - Phone Records for Jeff Scheop (CDMA Cell Sites, Call Detail Report)           SPRINT_00000001           SPRINT_00000010
           PR - SPRINT - Phone Records for James Fields (Agreement to Respect Confidential             SPRINT_00000026           SPRINT_00000041
           Information, Payment Update Notice, Text Message Detail Report, Location Information,
PX-3211    Response Cover Sheet, and Key to Understanding CDMA Call Detail Reports)
PX-3212    DOC - Airline Ticket from Benjamin D.                                                       TBD                       TBD
PX-3213    DOC - Airline Ticket from Michael M.                                                        TBD                       TBD
PX-3214    DOC - Airline Ticket from Thomas G.                                                         TBD                       TBD
PX-3215    DOC - Certificate of Authenticity from Discord                                              TBD                       TBD
PX-3216    DOC - Identity Evropa Project Siege flyer                                                   TBD                       TBD
PX-3217    DOC - Police Crash Report                                                                   TBD                       TBD
PX-3218    DOC - Police Crash Report                                                                   TBD                       TBD
PX-3219    DOC - Trooper Thomas Crash Team Report                                                      TBD                       TBD
PX-3220    DOC - Trooper Thomas Crash Team Report                                                      TBD                       TBD
PX-3221    DOC - Trooper Thomas Crash Team Report                                                      TBD                       TBD
PX-3222    DOC - Virginia State Police Crash Team Report Division III                                  TBD                       TBD
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 Ex. No.                                            Description                                                     Beginning Bates            End Bates
PX-3223 DOC - Virginia State Police Crash Team Report Supplement Division III                                TBD                      TBD
PX-3224 FILING - United States of America v. Benjamin D., Plea Agreement                                     TBD                      TBD
PX-3225 MEDICAL - Health Record for Thomas Baker from UVA Health                                             TBD                      TBD
PX-3226 PHOTO - Photo of Books around fire                                                                   TBD                      TBD
PX-3227 PHOTO - Photo of Juan C. and Benjamin D.                                                             TBD                      TBD
PX-3228 PHOTO - Photo of Michael Tubbs on August 12, 2017                                                    TBD                      TBD
PX-3229 PHOTO - Photo of Nathan Damigo running away after punching someone                                   TBD                      TBD
PX-3230 PHOTO - Photo of Nathan Damigo with R.A.M.                                                           TBD                      TBD
PX-3231 PHOTO - Photo of NSM Shield on August 12, 2017                                                       TBD                      TBD
PX-3232 PHOTO - Screenshot from GoogleMaps - Street view of Thomas Jefferson Statute                         TBD                      TBD
PX-3233 PR - Extraction report for Jason Kessler's iPhone                                                    TBD                      TBD
PX-3234 VID - Video Daily Stormer stream of rally against taking down Confederate statue                     TBD                      TBD
PX-3235 VID - Video produced by NSM Media of participants chanting "Blood and Soil"                          TBD                      TBD
PX-3236 VID - Video produced by NSM Media of the Charlottesville rally                                       TBD                      TBD
        VID - Video produced by NSM Media of the Charlottesville rally and hosted by YouTuber
PX-3237 BraveryJerk                                                                                          TBD                      TBD
PX-3238 VID - Video recording Charlottesville rally turned violent                                           TBD                      TBD
PX-3239 VID - Video recording of "Live Satellite News"                                                       TBD                      TBD

PX-3240    VID - Video recording of Amateur documentary on Jeff Schoep and his involvement with NSM          TBD                      TBD
PX-3241    VID - Video recording of Bodycam footage, McIntyre Park meeting                                   TBD                      TBD
PX-3242    VID - Video recording of Bodycam footage, Walmart parking lot                                     TBD                      TBD
PX-3243    VID - Video recording of Cantwell spraying, torch swinging, punching                              TBD                      TBD
           VID - Video recording of interview with man in Daily Stormer t-shirt at protestregarding
PX-3244    Confederate statue                                                                                TBD                      TBD
PX-3245    VID - Video recording of Kline Red Ice Interview                                                  TBD                      TBD
PX-3246    VID - Video recording of Man speaking                                                             TBD                      TBD
PX-3247    VID - Video recording of march out of the park by Daily Stormer following Azzmador                TBD                      TBD
PX-3248    VID - Video recording of National Geographic interview with Jason Kessler                         TBD                      TBD
PX-3249    VID - Video recording of Patrick C. in Charlottesville                                            TBD                      TBD
PX-3250    VID - Video recording of Patrick C. Livestream on alt-right developments                          TBD                      TBD
PX-3251    VID - Video produced by Arc Media of a series of speakers for an alt-right event                  TBD                      TBD
PX-3252    VID - Video recording of Elliott Kline and Thomas Rousseau                                        TBD                      TBD
PX-3253    VID - Video recording off Confederate statue rally by Daily Stormer                               TBD                      TBD
           VID - clip of Vanguard members and other UTR participants in shield wall formation with
PX-3254    confederate and other battle flags while chanting                                                 TBD                      TBD
PX-3255    VIDEO – Damigo entering Lee Park with TWP.                                                        TBD                      TBD
           PR - TMOBILE - Phone Records for Michael Tubbs (Call Detail Report, Subscriber                    TMOBILE_00000001         TMOBILE_00000007
PX-3256    Information, Certification, Subpoena to T-Mobile, Usage Details)
           PR - VERIZON - Phone Records for Matthew Heimbach (Talk Activity, Subpoena to Verizon,            VERIZON_00000001         VERIZON_00000003
PX-3257    Response Cover Letter)
           PR - VERIZON - Phone Records for Jason Kessler (Message Detail, Subscriber Information,           VERIZON_00000004         VERIZON_00000018
           Historical SMS, Historical Call Detail with Cell Sites, Call Detail, Subpoena to Verizon, Volte
PX-3258    Cell Site Information)
           PR - VERIZON - Phone Records for Christopher Cantwell (Invoice for Subpoena, Location             VERIZON_00000019         VERIZON_00000044
           Information, Message Detail, Volte Cell Site Information, Historical SMS Detail Report,
           Subscriber Information, Cell Site Information, Message Detail, Call Detail and Cell Site
PX-3259    Information Report)
           EMAIL - Email from Walt H. to Megan B., Brenda L., Nathan M., Devin Willis, Zoe K.                WILLIS_00000351-C        WILLIS_00000352-C
PX-3260    regarding "Daily updates"
           DOC - Document entitled, "Media Advisory for Immediate Release" regarding August 12, 2017         WILLIS_00000356          WILLIS_00000356
PX-3261    counter protesters
PX-3262    PHOTO - Photo of Devin Willis on August 12, 2017                                                  WILLIS_00001424          WILLIS_00001424

PX-3263    VID - Video recording of counterprotestors on August 12, 2017                                     WILLIS_00001430          WILLIS_00001430
PX-3264    VID - Video recording of counterprotestors on August 12, 2017                                     WILLIS_00001441          WILLIS_00001441
PX-3265    VID - Video recording of counterprotestors on August 12, 2017                                     WILLIS_00001443          WILLIS_00001443
PX-3266    VID - Video recording of counterprotestors on August 12, 2017                                     WILLIS_00001445          WILLIS_00001445

PX-3267    VID - Video recording of counterprotestors on August 12, 2017                                     WILLIS_00001449          WILLIS_00001449
PX-3268    PHOTO - Photo of Devin Willis on August 12, 2017                                                  WILLIS_00001459          WILLIS_00001459
PX-3269    PHOTO - Seth Wispelwey holding young child                                                        WISPELWEY00001099        WISPELWEY00001099
PX-3270    PHOTO - Photo of Seth Wispelwey on August 12, 2017                                                WISPELWEY00002971        WISPELWEY00002971
PX-3271    PHOTO - Photo of Seth Wispelwey on August 12, 2017                                                WISPELWEY00004601        WISPELWEY00004601
PX-3272    PHOTO - Photo of Seth Wispelwey on August 12, 2017                                                WISPELWEY00004604        WISPELWEY00004604
PX-3273    PHOTO - Photo of Seth Wispelwey on August 12, 2017                                                WISPELWEY00009624        WISPELWEY00009624
PX-3274    MEDICAL - Health record for Seth Wispelwey from UVA Health                                        WISPELWEY00009964-C      WISPELWEY00009974-C
PX-3275    MEDICAL RECORDS - Carol S. letter 6/12/2018                                                       WISPELWEY00009975        WISPELWEY00009976
PX-3276    PHOTO - Photo of Seth Wispelwey on August 12, 2017                                                WISPELWEY00010044        WISPELWEY00010044
PX-3277    MEDICAL - Health record for Seth Wispelwey from River Bend Counseling                             WISPELWEY00010135-C      WISPELWEY00010136-C
PX-3278    MEDICAL - Health record for Seth Wispelwey from UVA Health                                        WISPELWEY00010137-C      WISPELWEY00010140-C
PX-3279    MEDICAL RECORDS - Carol S. letter 1/28/2019                                                       WISPELWEY00010147-C      WISPELWEY00010147-C
PX-3280    INSURANCE RECORDS - 2017-2019                                                                     WISPELWEY00010148-C      WISPELWEY00010470-C
PX-3281    PHOTO - Photo of counter-protestors on August 12, 2017                                            WISPELWEY00011653        WISPELWEY00011653
PX-3282    PHOTO - Photo of counter-protestors on August 12, 2017                                            WISPELWEY00011675        WISPELWEY00011675
PX-3283    PHOTO - Photo of people in church on August 12, 2017                                              WISPELWEY00011683        WISPELWEY00011683
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PX-3284    PHOTO - Photo taken by Seth Wispelwey                                                         WISPELWEY00015317       WISPELWEY00015317
PX-3285    MEDICAL - Health record for Seth Wispelwey for Banner Health Care, University of AZ           WISPELWEY00015323       WISPELWEY00015343
PX-3286    MEDICAL RECORDS - Carol S. letter 8/5/2021                                                    WISPELWEY00015344       WISPELWEY00015345
PX-3287    INSURANCE RECORDS - Highmark Insurance Records (Certified)                                    WISPELWEY00015346       WISPELWEY00015616

PX-3288 INSURANCE RECORDS - Highmark Insurance Business Certification for 2017 - 2019 Records WISPELWEY00015617                  WISPELWEY00015617
        ARTICLE - TradWorker by Matt Parrott entitled, "Fighting it Only Makes it Worse: A Defense
PX-3289 of 'White Dinduism'"
PX-3290 AUD - Audio recording of Christopher Cantwell phone call
PX-3291 AUD - Audio recording of Christopher Cantwell phone call
PX-3292 AUD - Audio recording of Christopher Cantwell phone call
PX-3293 AUD - Audio recording of Christopher Cantwell phone call
PX-3294 AUD - Audio recording of Christopher Cantwell phone call
PX-3295 AUD - Audio recording of Christopher Cantwell phone call
PX-3296 AUD - Audio recording of Christopher Cantwell phone call
PX-3297 AUD - Audio recording of Christopher Cantwell phone call
PX-3298 AUD - Audio recording of Christopher Cantwell phone call
PX-3299 AUD - Recording of White Rabbit Radio of Jason Kessler
        DISCOVERY - Defendants' Exhibit A to Stipulation and Order for the Imaging, Preservation,
PX-3300 and Production of Documents
PX-3301 DISCOVERY - Defendants' Federal Rule of Civil Procedure 26(a) Initial Disclosures
PX-3302 DISCOVERY - Defendants' Responses to Plaintiffs' First Requests for Admission
        DISCOVERY - Defendants' Responses to Plaintiffs' First Set of Interrgatories and Requests for
PX-3303 Production of Documents to All Defendants
PX-3304 DISCOVERY - Defendants' Responses to Plaintiffs' Second Second of Interrgatories
PX-3305 DISCOVERY - James Fields' Responses to Plaintiffs' Third Second of Interrgatories
        DISCOVERY - Plaintiffs' Corrected First Set of Requests for Production of Documents to All
PX-3306 Defendants
PX-3307 DISCOVERY - Plaintiffs' First Requests for Admission to Defendants
PX-3308 DISCOVERY - Plaintiffs' First Set of Interrogatories to All Defendants
        DISCOVERY - Plaintiffs' Second Set of Interrogatories to All Individual Defendants, including
PX-3309 Michael Peinovich and Richard Spencer

PX-3310 DISCOVERY - Plaintiffs' Second Set of Interrogatories to All Non-Defaulted Entity Defendants

PX-3311    DISCOVERY - Plaintiffs' Second Set of Requests for Production of Documents to Jason Kessler
PX-3312    DISCOVERY - Plaintiffs' Third Set of Interrogatories to James Fields
PX-3313    DISCOVERY - Robert Azzmador Ray's usernames and devices
PX-3314    DOC - Document regarding Unite the Right Charlottesville 2.0, version dated 6/11/2017
PX-3315    DOC - Document regarding Unite the Right Charlottesville 2.0, version dated 8/1/2017

PX-3316    FILING - Defendant's Motion for Review and Revocation of Detention Order, USA v. Cantwell
PX-3317    SMS - Cantwell produced text messages with various codefendants and third parties
PX-3318    SMS - Messages produced by Cantwell in answers
PX-3319    SMS/EMAILS - Collection of Text Messages from Matthew Parrott
PX-3320    Summary exhibit pursuant to Federal Rule of Evidence 1006 for April Muniz
PX-3321    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Chelsea Alvarado
PX-3322    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Devin Willis
PX-3323    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Elizabeth Sines
PX-3324    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Marcus Martin
PX-3325    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Marissa Blair
PX-3326    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Natalie Romero
PX-3327    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Seth Wispelwey
PX-3328    Summary exhibit pursuant to Federal Rule of Evidence 1006 for Thomas Baker
